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                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           Nation ‐ By Week

        Week               First‐Class Mail   USPS Marketing Mail          Periodicals
           1/4/2020                    91.76%             91.21%                    85.70%
          1/11/2020                    91.36%             88.61%                    85.87%
          1/18/2020                    93.01%             89.86%                    87.71%
          1/25/2020                    91.15%             91.45%                    87.49%
           2/1/2020                    90.71%             90.57%                    87.54%
           2/8/2020                    91.98%             91.80%                    88.57%
          2/15/2020                    93.88%             92.24%                    89.40%
          2/22/2020                    92.84%             93.29%                    87.38%
          2/29/2020                    93.16%             92.41%                    86.54%
           3/7/2020                    92.40%             92.21%                    86.77%
          3/14/2020                    92.11%             91.32%                    86.08%
          3/21/2020                    92.84%             92.48%                    85.57%
          3/28/2020                    92.54%             93.69%                    85.09%
           4/1/2020                    92.82%             90.08%                    85.68%
           4/4/2020                    91.55%             90.54%                    83.16%
          4/11/2020                    89.62%             89.39%                    77.21%
          4/18/2020                    91.24%             89.10%                    78.86%
          4/25/2020                    90.28%             87.83%                    74.97%
           5/2/2020                    89.99%             86.81%                    73.76%
           5/9/2020                    89.52%             87.39%                    68.94%
          5/16/2020                    91.19%             89.52%                    71.72%
          5/23/2020                    92.30%             89.52%                    76.49%
          5/30/2020                    90.39%             91.07%                    78.77%
           6/6/2020                    90.69%             89.70%                    76.53%
          6/13/2020                    91.74%             90.84%                    78.71%
          6/20/2020                    90.86%             90.69%                    79.10%
          6/27/2020                    90.70%             92.34%                    81.00%
           7/1/2020                    91.82%             89.87%                    81.04%
           7/4/2020                    90.56%             87.55%                    77.13%
          7/11/2020                    85.26%             82.94%                    73.16%
          7/18/2020                    82.22%             79.76%                    71.62%
          7/25/2020                    83.64%             82.19%                    69.47%
           8/1/2020                    82.82%             81.58%                    68.95%
           8/8/2020                    81.47%             82.27%                    69.04%
          8/15/2020                    85.19%             86.28%                    73.15%
          8/22/2020                    87.76%             89.54%                    75.57%
          8/29/2020                    88.04%             89.56%                    78.24%
           9/5/2020                    88.74%             87.90%                    80.32%
          9/12/2020                    86.75%             86.90%                    77.04%




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Commission (PRC) at the end of the quarter.                         1
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 2 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                             Area ‐ By Week

         Area                  Week               First‐Class Mail   USPS Marketing Mail          Periodicals
Capital Metro                     1/4/2020                    90.91%             87.74%                    84.43%
Capital Metro                    1/11/2020                    90.38%             82.03%                    83.34%
Capital Metro                    1/18/2020                    92.12%             85.94%                    87.35%
Capital Metro                    1/25/2020                    90.55%             88.62%                    86.04%
Capital Metro                     2/1/2020                    90.22%             88.11%                    85.11%
Capital Metro                     2/8/2020                    91.78%             89.28%                    87.92%
Capital Metro                    2/15/2020                    93.58%             89.84%                    89.34%
Capital Metro                    2/22/2020                    92.29%             90.98%                    85.68%
Capital Metro                    2/29/2020                    92.88%             84.70%                    84.43%
Capital Metro                     3/7/2020                    92.15%             89.99%                    85.58%
Capital Metro                    3/14/2020                    92.86%             89.83%                    85.48%
Capital Metro                    3/21/2020                    93.44%             91.39%                    86.61%
Capital Metro                    3/28/2020                    93.23%             93.33%                    86.46%
Capital Metro                     4/1/2020                    94.20%             90.41%                    86.53%
Capital Metro                     4/4/2020                    92.99%             92.27%                    87.31%
Capital Metro                    4/11/2020                    91.65%             91.72%                    81.63%
Capital Metro                    4/18/2020                    92.87%             92.67%                    84.91%
Capital Metro                    4/25/2020                    92.04%             90.92%                    78.95%
Capital Metro                     5/2/2020                    91.08%             88.45%                    77.63%
Capital Metro                     5/9/2020                    89.71%             86.44%                    68.43%
Capital Metro                    5/16/2020                    91.38%             85.77%                    71.09%
Capital Metro                    5/23/2020                    92.45%             88.50%                    78.75%
Capital Metro                    5/30/2020                    89.55%             88.82%                    77.07%
Capital Metro                     6/6/2020                    90.07%             85.87%                    77.74%
Capital Metro                    6/13/2020                    90.86%             88.67%                    78.93%
Capital Metro                    6/20/2020                    90.76%             89.32%                    81.19%
Capital Metro                    6/27/2020                    91.15%             92.77%                    81.11%
Capital Metro                     7/1/2020                    92.00%             88.45%                    80.37%
Capital Metro                     7/4/2020                    90.81%             86.74%                    72.63%
Capital Metro                    7/11/2020                    87.12%             81.71%                    68.58%
Capital Metro                    7/18/2020                    83.65%             78.91%                    66.25%
Capital Metro                    7/25/2020                    84.31%             79.65%                    65.58%
Capital Metro                     8/1/2020                    83.36%             80.50%                    70.06%
Capital Metro                     8/8/2020                    80.63%             77.33%                    68.21%
Capital Metro                    8/15/2020                    83.11%             80.46%                    68.56%
Capital Metro                    8/22/2020                    86.60%             86.67%                    72.47%
Capital Metro                    8/29/2020                    85.46%             86.13%                    68.95%
Capital Metro                     9/5/2020                    84.59%             82.79%                    77.50%
Capital Metro                    9/12/2020                    83.09%             81.13%                    73.59%
Eastern                           1/4/2020                    91.55%             92.72%                    87.05%
Eastern                          1/11/2020                    92.64%             90.84%                    89.31%
Eastern                          1/18/2020                    93.93%             92.72%                    91.71%
Eastern                          1/25/2020                    92.21%             94.23%                    87.53%
Eastern                           2/1/2020                    92.30%             93.80%                    91.07%
Eastern                           2/8/2020                    93.13%             94.04%                    89.85%
Eastern                          2/15/2020                    94.59%             94.32%                    91.21%
Eastern                          2/22/2020                    93.18%             95.21%                    90.93%
Eastern                          2/29/2020                    93.38%             94.95%                    90.31%
Eastern                           3/7/2020                    92.88%             94.59%                    90.24%
Eastern                          3/14/2020                    92.91%             94.37%                    88.19%
Eastern                          3/21/2020                    93.69%             94.15%                    88.22%
Eastern                          3/28/2020                    93.37%             95.10%                    88.79%
Eastern                           4/1/2020                    93.95%             93.45%                    88.85%
Eastern                           4/4/2020                    92.93%             93.34%                    87.38%
Eastern                          4/11/2020                    91.43%             91.62%                    80.24%
Eastern                          4/18/2020                    92.12%             92.55%                    81.49%
Eastern                          4/25/2020                    91.18%             90.27%                    77.48%


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                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 3 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                             Area ‐ By Week

        Area                   Week               First‐Class Mail   USPS Marketing Mail          Periodicals
Eastern                           5/2/2020                    91.23%             90.78%                    79.48%
Eastern                           5/9/2020                    91.38%             91.40%                    72.02%
Eastern                          5/16/2020                    91.88%             92.85%                    77.68%
Eastern                          5/23/2020                    93.24%             90.27%                    80.40%
Eastern                          5/30/2020                    91.66%             92.04%                    80.77%
Eastern                           6/6/2020                    92.14%             91.98%                    81.58%
Eastern                          6/13/2020                    92.73%             92.57%                    82.71%
Eastern                          6/20/2020                    92.34%             91.98%                    82.02%
Eastern                          6/27/2020                    92.27%             93.63%                    83.13%
Eastern                           7/1/2020                    93.02%             92.33%                    80.62%
Eastern                           7/4/2020                    91.09%             89.09%                    78.91%
Eastern                          7/11/2020                    85.29%             82.02%                    74.92%
Eastern                          7/18/2020                    79.00%             74.45%                    73.60%
Eastern                          7/25/2020                    78.04%             79.19%                    72.43%
Eastern                           8/1/2020                    79.75%             81.17%                    68.68%
Eastern                           8/8/2020                    78.98%             80.10%                    71.14%
Eastern                          8/15/2020                    83.65%             85.46%                    75.94%
Eastern                          8/22/2020                    88.25%             90.73%                    78.16%
Eastern                          8/29/2020                    88.53%             90.51%                    77.46%
Eastern                           9/5/2020                    88.90%             88.92%                    80.83%
Eastern                          9/12/2020                    86.27%             86.20%                    78.87%
Great Lakes                       1/4/2020                    91.09%             91.75%                    85.58%
Great Lakes                      1/11/2020                    90.97%             89.42%                    87.13%
Great Lakes                      1/18/2020                    92.29%             89.60%                    86.96%
Great Lakes                      1/25/2020                    90.07%             90.56%                    86.47%
Great Lakes                       2/1/2020                    88.41%             89.81%                    86.19%
Great Lakes                       2/8/2020                    91.63%             90.76%                    87.53%
Great Lakes                      2/15/2020                    93.02%             91.19%                    87.26%
Great Lakes                      2/22/2020                    92.07%             92.50%                    84.37%
Great Lakes                      2/29/2020                    92.35%             89.88%                    84.11%
Great Lakes                       3/7/2020                    92.02%             91.07%                    86.81%
Great Lakes                      3/14/2020                    91.48%             90.71%                    84.42%
Great Lakes                      3/21/2020                    91.76%             89.84%                    82.94%
Great Lakes                      3/28/2020                    90.41%             88.33%                    82.87%
Great Lakes                       4/1/2020                    90.01%             77.95%                    77.26%
Great Lakes                       4/4/2020                    88.16%             82.15%                    76.87%
Great Lakes                      4/11/2020                    84.87%             79.25%                    73.14%
Great Lakes                      4/18/2020                    88.59%             75.22%                    67.57%
Great Lakes                      4/25/2020                    88.23%             76.82%                    69.61%
Great Lakes                       5/2/2020                    87.51%             76.09%                    57.75%
Great Lakes                       5/9/2020                    87.46%             77.87%                    69.07%
Great Lakes                      5/16/2020                    89.26%             86.85%                    61.82%
Great Lakes                      5/23/2020                    91.17%             87.53%                    74.02%
Great Lakes                      5/30/2020                    89.76%             89.69%                    77.53%
Great Lakes                       6/6/2020                    90.21%             87.33%                    74.99%
Great Lakes                      6/13/2020                    90.97%             89.14%                    74.19%
Great Lakes                      6/20/2020                    89.81%             89.73%                    75.24%
Great Lakes                      6/27/2020                    89.77%             91.01%                    76.46%
Great Lakes                       7/1/2020                    90.23%             85.87%                    71.64%
Great Lakes                       7/4/2020                    88.34%             84.28%                    71.03%
Great Lakes                      7/11/2020                    82.40%             79.74%                    70.99%
Great Lakes                      7/18/2020                    81.14%             77.52%                    63.56%
Great Lakes                      7/25/2020                    80.71%             73.47%                    56.85%
Great Lakes                       8/1/2020                    79.49%             71.24%                    58.93%
Great Lakes                       8/8/2020                    79.25%             71.67%                    64.06%
Great Lakes                      8/15/2020                    83.71%             80.19%                    69.20%
Great Lakes                      8/22/2020                    86.38%             83.87%                    71.19%


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                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 4 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                             Area ‐ By Week

        Area                   Week               First‐Class Mail   USPS Marketing Mail          Periodicals
Great Lakes                      8/29/2020                    87.40%             84.83%                    75.90%
Great Lakes                       9/5/2020                    87.47%             84.88%                    76.27%
Great Lakes                      9/12/2020                    85.18%             85.03%                    72.83%
Northeast                         1/4/2020                    91.24%             89.76%                    84.39%
Northeast                        1/11/2020                    91.20%             87.80%                    80.59%
Northeast                        1/18/2020                    92.10%             88.72%                    82.77%
Northeast                        1/25/2020                    90.46%             91.32%                    83.49%
Northeast                         2/1/2020                    91.45%             90.47%                    85.06%
Northeast                         2/8/2020                    91.74%             91.17%                    85.51%
Northeast                        2/15/2020                    93.41%             92.07%                    86.55%
Northeast                        2/22/2020                    92.49%             91.98%                    81.32%
Northeast                        2/29/2020                    92.77%             92.03%                    82.54%
Northeast                         3/7/2020                    91.80%             90.96%                    82.34%
Northeast                        3/14/2020                    90.56%             87.27%                    80.50%
Northeast                        3/21/2020                    91.17%             89.73%                    78.18%
Northeast                        3/28/2020                    91.02%             89.99%                    73.87%
Northeast                         4/1/2020                    90.88%             86.98%                    76.26%
Northeast                         4/4/2020                    88.48%             77.40%                    63.52%
Northeast                        4/11/2020                    84.09%             74.19%                    50.42%
Northeast                        4/18/2020                    85.91%             76.41%                    51.08%
Northeast                        4/25/2020                    85.57%             72.43%                    39.24%
Northeast                         5/2/2020                    84.12%             70.03%                    41.35%
Northeast                         5/9/2020                    85.26%             77.96%                    42.51%
Northeast                        5/16/2020                    88.56%             82.29%                    50.58%
Northeast                        5/23/2020                    89.48%             84.53%                    53.41%
Northeast                        5/30/2020                    87.84%             87.90%                    63.01%
Northeast                         6/6/2020                    88.25%             87.13%                    56.93%
Northeast                        6/13/2020                    90.14%             88.42%                    64.55%
Northeast                        6/20/2020                    89.56%             88.73%                    65.60%
Northeast                        6/27/2020                    89.51%             88.39%                    72.75%
Northeast                         7/1/2020                    90.83%             91.06%                    72.12%
Northeast                         7/4/2020                    89.87%             87.65%                    71.70%
Northeast                        7/11/2020                    84.25%             84.79%                    65.70%
Northeast                        7/18/2020                    82.64%             84.28%                    66.32%
Northeast                        7/25/2020                    85.58%             86.14%                    65.67%
Northeast                         8/1/2020                    84.29%             81.54%                    65.51%
Northeast                         8/8/2020                    81.26%             82.96%                    64.34%
Northeast                        8/15/2020                    85.91%             88.91%                    68.93%
Northeast                        8/22/2020                    88.33%             89.24%                    71.73%
Northeast                        8/29/2020                    89.74%             90.17%                    72.70%
Northeast                         9/5/2020                    90.13%             89.12%                    78.47%
Northeast                        9/12/2020                    87.71%             86.36%                    70.70%
Pacific                           1/4/2020                    93.61%             93.21%                    84.80%
Pacific                          1/11/2020                    92.62%             91.93%                    85.16%
Pacific                          1/18/2020                    93.84%             92.32%                    89.86%
Pacific                          1/25/2020                    92.35%             91.46%                    89.13%
Pacific                           2/1/2020                    90.72%             88.77%                    87.07%
Pacific                           2/8/2020                    91.51%             91.83%                    87.96%
Pacific                          2/15/2020                    94.29%             93.61%                    91.85%
Pacific                          2/22/2020                    93.78%             95.10%                    89.31%
Pacific                          2/29/2020                    93.69%             92.77%                    84.15%
Pacific                           3/7/2020                    93.49%             93.46%                    87.32%
Pacific                          3/14/2020                    92.64%             93.28%                    87.73%
Pacific                          3/21/2020                    93.54%             94.51%                    87.73%
Pacific                          3/28/2020                    93.57%             95.26%                    86.96%
Pacific                           4/1/2020                    93.81%             90.31%                    89.12%
Pacific                           4/4/2020                    92.72%             94.14%                    88.47%


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                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 5 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                             Area ‐ By Week

        Area                   Week               First‐Class Mail   USPS Marketing Mail          Periodicals
Pacific                          4/11/2020                    91.65%             93.72%                    83.55%
Pacific                          4/18/2020                    92.50%             91.95%                    86.33%
Pacific                          4/25/2020                    90.30%             92.08%                    81.57%
Pacific                           5/2/2020                    91.48%             92.89%                    82.21%
Pacific                           5/9/2020                    89.83%             92.48%                    76.42%
Pacific                          5/16/2020                    91.10%             92.80%                    79.79%
Pacific                          5/23/2020                    92.14%             91.87%                    79.56%
Pacific                          5/30/2020                    90.43%             91.48%                    77.38%
Pacific                           6/6/2020                    90.74%             91.61%                    77.79%
Pacific                          6/13/2020                    91.85%             91.48%                    81.97%
Pacific                          6/20/2020                    89.79%             90.86%                    81.10%
Pacific                          6/27/2020                    90.64%             91.67%                    81.63%
Pacific                           7/1/2020                    91.54%             87.77%                    83.93%
Pacific                           7/4/2020                    91.17%             88.17%                    75.26%
Pacific                          7/11/2020                    86.26%             85.84%                    71.24%
Pacific                          7/18/2020                    82.52%             82.14%                    74.54%
Pacific                          7/25/2020                    84.12%             85.11%                    69.36%
Pacific                           8/1/2020                    80.80%             83.60%                    64.08%
Pacific                           8/8/2020                    81.29%             85.75%                    67.68%
Pacific                          8/15/2020                    86.37%             89.32%                    72.57%
Pacific                          8/22/2020                    88.84%             91.04%                    76.21%
Pacific                          8/29/2020                    90.24%             90.64%                    80.06%
Pacific                           9/5/2020                    91.22%             91.11%                    80.99%
Pacific                          9/12/2020                    90.91%             91.51%                    81.10%
Southern                          1/4/2020                    91.96%             91.10%                    84.77%
Southern                         1/11/2020                    91.03%             87.45%                    85.13%
Southern                         1/18/2020                    93.47%             88.19%                    86.46%
Southern                         1/25/2020                    91.52%             90.04%                    88.85%
Southern                          2/1/2020                    91.36%             90.05%                    86.98%
Southern                          2/8/2020                    92.07%             91.64%                    87.48%
Southern                         2/15/2020                    93.87%             91.60%                    88.06%
Southern                         2/22/2020                    92.56%             92.30%                    86.83%
Southern                         2/29/2020                    93.23%             91.98%                    87.74%
Southern                          3/7/2020                    92.38%             91.56%                    85.73%
Southern                         3/14/2020                    91.83%             90.23%                    85.16%
Southern                         3/21/2020                    93.39%             92.77%                    86.53%
Southern                         3/28/2020                    93.12%             94.98%                    86.48%
Southern                          4/1/2020                    93.38%             91.72%                    88.84%
Southern                          4/4/2020                    92.33%             94.01%                    86.97%
Southern                         4/11/2020                    91.03%             93.61%                    80.96%
Southern                         4/18/2020                    92.56%             93.59%                    86.73%
Southern                         4/25/2020                    91.99%             91.68%                    83.97%
Southern                          5/2/2020                    91.40%             91.60%                    80.60%
Southern                          5/9/2020                    90.61%             90.07%                    71.47%
Southern                         5/16/2020                    92.05%             91.16%                    79.32%
Southern                         5/23/2020                    93.01%             89.87%                    80.48%
Southern                         5/30/2020                    91.22%             91.55%                    81.97%
Southern                          6/6/2020                    90.94%             90.28%                    79.37%
Southern                         6/13/2020                    92.00%             90.90%                    80.87%
Southern                         6/20/2020                    90.63%             90.60%                    81.47%
Southern                         6/27/2020                    90.45%             91.90%                    79.90%
Southern                          7/1/2020                    92.37%             90.16%                    82.94%
Southern                          7/4/2020                    90.68%             87.43%                    77.49%
Southern                         7/11/2020                    84.76%             79.47%                    74.99%
Southern                         7/18/2020                    81.60%             76.82%                    69.06%
Southern                         7/25/2020                    84.82%             80.34%                    71.90%
Southern                          8/1/2020                    84.42%             81.51%                    70.25%


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                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 6 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                             Area ‐ By Week

        Area                   Week               First‐Class Mail   USPS Marketing Mail          Periodicals
Southern                          8/8/2020                    82.51%             84.94%                    67.60%
Southern                         8/15/2020                    86.42%             86.98%                    71.62%
Southern                         8/22/2020                    88.25%             89.95%                    75.23%
Southern                         8/29/2020                    87.98%             90.47%                    83.86%
Southern                          9/5/2020                    89.50%             87.49%                    79.54%
Southern                         9/12/2020                    87.10%             87.40%                    79.28%
Western                           1/4/2020                    91.85%             91.52%                    87.68%
Western                          1/11/2020                    90.75%             90.60%                    88.44%
Western                          1/18/2020                    92.92%             91.35%                    87.56%
Western                          1/25/2020                    90.67%             93.22%                    89.11%
Western                           2/1/2020                    90.42%             91.63%                    89.21%
Western                           2/8/2020                    91.82%             93.23%                    91.20%
Western                          2/15/2020                    94.19%             92.59%                    91.04%
Western                          2/22/2020                    93.32%             94.21%                    90.29%
Western                          2/29/2020                    93.54%             94.12%                    88.10%
Western                           3/7/2020                    92.14%             93.33%                    88.26%
Western                          3/14/2020                    92.37%             93.23%                    88.94%
Western                          3/21/2020                    92.56%             94.25%                    88.05%
Western                          3/28/2020                    92.66%             94.77%                    87.13%
Western                           4/1/2020                    93.11%             93.38%                    87.83%
Western                           4/4/2020                    92.16%             94.18%                    85.19%
Western                          4/11/2020                    90.85%             93.38%                    85.44%
Western                          4/18/2020                    92.59%             94.15%                    85.72%
Western                          4/25/2020                    91.33%             93.95%                    81.55%
Western                           5/2/2020                    91.29%             93.19%                    83.64%
Western                           5/9/2020                    90.69%             92.87%                    81.15%
Western                          5/16/2020                    92.65%             94.29%                    83.71%
Western                          5/23/2020                    93.25%             92.86%                    84.07%
Western                          5/30/2020                    90.87%             93.97%                    83.69%
Western                           6/6/2020                    91.43%             92.32%                    83.19%
Western                          6/13/2020                    92.54%             93.64%                    85.51%
Western                          6/20/2020                    92.13%             92.75%                    83.29%
Western                          6/27/2020                    90.95%             93.64%                    87.16%
Western                           7/1/2020                    91.94%             91.87%                    85.42%
Western                           7/4/2020                    91.37%             89.49%                    82.28%
Western                          7/11/2020                    86.80%             88.39%                    81.39%
Western                          7/18/2020                    84.66%             86.94%                    82.10%
Western                          7/25/2020                    87.04%             90.19%                    79.07%
Western                           8/1/2020                    86.05%             88.72%                    79.39%
Western                           8/8/2020                    84.67%             89.79%                    76.24%
Western                          8/15/2020                    86.23%             91.11%                    80.10%
Western                          8/22/2020                    87.48%             93.13%                    81.52%
Western                          8/29/2020                    87.23%             92.48%                    82.57%
Western                           9/5/2020                    88.86%             90.35%                    84.37%
Western                          9/12/2020                    87.12%             90.00%                    83.06%




Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                         6
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 7 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

         Area                  District                Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Atlanta                            1/4/2020                   92.83%             84.53%                     81.66%
Capital Metro          Atlanta                           1/11/2020                   91.52%             82.35%                     81.44%
Capital Metro          Atlanta                           1/18/2020                   93.84%             79.42%                     87.63%
Capital Metro          Atlanta                           1/25/2020                   91.34%             85.59%                     85.13%
Capital Metro          Atlanta                            2/1/2020                   91.16%             77.71%                     80.65%
Capital Metro          Atlanta                            2/8/2020                   92.55%             86.78%                     87.46%
Capital Metro          Atlanta                           2/15/2020                   94.07%             84.00%                     90.70%
Capital Metro          Atlanta                           2/22/2020                   92.05%             87.86%                     87.92%
Capital Metro          Atlanta                           2/29/2020                   93.18%             83.15%                     78.75%
Capital Metro          Atlanta                            3/7/2020                   92.32%             88.33%                     79.72%
Capital Metro          Atlanta                           3/14/2020                   93.07%             89.46%                     80.15%
Capital Metro          Atlanta                           3/21/2020                   93.61%             89.59%                     84.71%
Capital Metro          Atlanta                           3/28/2020                   93.10%             92.59%                     83.72%
Capital Metro          Atlanta                            4/1/2020                   94.40%             82.00%                     85.27%
Capital Metro          Atlanta                            4/4/2020                   93.18%             83.56%                     83.21%
Capital Metro          Atlanta                           4/11/2020                   92.63%             90.21%                     84.09%
Capital Metro          Atlanta                           4/18/2020                   92.78%             91.55%                     80.77%
Capital Metro          Atlanta                           4/25/2020                   91.58%             87.90%                     78.32%
Capital Metro          Atlanta                            5/2/2020                   92.12%             79.79%                     69.62%
Capital Metro          Atlanta                            5/9/2020                   90.84%             80.79%                     55.69%
Capital Metro          Atlanta                           5/16/2020                   92.63%             82.94%                     59.76%
Capital Metro          Atlanta                           5/23/2020                   92.94%             86.30%                     77.07%
Capital Metro          Atlanta                           5/30/2020                   91.40%             86.04%                     72.59%
Capital Metro          Atlanta                            6/6/2020                   91.02%             76.43%                     72.63%
Capital Metro          Atlanta                           6/13/2020                   91.69%             81.79%                     76.83%
Capital Metro          Atlanta                           6/20/2020                   91.61%             83.74%                     85.04%
Capital Metro          Atlanta                           6/27/2020                   91.49%             88.79%                     83.37%
Capital Metro          Atlanta                            7/1/2020                   91.77%             77.58%                     65.41%
Capital Metro          Atlanta                            7/4/2020                   90.71%             80.35%                     70.00%
Capital Metro          Atlanta                           7/11/2020                   87.14%             76.45%                     65.86%
Capital Metro          Atlanta                           7/18/2020                   85.51%             72.51%                     55.21%
Capital Metro          Atlanta                           7/25/2020                   87.14%             79.36%                     73.20%
Capital Metro          Atlanta                            8/1/2020                   86.59%             72.52%                     71.29%
Capital Metro          Atlanta                            8/8/2020                   83.99%             77.99%                     68.78%
Capital Metro          Atlanta                           8/15/2020                   84.97%             72.34%                     66.85%
Capital Metro          Atlanta                           8/22/2020                   89.79%             80.90%                     79.80%
Capital Metro          Atlanta                           8/29/2020                   90.08%             83.23%                     81.18%
Capital Metro          Atlanta                            9/5/2020                   88.75%             75.27%                     73.21%
Capital Metro          Atlanta                           9/12/2020                   85.36%             76.04%                     76.73%
Capital Metro          Baltimore                          1/4/2020                   86.86%             83.71%                     82.29%
Capital Metro          Baltimore                         1/11/2020                   86.82%             76.29%                     89.55%
Capital Metro          Baltimore                         1/18/2020                   86.79%             82.91%                     87.64%
Capital Metro          Baltimore                         1/25/2020                   87.34%             88.07%                     83.09%
Capital Metro          Baltimore                          2/1/2020                   89.92%             89.30%                     80.31%
Capital Metro          Baltimore                          2/8/2020                   91.36%             89.82%                     87.77%
Capital Metro          Baltimore                         2/15/2020                   91.56%             88.99%                     86.43%
Capital Metro          Baltimore                         2/22/2020                   91.43%             91.17%                     87.84%
Capital Metro          Baltimore                         2/29/2020                   91.48%             84.23%                     80.89%
Capital Metro          Baltimore                          3/7/2020                   89.48%             90.54%                     88.67%
Capital Metro          Baltimore                         3/14/2020                   91.31%             90.94%                     88.24%
Capital Metro          Baltimore                         3/21/2020                   91.29%             89.01%                     82.65%
Capital Metro          Baltimore                         3/28/2020                   91.85%             93.12%                     87.14%
Capital Metro          Baltimore                          4/1/2020                   91.83%             90.54%                     82.92%
Capital Metro          Baltimore                          4/4/2020                   88.77%             87.17%                     84.37%
Capital Metro          Baltimore                         4/11/2020                   86.75%             85.31%                     76.68%
Capital Metro          Baltimore                         4/18/2020                   90.02%             89.80%                     80.94%
Capital Metro          Baltimore                         4/25/2020                   89.10%             85.93%                     70.37%


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Commission (PRC) at the end of the quarter.                         7
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 8 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

         Area                  District                Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Baltimore                          5/2/2020                   85.36%             77.15%                     53.59%
Capital Metro          Baltimore                          5/9/2020                   78.86%             67.20%                     36.73%
Capital Metro          Baltimore                         5/16/2020                   80.89%             66.21%                     27.03%
Capital Metro          Baltimore                         5/23/2020                   88.91%             83.67%                     61.07%
Capital Metro          Baltimore                         5/30/2020                   80.20%             76.24%                     67.31%
Capital Metro          Baltimore                          6/6/2020                   80.99%             73.22%                     67.37%
Capital Metro          Baltimore                         6/13/2020                   86.03%             86.68%                     71.02%
Capital Metro          Baltimore                         6/20/2020                   85.04%             86.87%                     76.76%
Capital Metro          Baltimore                         6/27/2020                   88.46%             93.82%                     79.25%
Capital Metro          Baltimore                          7/1/2020                   89.70%             89.77%                     79.17%
Capital Metro          Baltimore                          7/4/2020                   87.97%             88.03%                     75.78%
Capital Metro          Baltimore                         7/11/2020                   81.36%             84.02%                     67.07%
Capital Metro          Baltimore                         7/18/2020                   77.06%             80.03%                     71.79%
Capital Metro          Baltimore                         7/25/2020                   75.14%             76.00%                     47.70%
Capital Metro          Baltimore                          8/1/2020                   64.05%             65.44%                     53.58%
Capital Metro          Baltimore                          8/8/2020                   59.63%             58.54%                     41.84%
Capital Metro          Baltimore                         8/15/2020                   64.75%             59.57%                     34.88%
Capital Metro          Baltimore                         8/22/2020                   72.59%             73.85%                     34.55%
Capital Metro          Baltimore                         8/29/2020                   59.74%             58.10%                     29.15%
Capital Metro          Baltimore                          9/5/2020                   61.13%             56.11%                     48.36%
Capital Metro          Baltimore                         9/12/2020                   61.24%             59.53%                     61.61%
Capital Metro          Capital                            1/4/2020                   85.55%             90.55%                     75.82%
Capital Metro          Capital                           1/11/2020                   87.08%             84.24%                     78.84%
Capital Metro          Capital                           1/18/2020                   89.89%             87.11%                     85.30%
Capital Metro          Capital                           1/25/2020                   88.29%             91.06%                     79.31%
Capital Metro          Capital                            2/1/2020                   87.82%             90.08%                     85.54%
Capital Metro          Capital                            2/8/2020                   88.71%             91.03%                     85.00%
Capital Metro          Capital                           2/15/2020                   91.57%             90.28%                     85.44%
Capital Metro          Capital                           2/22/2020                   90.82%             92.49%                     85.60%
Capital Metro          Capital                           2/29/2020                   90.38%             85.57%                     84.59%
Capital Metro          Capital                            3/7/2020                   90.39%             90.03%                     84.79%
Capital Metro          Capital                           3/14/2020                   90.45%             92.77%                     87.14%
Capital Metro          Capital                           3/21/2020                   91.93%             93.43%                     87.92%
Capital Metro          Capital                           3/28/2020                   91.09%             94.16%                     85.12%
Capital Metro          Capital                            4/1/2020                   91.46%             91.93%                     86.95%
Capital Metro          Capital                            4/4/2020                   90.34%             93.96%                     83.32%
Capital Metro          Capital                           4/11/2020                   88.73%             93.43%                     77.77%
Capital Metro          Capital                           4/18/2020                   89.55%             93.38%                     85.53%
Capital Metro          Capital                           4/25/2020                   89.45%             92.36%                     84.13%
Capital Metro          Capital                            5/2/2020                   85.84%             92.01%                     79.30%
Capital Metro          Capital                            5/9/2020                   87.81%             91.47%                     74.73%
Capital Metro          Capital                           5/16/2020                   88.09%             92.30%                     82.03%
Capital Metro          Capital                           5/23/2020                   90.05%             90.62%                     85.17%
Capital Metro          Capital                           5/30/2020                   85.94%             92.11%                     78.82%
Capital Metro          Capital                            6/6/2020                   87.53%             91.45%                     73.32%
Capital Metro          Capital                           6/13/2020                   86.78%             92.44%                     79.71%
Capital Metro          Capital                           6/20/2020                   87.91%             93.63%                     84.40%
Capital Metro          Capital                           6/27/2020                   87.88%             94.34%                     83.01%
Capital Metro          Capital                            7/1/2020                   89.73%             90.81%                     76.96%
Capital Metro          Capital                            7/4/2020                   86.45%             89.80%                     77.58%
Capital Metro          Capital                           7/11/2020                   85.59%             89.31%                     66.78%
Capital Metro          Capital                           7/18/2020                   82.48%             86.07%                     74.13%
Capital Metro          Capital                           7/25/2020                   78.11%             82.38%                     70.60%
Capital Metro          Capital                            8/1/2020                   77.27%             82.63%                     63.12%
Capital Metro          Capital                            8/8/2020                   76.75%             84.26%                     69.75%
Capital Metro          Capital                           8/15/2020                   78.24%             84.85%                     66.65%
Capital Metro          Capital                           8/22/2020                   82.07%             88.32%                     60.86%


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Commission (PRC) at the end of the quarter.                         8
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 9 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

         Area                  District                Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Capital                           8/29/2020                   78.37%             87.51%                     65.87%
Capital Metro          Capital                            9/5/2020                   76.34%             81.41%                     68.94%
Capital Metro          Capital                           9/12/2020                   77.28%             82.91%                     64.22%
Capital Metro          Greater S Carolina                 1/4/2020                   93.36%             86.18%                     93.05%
Capital Metro          Greater S Carolina                1/11/2020                   93.03%             90.56%                     91.15%
Capital Metro          Greater S Carolina                1/18/2020                   93.06%             85.45%                     90.20%
Capital Metro          Greater S Carolina                1/25/2020                   93.00%             91.53%                     94.22%
Capital Metro          Greater S Carolina                 2/1/2020                   92.25%             86.52%                     94.86%
Capital Metro          Greater S Carolina                 2/8/2020                   93.48%             93.26%                     93.50%
Capital Metro          Greater S Carolina                2/15/2020                   94.83%             88.36%                     91.00%
Capital Metro          Greater S Carolina                2/22/2020                   93.89%             94.29%                     92.48%
Capital Metro          Greater S Carolina                2/29/2020                   93.88%             86.51%                     94.68%
Capital Metro          Greater S Carolina                 3/7/2020                   92.90%             93.02%                     94.09%
Capital Metro          Greater S Carolina                3/14/2020                   93.97%             86.79%                     94.75%
Capital Metro          Greater S Carolina                3/21/2020                   93.70%             94.01%                     94.36%
Capital Metro          Greater S Carolina                3/28/2020                   95.17%             94.65%                     88.72%
Capital Metro          Greater S Carolina                 4/1/2020                   95.16%             92.85%                     92.29%
Capital Metro          Greater S Carolina                 4/4/2020                   94.24%             95.56%                     94.94%
Capital Metro          Greater S Carolina                4/11/2020                   93.68%             95.21%                     92.25%
Capital Metro          Greater S Carolina                4/18/2020                   94.90%             96.28%                     93.93%
Capital Metro          Greater S Carolina                4/25/2020                   93.76%             93.90%                     82.81%
Capital Metro          Greater S Carolina                 5/2/2020                   93.09%             85.33%                     92.13%
Capital Metro          Greater S Carolina                 5/9/2020                   91.43%             90.39%                     88.82%
Capital Metro          Greater S Carolina                5/16/2020                   93.83%             91.47%                     87.22%
Capital Metro          Greater S Carolina                5/23/2020                   93.91%             90.98%                     85.76%
Capital Metro          Greater S Carolina                5/30/2020                   92.31%             93.87%                     85.87%
Capital Metro          Greater S Carolina                 6/6/2020                   92.09%             90.79%                     90.27%
Capital Metro          Greater S Carolina                6/13/2020                   92.58%             92.58%                     85.42%
Capital Metro          Greater S Carolina                6/20/2020                   92.76%             91.95%                     84.24%
Capital Metro          Greater S Carolina                6/27/2020                   93.24%             94.46%                     88.81%
Capital Metro          Greater S Carolina                 7/1/2020                   93.94%             92.72%                     87.19%
Capital Metro          Greater S Carolina                 7/4/2020                   93.31%             90.64%                     74.70%
Capital Metro          Greater S Carolina                7/11/2020                   90.37%             75.69%                     75.37%
Capital Metro          Greater S Carolina                7/18/2020                   86.99%             78.71%                     63.96%
Capital Metro          Greater S Carolina                7/25/2020                   85.29%             76.82%                     76.12%
Capital Metro          Greater S Carolina                 8/1/2020                   85.08%             75.02%                     72.63%
Capital Metro          Greater S Carolina                 8/8/2020                   78.41%             73.38%                     76.82%
Capital Metro          Greater S Carolina                8/15/2020                   85.93%             86.42%                     77.36%
Capital Metro          Greater S Carolina                8/22/2020                   89.70%             85.23%                     82.46%
Capital Metro          Greater S Carolina                8/29/2020                   89.29%             93.00%                     90.28%
Capital Metro          Greater S Carolina                 9/5/2020                   87.99%             81.99%                     92.00%
Capital Metro          Greater S Carolina                9/12/2020                   84.53%             84.41%                     84.77%
Capital Metro          Greensboro                         1/4/2020                   90.72%             84.28%                     85.86%
Capital Metro          Greensboro                        1/11/2020                   90.85%             87.38%                     84.62%
Capital Metro          Greensboro                        1/18/2020                   93.16%             90.81%                     84.58%
Capital Metro          Greensboro                        1/25/2020                   91.29%             89.88%                     90.79%
Capital Metro          Greensboro                         2/1/2020                   91.50%             86.19%                     86.97%
Capital Metro          Greensboro                         2/8/2020                   92.51%             91.24%                     90.05%
Capital Metro          Greensboro                        2/15/2020                   94.48%             87.11%                     90.22%
Capital Metro          Greensboro                        2/22/2020                   93.31%             93.03%                     80.02%
Capital Metro          Greensboro                        2/29/2020                   93.21%             86.67%                     86.39%
Capital Metro          Greensboro                         3/7/2020                   93.15%             92.61%                     84.90%
Capital Metro          Greensboro                        3/14/2020                   93.51%             86.68%                     87.56%
Capital Metro          Greensboro                        3/21/2020                   94.42%             94.12%                     88.10%
Capital Metro          Greensboro                        3/28/2020                   94.84%             94.19%                     86.98%
Capital Metro          Greensboro                         4/1/2020                   94.30%             93.60%                     87.15%
Capital Metro          Greensboro                         4/4/2020                   94.45%             95.39%                     85.63%


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                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 10 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

         Area                District                  Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Greensboro                        4/11/2020                   93.31%             88.97%                     82.58%
Capital Metro          Greensboro                        4/18/2020                   94.16%             94.40%                     85.19%
Capital Metro          Greensboro                        4/25/2020                   93.45%             92.60%                     80.68%
Capital Metro          Greensboro                         5/2/2020                   92.78%             84.61%                     76.57%
Capital Metro          Greensboro                         5/9/2020                   91.76%             92.17%                     66.91%
Capital Metro          Greensboro                        5/16/2020                   92.97%             89.93%                     78.76%
Capital Metro          Greensboro                        5/23/2020                   93.53%             90.57%                     83.77%
Capital Metro          Greensboro                        5/30/2020                   90.60%             84.87%                     73.63%
Capital Metro          Greensboro                         6/6/2020                   92.05%             92.87%                     73.93%
Capital Metro          Greensboro                        6/13/2020                   90.47%             92.83%                     86.87%
Capital Metro          Greensboro                        6/20/2020                   92.25%             87.07%                     80.89%
Capital Metro          Greensboro                        6/27/2020                   92.34%             94.42%                     80.18%
Capital Metro          Greensboro                         7/1/2020                   93.50%             91.92%                     75.40%
Capital Metro          Greensboro                         7/4/2020                   92.49%             89.41%                     76.51%
Capital Metro          Greensboro                        7/11/2020                   90.23%             83.44%                     70.95%
Capital Metro          Greensboro                        7/18/2020                   86.67%             89.08%                     72.40%
Capital Metro          Greensboro                        7/25/2020                   87.78%             84.40%                     58.31%
Capital Metro          Greensboro                         8/1/2020                   86.42%             78.34%                     67.77%
Capital Metro          Greensboro                         8/8/2020                   83.97%             76.59%                     74.90%
Capital Metro          Greensboro                        8/15/2020                   86.52%             79.80%                     74.81%
Capital Metro          Greensboro                        8/22/2020                   87.31%             91.94%                     72.59%
Capital Metro          Greensboro                        8/29/2020                   88.72%             93.14%                     82.20%
Capital Metro          Greensboro                         9/5/2020                   88.43%             86.42%                     74.63%
Capital Metro          Greensboro                        9/12/2020                   82.42%             76.98%                     68.63%
Capital Metro          Mid‐Carolinas                      1/4/2020                   91.62%             89.59%                     79.38%
Capital Metro          Mid‐Carolinas                     1/11/2020                   90.67%             72.16%                     72.51%
Capital Metro          Mid‐Carolinas                     1/18/2020                   92.16%             85.40%                     84.42%
Capital Metro          Mid‐Carolinas                     1/25/2020                   90.43%             86.19%                     87.40%
Capital Metro          Mid‐Carolinas                      2/1/2020                   89.41%             84.70%                     86.68%
Capital Metro          Mid‐Carolinas                      2/8/2020                   91.59%             87.19%                     84.92%
Capital Metro          Mid‐Carolinas                     2/15/2020                   93.98%             90.37%                     84.96%
Capital Metro          Mid‐Carolinas                     2/22/2020                   92.83%             92.25%                     84.46%
Capital Metro          Mid‐Carolinas                     2/29/2020                   94.44%             85.10%                     84.12%
Capital Metro          Mid‐Carolinas                      3/7/2020                   93.40%             89.88%                     84.43%
Capital Metro          Mid‐Carolinas                     3/14/2020                   94.08%             88.88%                     85.89%
Capital Metro          Mid‐Carolinas                     3/21/2020                   94.75%             93.46%                     87.55%
Capital Metro          Mid‐Carolinas                     3/28/2020                   92.91%             95.08%                     87.16%
Capital Metro          Mid‐Carolinas                      4/1/2020                   94.89%             93.95%                     86.36%
Capital Metro          Mid‐Carolinas                      4/4/2020                   94.67%             95.23%                     90.35%
Capital Metro          Mid‐Carolinas                     4/11/2020                   92.86%             95.41%                     83.59%
Capital Metro          Mid‐Carolinas                     4/18/2020                   94.09%             94.51%                     84.84%
Capital Metro          Mid‐Carolinas                     4/25/2020                   92.65%             93.86%                     80.90%
Capital Metro          Mid‐Carolinas                      5/2/2020                   91.54%             89.35%                     77.25%
Capital Metro          Mid‐Carolinas                      5/9/2020                   91.60%             89.85%                     63.52%
Capital Metro          Mid‐Carolinas                     5/16/2020                   93.61%             91.29%                     71.18%
Capital Metro          Mid‐Carolinas                     5/23/2020                   93.01%             89.90%                     79.69%
Capital Metro          Mid‐Carolinas                     5/30/2020                   91.03%             90.35%                     74.81%
Capital Metro          Mid‐Carolinas                      6/6/2020                   92.44%             86.55%                     80.73%
Capital Metro          Mid‐Carolinas                     6/13/2020                   92.65%             91.59%                     78.59%
Capital Metro          Mid‐Carolinas                     6/20/2020                   92.22%             90.89%                     80.35%
Capital Metro          Mid‐Carolinas                     6/27/2020                   92.78%             95.72%                     80.90%
Capital Metro          Mid‐Carolinas                      7/1/2020                   92.83%             93.24%                     84.26%
Capital Metro          Mid‐Carolinas                      7/4/2020                   92.56%             92.91%                     73.52%
Capital Metro          Mid‐Carolinas                     7/11/2020                   88.38%             82.29%                     72.88%
Capital Metro          Mid‐Carolinas                     7/18/2020                   84.26%             71.86%                     64.26%
Capital Metro          Mid‐Carolinas                     7/25/2020                   86.63%             78.98%                     63.00%
Capital Metro          Mid‐Carolinas                      8/1/2020                   87.62%             83.98%                     67.65%


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Commission (PRC) at the end of the quarter.                        10
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 11 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

         Area                District                  Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Mid‐Carolinas                      8/8/2020                   85.35%             81.20%                     68.92%
Capital Metro          Mid‐Carolinas                     8/15/2020                   84.98%             84.22%                     70.66%
Capital Metro          Mid‐Carolinas                     8/22/2020                   88.77%             90.59%                     75.02%
Capital Metro          Mid‐Carolinas                     8/29/2020                   89.77%             93.40%                     68.74%
Capital Metro          Mid‐Carolinas                      9/5/2020                   89.28%             89.33%                     86.80%
Capital Metro          Mid‐Carolinas                     9/12/2020                   89.46%             91.55%                     83.82%
Capital Metro          Northern Virginia                  1/4/2020                   89.00%             89.21%                     89.35%
Capital Metro          Northern Virginia                 1/11/2020                   89.88%             88.63%                     90.69%
Capital Metro          Northern Virginia                 1/18/2020                   92.92%             89.56%                     88.25%
Capital Metro          Northern Virginia                 1/25/2020                   92.26%             92.43%                     84.07%
Capital Metro          Northern Virginia                  2/1/2020                   90.63%             92.65%                     86.63%
Capital Metro          Northern Virginia                  2/8/2020                   92.61%             91.33%                     86.93%
Capital Metro          Northern Virginia                 2/15/2020                   93.04%             91.20%                     87.16%
Capital Metro          Northern Virginia                 2/22/2020                   92.19%             93.29%                     88.98%
Capital Metro          Northern Virginia                 2/29/2020                   92.72%             85.83%                     78.08%
Capital Metro          Northern Virginia                  3/7/2020                   91.34%             93.15%                     87.75%
Capital Metro          Northern Virginia                 3/14/2020                   92.65%             93.37%                     89.63%
Capital Metro          Northern Virginia                 3/21/2020                   91.19%             92.39%                     87.76%
Capital Metro          Northern Virginia                 3/28/2020                   93.38%             92.90%                     91.70%
Capital Metro          Northern Virginia                  4/1/2020                   93.67%             90.96%                     89.51%
Capital Metro          Northern Virginia                  4/4/2020                   91.45%             93.31%                     88.61%
Capital Metro          Northern Virginia                 4/11/2020                   90.99%             93.43%                     79.45%
Capital Metro          Northern Virginia                 4/18/2020                   91.84%             94.21%                     87.89%
Capital Metro          Northern Virginia                 4/25/2020                   92.05%             93.77%                     86.79%
Capital Metro          Northern Virginia                  5/2/2020                   90.81%             92.62%                     86.13%
Capital Metro          Northern Virginia                  5/9/2020                   89.04%             92.34%                     81.23%
Capital Metro          Northern Virginia                 5/16/2020                   90.63%             93.43%                     85.67%
Capital Metro          Northern Virginia                 5/23/2020                   92.45%             90.83%                     83.93%
Capital Metro          Northern Virginia                 5/30/2020                   88.14%             92.72%                     86.95%
Capital Metro          Northern Virginia                  6/6/2020                   88.86%             91.10%                     79.65%
Capital Metro          Northern Virginia                 6/13/2020                   90.88%             91.85%                     88.12%
Capital Metro          Northern Virginia                 6/20/2020                   89.85%             92.18%                     85.76%
Capital Metro          Northern Virginia                 6/27/2020                   90.21%             92.82%                     91.37%
Capital Metro          Northern Virginia                  7/1/2020                   90.34%             91.73%                     90.94%
Capital Metro          Northern Virginia                  7/4/2020                   88.03%             90.36%                     86.28%
Capital Metro          Northern Virginia                 7/11/2020                   87.15%             91.38%                     84.32%
Capital Metro          Northern Virginia                 7/18/2020                   83.07%             90.13%                     86.50%
Capital Metro          Northern Virginia                 7/25/2020                   80.98%             87.79%                     88.85%
Capital Metro          Northern Virginia                  8/1/2020                   83.51%             82.41%                     87.18%
Capital Metro          Northern Virginia                  8/8/2020                   80.60%             91.01%                     84.93%
Capital Metro          Northern Virginia                 8/15/2020                   85.44%             90.39%                     84.83%
Capital Metro          Northern Virginia                 8/22/2020                   85.73%             91.96%                     86.94%
Capital Metro          Northern Virginia                 8/29/2020                   85.58%             90.19%                     69.31%
Capital Metro          Northern Virginia                  9/5/2020                   88.43%             84.77%                     87.93%
Capital Metro          Northern Virginia                 9/12/2020                   83.12%             91.20%                     86.56%
Capital Metro          Richmond                           1/4/2020                   90.17%             83.72%                     79.95%
Capital Metro          Richmond                          1/11/2020                   88.80%             77.33%                     77.12%
Capital Metro          Richmond                          1/18/2020                   90.70%             82.46%                     83.01%
Capital Metro          Richmond                          1/25/2020                   88.51%             85.74%                     83.94%
Capital Metro          Richmond                           2/1/2020                   86.32%             84.89%                     80.23%
Capital Metro          Richmond                           2/8/2020                   89.01%             85.68%                     83.19%
Capital Metro          Richmond                          2/15/2020                   92.44%             85.85%                     83.65%
Capital Metro          Richmond                          2/22/2020                   90.21%             84.22%                     81.78%
Capital Metro          Richmond                          2/29/2020                   89.67%             81.38%                     82.02%
Capital Metro          Richmond                           3/7/2020                   90.56%             85.06%                     78.02%
Capital Metro          Richmond                          3/14/2020                   90.69%             81.83%                     70.54%
Capital Metro          Richmond                          3/21/2020                   92.77%             88.55%                     78.77%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        11
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 12 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

         Area                 District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Richmond                          3/28/2020                   92.55%             90.56%                     83.19%
Capital Metro          Richmond                           4/1/2020                   92.86%             90.44%                     81.83%
Capital Metro          Richmond                           4/4/2020                   92.03%             89.81%                     81.91%
Capital Metro          Richmond                          4/11/2020                   88.73%             86.94%                     70.90%
Capital Metro          Richmond                          4/18/2020                   91.55%             90.87%                     78.43%
Capital Metro          Richmond                          4/25/2020                   91.91%             89.86%                     71.17%
Capital Metro          Richmond                           5/2/2020                   90.85%             88.42%                     77.14%
Capital Metro          Richmond                           5/9/2020                   89.62%             86.95%                     63.37%
Capital Metro          Richmond                          5/16/2020                   89.87%             89.42%                     80.30%
Capital Metro          Richmond                          5/23/2020                   91.03%             86.95%                     73.66%
Capital Metro          Richmond                          5/30/2020                   88.37%             87.77%                     63.80%
Capital Metro          Richmond                           6/6/2020                   89.36%             84.41%                     70.26%
Capital Metro          Richmond                          6/13/2020                   90.13%             84.86%                     63.99%
Capital Metro          Richmond                          6/20/2020                   88.14%             86.64%                     64.28%
Capital Metro          Richmond                          6/27/2020                   87.28%             88.29%                     66.41%
Capital Metro          Richmond                           7/1/2020                   90.73%             83.21%                     77.07%
Capital Metro          Richmond                           7/4/2020                   88.05%             80.24%                     58.94%
Capital Metro          Richmond                          7/11/2020                   83.23%             75.45%                     54.80%
Capital Metro          Richmond                          7/18/2020                   75.87%             64.94%                     50.32%
Capital Metro          Richmond                          7/25/2020                   78.84%             73.92%                     47.91%
Capital Metro          Richmond                           8/1/2020                   81.64%             81.39%                     53.04%
Capital Metro          Richmond                           8/8/2020                   81.17%             78.19%                     46.69%
Capital Metro          Richmond                          8/15/2020                   85.27%             84.11%                     63.19%
Capital Metro          Richmond                          8/22/2020                   86.18%             87.42%                     69.15%
Capital Metro          Richmond                          8/29/2020                   85.30%             88.54%                     66.81%
Capital Metro          Richmond                           9/5/2020                   84.14%             86.18%                     76.42%
Capital Metro          Richmond                          9/12/2020                   84.44%             85.18%                     65.41%
Eastern                Appalachian                        1/4/2020                   93.09%             94.10%                     87.17%
Eastern                Appalachian                       1/11/2020                   94.48%             92.04%                     85.39%
Eastern                Appalachian                       1/18/2020                   94.90%             90.18%                     93.26%
Eastern                Appalachian                       1/25/2020                   93.14%             94.56%                     85.48%
Eastern                Appalachian                        2/1/2020                   93.08%             88.65%                     92.36%
Eastern                Appalachian                        2/8/2020                   92.62%             93.19%                     88.58%
Eastern                Appalachian                       2/15/2020                   95.12%             95.46%                     90.88%
Eastern                Appalachian                       2/22/2020                   94.22%             95.26%                     92.02%
Eastern                Appalachian                       2/29/2020                   93.70%             89.24%                     91.57%
Eastern                Appalachian                        3/7/2020                   93.94%             90.69%                     92.06%
Eastern                Appalachian                       3/14/2020                   93.20%             94.13%                     81.04%
Eastern                Appalachian                       3/21/2020                   94.60%             95.30%                     90.53%
Eastern                Appalachian                       3/28/2020                   93.61%             96.79%                     92.04%
Eastern                Appalachian                        4/1/2020                   94.86%             95.09%                     92.56%
Eastern                Appalachian                        4/4/2020                   94.73%             93.47%                     87.76%
Eastern                Appalachian                       4/11/2020                   94.28%             95.46%                     85.36%
Eastern                Appalachian                       4/18/2020                   94.06%             95.63%                     90.22%
Eastern                Appalachian                       4/25/2020                   94.34%             93.72%                     86.43%
Eastern                Appalachian                        5/2/2020                   94.38%             86.91%                     82.54%
Eastern                Appalachian                        5/9/2020                   92.59%             92.40%                     83.56%
Eastern                Appalachian                       5/16/2020                   93.37%             89.03%                     83.03%
Eastern                Appalachian                       5/23/2020                   94.47%             92.47%                     86.52%
Eastern                Appalachian                       5/30/2020                   92.89%             95.96%                     86.01%
Eastern                Appalachian                        6/6/2020                   93.23%             88.44%                     86.65%
Eastern                Appalachian                       6/13/2020                   93.75%             94.57%                     83.39%
Eastern                Appalachian                       6/20/2020                   93.04%             94.78%                     82.92%
Eastern                Appalachian                       6/27/2020                   93.09%             95.32%                     87.66%
Eastern                Appalachian                        7/1/2020                   94.35%             94.70%                     89.91%
Eastern                Appalachian                        7/4/2020                   93.34%             92.88%                     82.54%
Eastern                Appalachian                       7/11/2020                   89.80%             92.18%                     79.81%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        12
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 13 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area                District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Eastern                Appalachian                       7/18/2020                   86.32%             91.39%                     83.84%
Eastern                Appalachian                       7/25/2020                   84.59%             91.52%                     69.04%
Eastern                Appalachian                        8/1/2020                   88.41%             86.38%                     81.92%
Eastern                Appalachian                        8/8/2020                   85.65%             88.53%                     78.98%
Eastern                Appalachian                       8/15/2020                   88.23%             93.03%                     75.47%
Eastern                Appalachian                       8/22/2020                   90.28%             92.85%                     78.80%
Eastern                Appalachian                       8/29/2020                   88.40%             91.42%                     84.78%
Eastern                Appalachian                        9/5/2020                   90.75%             83.66%                     84.91%
Eastern                Appalachian                       9/12/2020                   84.41%             87.31%                     77.51%
Eastern                Central Pennsylvania               1/4/2020                   92.66%             90.72%                     82.45%
Eastern                Central Pennsylvania              1/11/2020                   92.32%             88.10%                     87.96%
Eastern                Central Pennsylvania              1/18/2020                   93.43%             91.57%                     90.51%
Eastern                Central Pennsylvania              1/25/2020                   92.88%             93.32%                     86.26%
Eastern                Central Pennsylvania               2/1/2020                   92.83%             93.23%                     91.05%
Eastern                Central Pennsylvania               2/8/2020                   93.78%             93.03%                     86.80%
Eastern                Central Pennsylvania              2/15/2020                   94.98%             94.31%                     91.70%
Eastern                Central Pennsylvania              2/22/2020                   93.12%             94.48%                     88.13%
Eastern                Central Pennsylvania              2/29/2020                   93.28%             94.11%                     90.13%
Eastern                Central Pennsylvania               3/7/2020                   92.79%             93.62%                     89.89%
Eastern                Central Pennsylvania              3/14/2020                   92.71%             94.40%                     88.56%
Eastern                Central Pennsylvania              3/21/2020                   93.82%             93.85%                     87.07%
Eastern                Central Pennsylvania              3/28/2020                   94.33%             93.15%                     88.97%
Eastern                Central Pennsylvania               4/1/2020                   92.96%             95.00%                     89.49%
Eastern                Central Pennsylvania               4/4/2020                   92.56%             90.00%                     89.04%
Eastern                Central Pennsylvania              4/11/2020                   92.08%             86.40%                     78.01%
Eastern                Central Pennsylvania              4/18/2020                   91.28%             88.29%                     79.59%
Eastern                Central Pennsylvania              4/25/2020                   90.82%             83.97%                     70.93%
Eastern                Central Pennsylvania               5/2/2020                   91.50%             90.03%                     79.75%
Eastern                Central Pennsylvania               5/9/2020                   91.58%             92.56%                     77.05%
Eastern                Central Pennsylvania              5/16/2020                   92.36%             93.80%                     80.68%
Eastern                Central Pennsylvania              5/23/2020                   92.87%             88.67%                     85.48%
Eastern                Central Pennsylvania              5/30/2020                   92.40%             90.75%                     83.87%
Eastern                Central Pennsylvania               6/6/2020                   93.12%             88.95%                     85.56%
Eastern                Central Pennsylvania              6/13/2020                   93.14%             89.37%                     82.75%
Eastern                Central Pennsylvania              6/20/2020                   92.71%             89.82%                     80.54%
Eastern                Central Pennsylvania              6/27/2020                   91.61%             90.34%                     85.52%
Eastern                Central Pennsylvania               7/1/2020                   91.69%             93.53%                     80.28%
Eastern                Central Pennsylvania               7/4/2020                   91.50%             88.56%                     83.52%
Eastern                Central Pennsylvania              7/11/2020                   83.82%             77.15%                     72.53%
Eastern                Central Pennsylvania              7/18/2020                   67.52%             61.63%                     70.74%
Eastern                Central Pennsylvania              7/25/2020                   71.59%             73.81%                     70.44%
Eastern                Central Pennsylvania               8/1/2020                   76.04%             76.12%                     70.51%
Eastern                Central Pennsylvania               8/8/2020                   73.60%             74.05%                     69.52%
Eastern                Central Pennsylvania              8/15/2020                   80.62%             83.16%                     72.59%
Eastern                Central Pennsylvania              8/22/2020                   85.06%             90.96%                     76.14%
Eastern                Central Pennsylvania              8/29/2020                   87.59%             89.14%                     81.41%
Eastern                Central Pennsylvania               9/5/2020                   88.06%             88.21%                     83.76%
Eastern                Central Pennsylvania              9/12/2020                   86.00%             88.25%                     79.53%
Eastern                Kentuckiana                        1/4/2020                   92.04%             95.43%                     90.03%
Eastern                Kentuckiana                       1/11/2020                   93.00%             93.87%                     89.77%
Eastern                Kentuckiana                       1/18/2020                   93.79%             93.20%                     91.07%
Eastern                Kentuckiana                       1/25/2020                   91.97%             94.86%                     87.05%
Eastern                Kentuckiana                        2/1/2020                   92.42%             94.10%                     92.16%
Eastern                Kentuckiana                        2/8/2020                   93.33%             94.37%                     90.67%
Eastern                Kentuckiana                       2/15/2020                   94.28%             93.89%                     89.02%
Eastern                Kentuckiana                       2/22/2020                   93.32%             95.74%                     91.55%
Eastern                Kentuckiana                       2/29/2020                   93.01%             95.34%                     90.04%


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Commission (PRC) at the end of the quarter.                        13
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 14 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area               District                  Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Eastern                Kentuckiana                        3/7/2020                   92.77%             94.85%                     91.18%
Eastern                Kentuckiana                       3/14/2020                   92.94%             94.32%                     90.14%
Eastern                Kentuckiana                       3/21/2020                   93.65%             94.84%                     91.72%
Eastern                Kentuckiana                       3/28/2020                   94.05%             95.42%                     88.17%
Eastern                Kentuckiana                        4/1/2020                   94.41%             95.69%                     88.24%
Eastern                Kentuckiana                        4/4/2020                   93.92%             95.94%                     87.16%
Eastern                Kentuckiana                       4/11/2020                   93.27%             95.91%                     77.88%
Eastern                Kentuckiana                       4/18/2020                   93.19%             95.13%                     84.88%
Eastern                Kentuckiana                       4/25/2020                   91.33%             95.17%                     74.85%
Eastern                Kentuckiana                        5/2/2020                   90.60%             95.25%                     79.77%
Eastern                Kentuckiana                        5/9/2020                   90.48%             93.48%                     74.72%
Eastern                Kentuckiana                       5/16/2020                   90.68%             93.51%                     77.45%
Eastern                Kentuckiana                       5/23/2020                   92.20%             91.68%                     84.76%
Eastern                Kentuckiana                       5/30/2020                   91.41%             94.06%                     84.89%
Eastern                Kentuckiana                        6/6/2020                   91.23%             94.37%                     83.79%
Eastern                Kentuckiana                       6/13/2020                   92.25%             94.52%                     85.00%
Eastern                Kentuckiana                       6/20/2020                   92.05%             94.54%                     87.28%
Eastern                Kentuckiana                       6/27/2020                   92.04%             93.03%                     89.48%
Eastern                Kentuckiana                        7/1/2020                   93.11%             91.81%                     79.42%
Eastern                Kentuckiana                        7/4/2020                   90.74%             89.78%                     81.21%
Eastern                Kentuckiana                       7/11/2020                   87.65%             84.98%                     75.91%
Eastern                Kentuckiana                       7/18/2020                   81.86%             82.89%                     77.02%
Eastern                Kentuckiana                       7/25/2020                   84.19%             84.55%                     77.24%
Eastern                Kentuckiana                        8/1/2020                   84.28%             82.74%                     65.06%
Eastern                Kentuckiana                        8/8/2020                   79.31%             76.60%                     63.63%
Eastern                Kentuckiana                       8/15/2020                   85.96%             81.65%                     76.82%
Eastern                Kentuckiana                       8/22/2020                   90.15%             92.52%                     78.39%
Eastern                Kentuckiana                       8/29/2020                   89.92%             92.31%                     84.06%
Eastern                Kentuckiana                        9/5/2020                   89.44%             94.00%                     82.74%
Eastern                Kentuckiana                       9/12/2020                   87.53%             91.98%                     87.18%
Eastern                Northern Ohio                      1/4/2020                   93.18%             95.79%                     93.99%
Eastern                Northern Ohio                     1/11/2020                   93.53%             94.99%                     91.16%
Eastern                Northern Ohio                     1/18/2020                   94.49%             93.81%                     93.10%
Eastern                Northern Ohio                     1/25/2020                   92.83%             95.39%                     90.46%
Eastern                Northern Ohio                      2/1/2020                   93.02%             95.18%                     95.22%
Eastern                Northern Ohio                      2/8/2020                   94.00%             95.74%                     93.11%
Eastern                Northern Ohio                     2/15/2020                   94.94%             94.81%                     91.66%
Eastern                Northern Ohio                     2/22/2020                   93.64%             95.44%                     91.66%
Eastern                Northern Ohio                     2/29/2020                   93.99%             95.17%                     91.81%
Eastern                Northern Ohio                      3/7/2020                   93.94%             96.16%                     92.30%
Eastern                Northern Ohio                     3/14/2020                   94.00%             96.43%                     89.03%
Eastern                Northern Ohio                     3/21/2020                   94.42%             95.07%                     91.24%
Eastern                Northern Ohio                     3/28/2020                   93.09%             94.55%                     89.02%
Eastern                Northern Ohio                      4/1/2020                   91.85%             91.11%                     90.54%
Eastern                Northern Ohio                      4/4/2020                   90.65%             89.05%                     86.37%
Eastern                Northern Ohio                     4/11/2020                   87.36%             87.68%                     83.77%
Eastern                Northern Ohio                     4/18/2020                   89.41%             89.36%                     76.24%
Eastern                Northern Ohio                     4/25/2020                   87.34%             88.12%                     78.89%
Eastern                Northern Ohio                      5/2/2020                   89.54%             87.65%                     84.22%
Eastern                Northern Ohio                      5/9/2020                   89.91%             87.72%                     73.74%
Eastern                Northern Ohio                     5/16/2020                   92.11%             92.34%                     82.36%
Eastern                Northern Ohio                     5/23/2020                   94.20%             90.86%                     81.76%
Eastern                Northern Ohio                     5/30/2020                   92.75%             94.06%                     86.49%
Eastern                Northern Ohio                      6/6/2020                   92.65%             94.61%                     83.77%
Eastern                Northern Ohio                     6/13/2020                   93.41%             93.58%                     86.30%
Eastern                Northern Ohio                     6/20/2020                   91.46%             91.91%                     78.76%
Eastern                Northern Ohio                     6/27/2020                   91.54%             93.20%                     80.81%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        14
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 15 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area                District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Eastern                Northern Ohio                      7/1/2020                   92.66%             89.42%                     74.07%
Eastern                Northern Ohio                      7/4/2020                   91.44%             90.12%                     74.18%
Eastern                Northern Ohio                     7/11/2020                   82.86%             72.29%                     77.11%
Eastern                Northern Ohio                     7/18/2020                   75.74%             58.74%                     76.11%
Eastern                Northern Ohio                     7/25/2020                   66.92%             66.28%                     69.18%
Eastern                Northern Ohio                      8/1/2020                   64.69%             72.86%                     78.83%
Eastern                Northern Ohio                      8/8/2020                   63.60%             63.10%                     75.70%
Eastern                Northern Ohio                     8/15/2020                   72.28%             76.85%                     79.06%
Eastern                Northern Ohio                     8/22/2020                   85.29%             90.99%                     79.65%
Eastern                Northern Ohio                     8/29/2020                   88.05%             92.54%                     83.12%
Eastern                Northern Ohio                      9/5/2020                   88.62%             90.09%                     84.74%
Eastern                Northern Ohio                     9/12/2020                   85.40%             85.30%                     81.60%
Eastern                Ohio Valley                        1/4/2020                   91.27%             91.61%                     86.04%
Eastern                Ohio Valley                       1/11/2020                   91.76%             90.02%                     86.16%
Eastern                Ohio Valley                       1/18/2020                   93.90%             91.27%                     90.55%
Eastern                Ohio Valley                       1/25/2020                   91.57%             92.55%                     83.11%
Eastern                Ohio Valley                        2/1/2020                   90.55%             91.25%                     87.40%
Eastern                Ohio Valley                        2/8/2020                   92.06%             89.87%                     88.72%
Eastern                Ohio Valley                       2/15/2020                   93.44%             91.70%                     89.86%
Eastern                Ohio Valley                       2/22/2020                   91.21%             92.96%                     88.16%
Eastern                Ohio Valley                       2/29/2020                   91.82%             93.19%                     82.35%
Eastern                Ohio Valley                        3/7/2020                   91.49%             92.80%                     86.32%
Eastern                Ohio Valley                       3/14/2020                   91.82%             92.80%                     87.21%
Eastern                Ohio Valley                       3/21/2020                   92.79%             92.67%                     88.74%
Eastern                Ohio Valley                       3/28/2020                   91.36%             94.78%                     86.81%
Eastern                Ohio Valley                        4/1/2020                   93.78%             92.36%                     86.86%
Eastern                Ohio Valley                        4/4/2020                   92.48%             94.23%                     88.10%
Eastern                Ohio Valley                       4/11/2020                   90.37%             95.14%                     87.88%
Eastern                Ohio Valley                       4/18/2020                   91.77%             94.88%                     86.97%
Eastern                Ohio Valley                       4/25/2020                   90.78%             94.27%                     81.99%
Eastern                Ohio Valley                        5/2/2020                   91.58%             93.12%                     80.78%
Eastern                Ohio Valley                        5/9/2020                   91.93%             92.82%                     80.20%
Eastern                Ohio Valley                       5/16/2020                   92.01%             94.15%                     77.91%
Eastern                Ohio Valley                       5/23/2020                   92.88%             90.09%                     83.54%
Eastern                Ohio Valley                       5/30/2020                   90.20%             88.75%                     79.36%
Eastern                Ohio Valley                        6/6/2020                   90.59%             91.34%                     83.44%
Eastern                Ohio Valley                       6/13/2020                   91.44%             91.49%                     84.21%
Eastern                Ohio Valley                       6/20/2020                   92.06%             89.51%                     79.64%
Eastern                Ohio Valley                       6/27/2020                   91.77%             93.03%                     81.89%
Eastern                Ohio Valley                        7/1/2020                   93.31%             90.31%                     87.56%
Eastern                Ohio Valley                        7/4/2020                   89.88%             83.39%                     65.16%
Eastern                Ohio Valley                       7/11/2020                   81.55%             76.38%                     80.62%
Eastern                Ohio Valley                       7/18/2020                   75.38%             69.50%                     80.51%
Eastern                Ohio Valley                       7/25/2020                   69.71%             70.10%                     73.02%
Eastern                Ohio Valley                        8/1/2020                   75.76%             75.55%                     77.58%
Eastern                Ohio Valley                        8/8/2020                   80.64%             82.44%                     76.33%
Eastern                Ohio Valley                       8/15/2020                   83.26%             87.70%                     87.02%
Eastern                Ohio Valley                       8/22/2020                   87.92%             90.68%                     76.26%
Eastern                Ohio Valley                       8/29/2020                   85.26%             88.63%                     80.59%
Eastern                Ohio Valley                        9/5/2020                   85.51%             85.88%                     83.61%
Eastern                Ohio Valley                       9/12/2020                   83.13%             84.23%                     78.54%
Eastern                Philadelphia Metropo               1/4/2020                   87.22%             87.17%                     80.73%
Eastern                Philadelphia Metropo              1/11/2020                   92.29%             81.51%                     86.47%
Eastern                Philadelphia Metropo              1/18/2020                   93.23%             92.18%                     91.57%
Eastern                Philadelphia Metropo              1/25/2020                   90.54%             93.84%                     88.24%
Eastern                Philadelphia Metropo               2/1/2020                   92.32%             94.48%                     88.08%
Eastern                Philadelphia Metropo               2/8/2020                   93.65%             95.31%                     88.77%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        15
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 16 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area                District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Eastern                Philadelphia Metropo              2/15/2020                   95.40%             95.51%                     91.20%
Eastern                Philadelphia Metropo              2/22/2020                   94.36%             96.28%                     90.11%
Eastern                Philadelphia Metropo              2/29/2020                   94.52%             95.16%                     91.09%
Eastern                Philadelphia Metropo               3/7/2020                   93.17%             94.74%                     89.85%
Eastern                Philadelphia Metropo              3/14/2020                   93.44%             93.80%                     81.98%
Eastern                Philadelphia Metropo              3/21/2020                   93.79%             94.66%                     87.46%
Eastern                Philadelphia Metropo              3/28/2020                   93.46%             90.56%                     91.58%
Eastern                Philadelphia Metropo               4/1/2020                   94.26%             94.64%                     90.47%
Eastern                Philadelphia Metropo               4/4/2020                   92.71%             92.47%                     81.46%
Eastern                Philadelphia Metropo              4/11/2020                   92.35%             88.18%                     66.86%
Eastern                Philadelphia Metropo              4/18/2020                   92.38%             87.10%                     71.69%
Eastern                Philadelphia Metropo              4/25/2020                   91.54%             81.81%                     74.81%
Eastern                Philadelphia Metropo               5/2/2020                   91.30%             89.32%                     79.34%
Eastern                Philadelphia Metropo               5/9/2020                   92.01%             92.25%                     68.98%
Eastern                Philadelphia Metropo              5/16/2020                   90.11%             91.89%                     75.65%
Eastern                Philadelphia Metropo              5/23/2020                   92.07%             87.60%                     78.97%
Eastern                Philadelphia Metropo              5/30/2020                   90.29%             89.52%                     76.47%
Eastern                Philadelphia Metropo               6/6/2020                   91.12%             87.09%                     76.55%
Eastern                Philadelphia Metropo              6/13/2020                   92.54%             88.93%                     81.85%
Eastern                Philadelphia Metropo              6/20/2020                   92.28%             90.39%                     80.52%
Eastern                Philadelphia Metropo              6/27/2020                   91.56%             85.49%                     83.58%
Eastern                Philadelphia Metropo               7/1/2020                   91.69%             93.36%                     81.86%
Eastern                Philadelphia Metropo               7/4/2020                   87.05%             89.25%                     78.64%
Eastern                Philadelphia Metropo              7/11/2020                   87.91%             76.13%                     60.15%
Eastern                Philadelphia Metropo              7/18/2020                   83.30%             78.19%                     68.90%
Eastern                Philadelphia Metropo              7/25/2020                   84.55%             84.38%                     69.56%
Eastern                Philadelphia Metropo               8/1/2020                   83.69%             78.84%                     62.23%
Eastern                Philadelphia Metropo               8/8/2020                   79.10%             78.50%                     69.52%
Eastern                Philadelphia Metropo              8/15/2020                   85.86%             82.83%                     72.37%
Eastern                Philadelphia Metropo              8/22/2020                   88.71%             90.08%                     73.74%
Eastern                Philadelphia Metropo              8/29/2020                   88.06%             89.93%                     65.77%
Eastern                Philadelphia Metropo               9/5/2020                   88.65%             87.10%                     67.76%
Eastern                Philadelphia Metropo              9/12/2020                   87.99%             86.04%                     60.20%
Eastern                South Jersey                       1/4/2020                   91.57%             91.69%                     91.43%
Eastern                South Jersey                      1/11/2020                   92.42%             91.24%                     90.54%
Eastern                South Jersey                      1/18/2020                   93.60%             93.65%                     90.51%
Eastern                South Jersey                      1/25/2020                   91.86%             94.54%                     92.65%
Eastern                South Jersey                       2/1/2020                   92.29%             94.27%                     91.64%
Eastern                South Jersey                       2/8/2020                   93.17%             95.63%                     93.66%
Eastern                South Jersey                      2/15/2020                   94.25%             95.87%                     92.93%
Eastern                South Jersey                      2/22/2020                   93.27%             96.15%                     92.23%
Eastern                South Jersey                      2/29/2020                   93.89%             95.78%                     91.65%
Eastern                South Jersey                       3/7/2020                   92.34%             95.74%                     87.52%
Eastern                South Jersey                      3/14/2020                   92.62%             94.09%                     90.01%
Eastern                South Jersey                      3/21/2020                   93.66%             92.47%                     85.58%
Eastern                South Jersey                      3/28/2020                   92.01%             89.19%                     85.66%
Eastern                South Jersey                       4/1/2020                   94.40%             92.15%                     73.88%
Eastern                South Jersey                       4/4/2020                   92.96%             94.15%                     90.39%
Eastern                South Jersey                      4/11/2020                   91.23%             92.32%                     86.34%
Eastern                South Jersey                      4/18/2020                   92.29%             87.61%                     89.21%
Eastern                South Jersey                      4/25/2020                   91.27%             85.78%                     86.80%
Eastern                South Jersey                       5/2/2020                   89.35%             80.26%                     80.76%
Eastern                South Jersey                       5/9/2020                   89.80%             85.90%                     72.08%
Eastern                South Jersey                      5/16/2020                   90.86%             92.11%                     79.03%
Eastern                South Jersey                      5/23/2020                   92.97%             90.72%                     86.88%
Eastern                South Jersey                      5/30/2020                   90.14%             92.84%                     78.19%
Eastern                South Jersey                       6/6/2020                   91.99%             91.11%                     81.20%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        16
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 17 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area                District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Eastern                South Jersey                      6/13/2020                   91.94%             91.54%                     80.11%
Eastern                South Jersey                      6/20/2020                   91.81%             92.74%                     84.50%
Eastern                South Jersey                      6/27/2020                   92.61%             89.68%                     89.19%
Eastern                South Jersey                       7/1/2020                   93.10%             93.57%                     74.95%
Eastern                South Jersey                       7/4/2020                   91.67%             92.63%                     86.74%
Eastern                South Jersey                      7/11/2020                   87.08%             89.80%                     75.99%
Eastern                South Jersey                      7/18/2020                   83.25%             86.25%                     68.92%
Eastern                South Jersey                      7/25/2020                   85.45%             87.03%                     75.63%
Eastern                South Jersey                       8/1/2020                   77.54%             77.12%                     71.80%
Eastern                South Jersey                       8/8/2020                   81.18%             83.11%                     73.77%
Eastern                South Jersey                      8/15/2020                   84.56%             88.50%                     77.54%
Eastern                South Jersey                      8/22/2020                   88.65%             90.64%                     84.98%
Eastern                South Jersey                      8/29/2020                   89.90%             92.00%                     78.12%
Eastern                South Jersey                       9/5/2020                   89.28%             92.55%                     88.15%
Eastern                South Jersey                      9/12/2020                   87.09%             87.13%                     81.41%
Eastern                Tennessee                          1/4/2020                   91.55%             90.33%                     85.26%
Eastern                Tennessee                         1/11/2020                   90.94%             89.55%                     85.66%
Eastern                Tennessee                         1/18/2020                   93.67%             90.52%                     91.89%
Eastern                Tennessee                         1/25/2020                   92.26%             92.03%                     85.26%
Eastern                Tennessee                          2/1/2020                   91.73%             91.39%                     81.45%
Eastern                Tennessee                          2/8/2020                   92.46%             92.89%                     87.56%
Eastern                Tennessee                         2/15/2020                   94.67%             92.64%                     85.22%
Eastern                Tennessee                         2/22/2020                   93.22%             94.72%                     92.25%
Eastern                Tennessee                         2/29/2020                   92.79%             93.34%                     90.14%
Eastern                Tennessee                          3/7/2020                   92.19%             92.15%                     91.73%
Eastern                Tennessee                         3/14/2020                   91.84%             92.51%                     90.48%
Eastern                Tennessee                         3/21/2020                   92.61%             92.74%                     87.85%
Eastern                Tennessee                         3/28/2020                   94.54%             95.32%                     87.56%
Eastern                Tennessee                          4/1/2020                   94.11%             90.96%                     83.07%
Eastern                Tennessee                          4/4/2020                   93.79%             92.08%                     83.95%
Eastern                Tennessee                         4/11/2020                   91.00%             92.52%                     76.83%
Eastern                Tennessee                         4/18/2020                   92.63%             93.17%                     78.33%
Eastern                Tennessee                         4/25/2020                   91.19%             92.12%                     75.71%
Eastern                Tennessee                          5/2/2020                   89.13%             90.83%                     73.39%
Eastern                Tennessee                          5/9/2020                   90.85%             88.39%                     58.63%
Eastern                Tennessee                         5/16/2020                   92.00%             87.74%                     63.07%
Eastern                Tennessee                         5/23/2020                   92.92%             83.75%                     65.98%
Eastern                Tennessee                         5/30/2020                   91.61%             87.01%                     74.38%
Eastern                Tennessee                          6/6/2020                   92.08%             87.51%                     70.52%
Eastern                Tennessee                         6/13/2020                   92.10%             90.71%                     72.66%
Eastern                Tennessee                         6/20/2020                   91.82%             89.49%                     77.30%
Eastern                Tennessee                         6/27/2020                   92.75%             92.28%                     74.48%
Eastern                Tennessee                          7/1/2020                   92.85%             87.07%                     72.46%
Eastern                Tennessee                          7/4/2020                   91.17%             84.32%                     70.51%
Eastern                Tennessee                         7/11/2020                   85.25%             82.98%                     75.01%
Eastern                Tennessee                         7/18/2020                   80.29%             74.93%                     66.23%
Eastern                Tennessee                         7/25/2020                   81.21%             79.85%                     76.85%
Eastern                Tennessee                          8/1/2020                   86.02%             84.62%                     49.79%
Eastern                Tennessee                          8/8/2020                   86.31%             86.80%                     73.94%
Eastern                Tennessee                         8/15/2020                   88.70%             85.62%                     68.94%
Eastern                Tennessee                         8/22/2020                   88.93%             86.45%                     76.18%
Eastern                Tennessee                         8/29/2020                   88.96%             86.01%                     71.29%
Eastern                Tennessee                          9/5/2020                   90.21%             83.53%                     71.89%
Eastern                Tennessee                         9/12/2020                   84.43%             81.22%                     74.13%
Eastern                Western New York                   1/4/2020                   92.45%             94.53%                     89.38%
Eastern                Western New York                  1/11/2020                   94.03%             94.42%                     87.80%
Eastern                Western New York                  1/18/2020                   94.89%             94.53%                     90.58%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        17
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 18 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area               District                  Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Eastern                Western New York                  1/25/2020                   93.29%             94.64%                     83.68%
Eastern                Western New York                   2/1/2020                   92.99%             94.87%                     92.80%
Eastern                Western New York                   2/8/2020                   93.70%             94.21%                     87.02%
Eastern                Western New York                  2/15/2020                   94.67%             94.93%                     87.53%
Eastern                Western New York                  2/22/2020                   93.69%             94.09%                     90.25%
Eastern                Western New York                  2/29/2020                   93.53%             95.65%                     87.42%
Eastern                Western New York                   3/7/2020                   94.39%             94.14%                     86.69%
Eastern                Western New York                  3/14/2020                   94.24%             94.65%                     87.09%
Eastern                Western New York                  3/21/2020                   94.77%             93.26%                     77.15%
Eastern                Western New York                  3/28/2020                   94.57%             95.57%                     90.47%
Eastern                Western New York                   4/1/2020                   94.68%             93.10%                     91.83%
Eastern                Western New York                   4/4/2020                   93.62%             94.50%                     86.75%
Eastern                Western New York                  4/11/2020                   91.35%             93.56%                     76.00%
Eastern                Western New York                  4/18/2020                   93.99%             93.76%                     66.34%
Eastern                Western New York                  4/25/2020                   92.43%             88.97%                     68.52%
Eastern                Western New York                   5/2/2020                   92.44%             90.42%                     55.55%
Eastern                Western New York                   5/9/2020                   92.21%             92.91%                     57.43%
Eastern                Western New York                  5/16/2020                   92.63%             94.94%                     71.71%
Eastern                Western New York                  5/23/2020                   94.17%             94.15%                     83.15%
Eastern                Western New York                  5/30/2020                   92.67%             94.15%                     64.90%
Eastern                Western New York                   6/6/2020                   92.58%             94.50%                     71.29%
Eastern                Western New York                  6/13/2020                   94.46%             95.99%                     78.64%
Eastern                Western New York                  6/20/2020                   94.04%             94.69%                     82.44%
Eastern                Western New York                  6/27/2020                   94.13%             96.13%                     74.19%
Eastern                Western New York                   7/1/2020                   94.91%             95.00%                     90.61%
Eastern                Western New York                   7/4/2020                   93.73%             89.90%                     74.01%
Eastern                Western New York                  7/11/2020                   86.55%             75.84%                     55.92%
Eastern                Western New York                  7/18/2020                   84.85%             58.06%                     49.20%
Eastern                Western New York                  7/25/2020                   85.45%             81.78%                     40.55%
Eastern                Western New York                   8/1/2020                   86.95%             86.36%                     44.43%
Eastern                Western New York                   8/8/2020                   86.35%             80.33%                     50.43%
Eastern                Western New York                  8/15/2020                   88.77%             85.45%                     49.71%
Eastern                Western New York                  8/22/2020                   91.81%             91.38%                     68.78%
Eastern                Western New York                  8/29/2020                   92.13%             90.01%                     76.99%
Eastern                Western New York                   9/5/2020                   92.65%             90.45%                     77.31%
Eastern                Western New York                  9/12/2020                   88.04%             77.13%                     67.46%
Eastern                Western Pennsylvania               1/4/2020                   95.09%             96.45%                     91.81%
Eastern                Western Pennsylvania              1/11/2020                   94.00%             95.62%                     95.19%
Eastern                Western Pennsylvania              1/18/2020                   95.00%             95.81%                     96.60%
Eastern                Western Pennsylvania              1/25/2020                   93.80%             97.40%                     93.79%
Eastern                Western Pennsylvania               2/1/2020                   93.84%             96.97%                     95.23%
Eastern                Western Pennsylvania               2/8/2020                   93.46%             97.21%                     93.89%
Eastern                Western Pennsylvania              2/15/2020                   95.29%             96.58%                     96.35%
Eastern                Western Pennsylvania              2/22/2020                   94.69%             97.67%                     94.58%
Eastern                Western Pennsylvania              2/29/2020                   95.23%             97.71%                     94.79%
Eastern                Western Pennsylvania               3/7/2020                   94.39%             97.51%                     95.11%
Eastern                Western Pennsylvania              3/14/2020                   94.13%             97.33%                     93.33%
Eastern                Western Pennsylvania              3/21/2020                   94.21%             97.20%                     89.69%
Eastern                Western Pennsylvania              3/28/2020                   94.53%             97.54%                     94.05%
Eastern                Western Pennsylvania               4/1/2020                   95.51%             95.35%                     96.17%
Eastern                Western Pennsylvania               4/4/2020                   94.59%             97.51%                     93.40%
Eastern                Western Pennsylvania              4/11/2020                   94.07%             91.78%                     92.33%
Eastern                Western Pennsylvania              4/18/2020                   93.70%             96.55%                     94.80%
Eastern                Western Pennsylvania              4/25/2020                   94.26%             96.43%                     92.19%
Eastern                Western Pennsylvania               5/2/2020                   94.51%             96.68%                     94.44%
Eastern                Western Pennsylvania               5/9/2020                   92.75%             96.65%                     88.97%
Eastern                Western Pennsylvania              5/16/2020                   94.59%             96.62%                     91.31%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        18
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 19 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

        Area                  District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Eastern                Western Pennsylvania              5/23/2020                   94.80%             95.13%                     89.97%
Eastern                Western Pennsylvania              5/30/2020                   93.63%             97.03%                     95.06%
Eastern                Western Pennsylvania               6/6/2020                   93.97%             96.47%                     93.45%
Eastern                Western Pennsylvania              6/13/2020                   93.95%             96.28%                     93.90%
Eastern                Western Pennsylvania              6/20/2020                   93.66%             96.33%                     91.69%
Eastern                Western Pennsylvania              6/27/2020                   93.59%             97.24%                     93.22%
Eastern                Western Pennsylvania               7/1/2020                   94.86%             94.56%                     86.84%
Eastern                Western Pennsylvania               7/4/2020                   93.11%             95.01%                     92.38%
Eastern                Western Pennsylvania              7/11/2020                   88.87%             94.49%                     89.60%
Eastern                Western Pennsylvania              7/18/2020                   88.40%             92.90%                     90.96%
Eastern                Western Pennsylvania              7/25/2020                   89.91%             93.37%                     86.99%
Eastern                Western Pennsylvania               8/1/2020                   88.71%             93.26%                     92.53%
Eastern                Western Pennsylvania               8/8/2020                   88.82%             89.76%                     88.95%
Eastern                Western Pennsylvania              8/15/2020                   90.42%             93.92%                     90.35%
Eastern                Western Pennsylvania              8/22/2020                   91.85%             94.85%                     91.23%
Eastern                Western Pennsylvania              8/29/2020                   91.55%             95.47%                     90.37%
Eastern                Western Pennsylvania               9/5/2020                   92.52%             94.00%                     93.05%
Eastern                Western Pennsylvania              9/12/2020                   90.54%             95.71%                     88.04%
Great Lakes            Central Illinois                   1/4/2020                   90.16%             90.17%                     81.02%
Great Lakes            Central Illinois                  1/11/2020                   89.13%             85.49%                     82.41%
Great Lakes            Central Illinois                  1/18/2020                   90.85%             87.28%                     82.39%
Great Lakes            Central Illinois                  1/25/2020                   86.75%             89.07%                     79.08%
Great Lakes            Central Illinois                   2/1/2020                   80.22%             83.70%                     80.93%
Great Lakes            Central Illinois                   2/8/2020                   88.80%             86.05%                     80.43%
Great Lakes            Central Illinois                  2/15/2020                   89.71%             89.08%                     75.61%
Great Lakes            Central Illinois                  2/22/2020                   90.12%             89.75%                     72.73%
Great Lakes            Central Illinois                  2/29/2020                   90.31%             88.06%                     76.95%
Great Lakes            Central Illinois                   3/7/2020                   89.83%             87.83%                     80.39%
Great Lakes            Central Illinois                  3/14/2020                   88.86%             86.50%                     81.73%
Great Lakes            Central Illinois                  3/21/2020                   90.34%             85.98%                     73.67%
Great Lakes            Central Illinois                  3/28/2020                   88.87%             84.49%                     78.53%
Great Lakes            Central Illinois                   4/1/2020                   90.38%             76.56%                     64.64%
Great Lakes            Central Illinois                   4/4/2020                   89.01%             85.69%                     66.84%
Great Lakes            Central Illinois                  4/11/2020                   88.59%             86.11%                     73.29%
Great Lakes            Central Illinois                  4/18/2020                   90.10%             87.74%                     67.76%
Great Lakes            Central Illinois                  4/25/2020                   88.06%             88.01%                     70.61%
Great Lakes            Central Illinois                   5/2/2020                   86.86%             83.74%                     70.09%
Great Lakes            Central Illinois                   5/9/2020                   88.00%             83.73%                     61.47%
Great Lakes            Central Illinois                  5/16/2020                   88.56%             88.21%                     55.02%
Great Lakes            Central Illinois                  5/23/2020                   88.39%             86.93%                     70.04%
Great Lakes            Central Illinois                  5/30/2020                   87.33%             87.88%                     74.49%
Great Lakes            Central Illinois                   6/6/2020                   89.10%             85.30%                     69.65%
Great Lakes            Central Illinois                  6/13/2020                   89.39%             90.09%                     79.51%
Great Lakes            Central Illinois                  6/20/2020                   88.86%             91.44%                     69.56%
Great Lakes            Central Illinois                  6/27/2020                   87.63%             90.95%                     77.12%
Great Lakes            Central Illinois                   7/1/2020                   86.92%             87.85%                     77.02%
Great Lakes            Central Illinois                   7/4/2020                   89.13%             87.70%                     75.01%
Great Lakes            Central Illinois                  7/11/2020                   82.95%             86.57%                     65.36%
Great Lakes            Central Illinois                  7/18/2020                   80.53%             86.63%                     65.82%
Great Lakes            Central Illinois                  7/25/2020                   81.49%             82.14%                     60.13%
Great Lakes            Central Illinois                   8/1/2020                   80.83%             79.78%                     46.82%
Great Lakes            Central Illinois                   8/8/2020                   79.56%             80.97%                     58.16%
Great Lakes            Central Illinois                  8/15/2020                   81.77%             80.78%                     55.24%
Great Lakes            Central Illinois                  8/22/2020                   84.18%             78.87%                     49.98%
Great Lakes            Central Illinois                  8/29/2020                   84.48%             81.95%                     46.81%
Great Lakes            Central Illinois                   9/5/2020                   84.38%             75.91%                     64.06%
Great Lakes            Central Illinois                  9/12/2020                   80.23%             82.23%                     68.08%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        19
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 20 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

        Area                   District                Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Great Lakes            Chicago                            1/4/2020                   90.45%             90.64%                     71.34%
Great Lakes            Chicago                           1/11/2020                   89.04%             87.80%                     80.99%
Great Lakes            Chicago                           1/18/2020                   90.13%             85.46%                     77.53%
Great Lakes            Chicago                           1/25/2020                   88.18%             89.59%                     73.44%
Great Lakes            Chicago                            2/1/2020                   86.86%             88.35%                     78.07%
Great Lakes            Chicago                            2/8/2020                   89.48%             89.53%                     79.20%
Great Lakes            Chicago                           2/15/2020                   89.68%             89.40%                     78.34%
Great Lakes            Chicago                           2/22/2020                   88.14%             93.72%                     76.08%
Great Lakes            Chicago                           2/29/2020                   90.17%             90.98%                     75.29%
Great Lakes            Chicago                            3/7/2020                   89.14%             89.90%                     76.80%
Great Lakes            Chicago                           3/14/2020                   88.07%             85.16%                     77.56%
Great Lakes            Chicago                           3/21/2020                   89.55%             84.63%                     70.21%
Great Lakes            Chicago                           3/28/2020                   89.71%             83.12%                     72.80%
Great Lakes            Chicago                            4/1/2020                   90.60%             84.03%                     73.24%
Great Lakes            Chicago                            4/4/2020                   89.19%             83.66%                     64.04%
Great Lakes            Chicago                           4/11/2020                   84.75%             79.72%                     67.58%
Great Lakes            Chicago                           4/18/2020                   89.36%             81.37%                     40.14%
Great Lakes            Chicago                           4/25/2020                   92.37%             79.40%                     42.65%
Great Lakes            Chicago                            5/2/2020                   86.07%             83.20%                     60.77%
Great Lakes            Chicago                            5/9/2020                   86.83%             82.93%                     72.61%
Great Lakes            Chicago                           5/16/2020                   87.20%             80.22%                     56.72%
Great Lakes            Chicago                           5/23/2020                   84.29%             83.40%                     64.85%
Great Lakes            Chicago                           5/30/2020                   71.25%             73.40%                     47.63%
Great Lakes            Chicago                            6/6/2020                   85.85%             83.43%                     59.40%
Great Lakes            Chicago                           6/13/2020                   88.85%             86.46%                     66.77%
Great Lakes            Chicago                           6/20/2020                   85.94%             83.08%                     67.32%
Great Lakes            Chicago                           6/27/2020                   87.19%             86.33%                     71.80%
Great Lakes            Chicago                            7/1/2020                   87.13%             84.26%                     63.37%
Great Lakes            Chicago                            7/4/2020                   84.73%             81.39%                     71.36%
Great Lakes            Chicago                           7/11/2020                   79.26%             79.11%                     61.34%
Great Lakes            Chicago                           7/18/2020                   79.42%             77.63%                     49.82%
Great Lakes            Chicago                           7/25/2020                   71.19%             58.38%                     42.95%
Great Lakes            Chicago                            8/1/2020                   74.60%             73.63%                     47.04%
Great Lakes            Chicago                            8/8/2020                   75.38%             77.78%                     50.42%
Great Lakes            Chicago                           8/15/2020                   78.39%             73.02%                     53.71%
Great Lakes            Chicago                           8/22/2020                   81.78%             83.33%                     61.35%
Great Lakes            Chicago                           8/29/2020                   81.52%             82.78%                     62.50%
Great Lakes            Chicago                            9/5/2020                   81.96%             81.26%                     64.24%
Great Lakes            Chicago                           9/12/2020                   72.30%             79.06%                     61.26%
Great Lakes            Detroit                            1/4/2020                   92.22%             93.64%                     88.38%
Great Lakes            Detroit                           1/11/2020                   91.63%             90.66%                     85.10%
Great Lakes            Detroit                           1/18/2020                   92.97%             90.04%                     88.06%
Great Lakes            Detroit                           1/25/2020                   91.28%             90.63%                     91.26%
Great Lakes            Detroit                            2/1/2020                   91.43%             91.20%                     89.96%
Great Lakes            Detroit                            2/8/2020                   91.68%             92.12%                     91.34%
Great Lakes            Detroit                           2/15/2020                   93.73%             92.28%                     91.97%
Great Lakes            Detroit                           2/22/2020                   92.33%             92.98%                     91.12%
Great Lakes            Detroit                           2/29/2020                   91.71%             83.99%                     87.72%
Great Lakes            Detroit                            3/7/2020                   92.05%             90.75%                     91.02%
Great Lakes            Detroit                           3/14/2020                   91.65%             89.92%                     88.83%
Great Lakes            Detroit                           3/21/2020                   91.17%             86.86%                     89.44%
Great Lakes            Detroit                           3/28/2020                   83.07%             77.57%                     77.39%
Great Lakes            Detroit                            4/1/2020                   73.04%             37.14%                     45.35%
Great Lakes            Detroit                            4/4/2020                   67.94%             26.09%                     38.38%
Great Lakes            Detroit                           4/11/2020                   58.80%             27.00%                     38.36%
Great Lakes            Detroit                           4/18/2020                   70.98%             23.65%                     29.72%
Great Lakes            Detroit                           4/25/2020                   67.70%             38.99%                     24.99%


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Commission (PRC) at the end of the quarter.                        20
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 21 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

        Area                   District                Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Great Lakes            Detroit                            5/2/2020                   69.79%             44.16%                     18.56%
Great Lakes            Detroit                            5/9/2020                   69.61%             49.14%                     45.26%
Great Lakes            Detroit                           5/16/2020                   77.64%             77.32%                     28.62%
Great Lakes            Detroit                           5/23/2020                   87.33%             80.48%                     53.20%
Great Lakes            Detroit                           5/30/2020                   88.20%             88.55%                     61.03%
Great Lakes            Detroit                            6/6/2020                   86.12%             88.19%                     73.45%
Great Lakes            Detroit                           6/13/2020                   86.00%             85.23%                     63.60%
Great Lakes            Detroit                           6/20/2020                   85.49%             85.76%                     64.03%
Great Lakes            Detroit                           6/27/2020                   84.11%             85.98%                     66.96%
Great Lakes            Detroit                            7/1/2020                   86.81%             76.33%                     36.04%
Great Lakes            Detroit                            7/4/2020                   81.17%             75.79%                     51.19%
Great Lakes            Detroit                           7/11/2020                   70.87%             70.80%                     55.22%
Great Lakes            Detroit                           7/18/2020                   67.97%             65.41%                     41.09%
Great Lakes            Detroit                           7/25/2020                   63.14%             56.96%                     33.38%
Great Lakes            Detroit                            8/1/2020                   61.01%             50.85%                     47.43%
Great Lakes            Detroit                            8/8/2020                   63.16%             52.44%                     55.72%
Great Lakes            Detroit                           8/15/2020                   72.31%             62.94%                     65.56%
Great Lakes            Detroit                           8/22/2020                   76.51%             72.90%                     69.58%
Great Lakes            Detroit                           8/29/2020                   81.22%             74.97%                     75.35%
Great Lakes            Detroit                            9/5/2020                   83.13%             84.16%                     75.89%
Great Lakes            Detroit                           9/12/2020                   82.94%             83.67%                     72.57%
Great Lakes            Gateway                            1/4/2020                   91.97%             82.01%                     81.16%
Great Lakes            Gateway                           1/11/2020                   91.12%             88.55%                     85.85%
Great Lakes            Gateway                           1/18/2020                   92.37%             91.27%                     85.33%
Great Lakes            Gateway                           1/25/2020                   90.78%             90.81%                     84.72%
Great Lakes            Gateway                            2/1/2020                   91.04%             84.02%                     80.12%
Great Lakes            Gateway                            2/8/2020                   92.36%             92.22%                     85.16%
Great Lakes            Gateway                           2/15/2020                   94.15%             93.69%                     89.84%
Great Lakes            Gateway                           2/22/2020                   92.43%             92.78%                     81.77%
Great Lakes            Gateway                           2/29/2020                   93.32%             92.72%                     79.17%
Great Lakes            Gateway                            3/7/2020                   92.03%             90.79%                     86.71%
Great Lakes            Gateway                           3/14/2020                   92.61%             91.88%                     84.68%
Great Lakes            Gateway                           3/21/2020                   91.55%             92.93%                     84.33%
Great Lakes            Gateway                           3/28/2020                   92.53%             86.27%                     84.33%
Great Lakes            Gateway                            4/1/2020                   93.77%             90.85%                     74.84%
Great Lakes            Gateway                            4/4/2020                   92.85%             93.91%                     83.34%
Great Lakes            Gateway                           4/11/2020                   92.65%             94.47%                     82.11%
Great Lakes            Gateway                           4/18/2020                   92.87%             90.44%                     81.81%
Great Lakes            Gateway                           4/25/2020                   92.14%             89.18%                     80.23%
Great Lakes            Gateway                            5/2/2020                   92.45%             90.17%                     76.24%
Great Lakes            Gateway                            5/9/2020                   92.49%             91.72%                     83.46%
Great Lakes            Gateway                           5/16/2020                   93.54%             93.26%                     79.99%
Great Lakes            Gateway                           5/23/2020                   93.25%             90.44%                     80.23%
Great Lakes            Gateway                           5/30/2020                   91.75%             85.16%                     77.33%
Great Lakes            Gateway                            6/6/2020                   92.26%             91.75%                     78.93%
Great Lakes            Gateway                           6/13/2020                   92.99%             91.59%                     77.79%
Great Lakes            Gateway                           6/20/2020                   92.13%             93.44%                     81.52%
Great Lakes            Gateway                           6/27/2020                   92.03%             94.53%                     80.75%
Great Lakes            Gateway                            7/1/2020                   93.03%             85.32%                     60.79%
Great Lakes            Gateway                            7/4/2020                   90.01%             86.45%                     78.07%
Great Lakes            Gateway                           7/11/2020                   83.75%             74.66%                     80.78%
Great Lakes            Gateway                           7/18/2020                   83.30%             65.85%                     79.14%
Great Lakes            Gateway                           7/25/2020                   84.03%             63.90%                     64.49%
Great Lakes            Gateway                            8/1/2020                   84.89%             65.85%                     62.47%
Great Lakes            Gateway                            8/8/2020                   85.83%             80.95%                     70.95%
Great Lakes            Gateway                           8/15/2020                   88.35%             87.20%                     71.82%
Great Lakes            Gateway                           8/22/2020                   91.09%             90.00%                     74.25%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        21
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 22 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

        Area                  District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Great Lakes            Gateway                           8/29/2020                   90.22%             89.94%                     82.56%
Great Lakes            Gateway                            9/5/2020                   91.14%             90.18%                     76.51%
Great Lakes            Gateway                           9/12/2020                   87.79%             82.60%                     76.54%
Great Lakes            Greater Indiana                    1/4/2020                   89.78%             91.85%                     83.74%
Great Lakes            Greater Indiana                   1/11/2020                   91.39%             88.85%                     82.66%
Great Lakes            Greater Indiana                   1/18/2020                   93.26%             89.06%                     84.02%
Great Lakes            Greater Indiana                   1/25/2020                   91.35%             89.91%                     83.23%
Great Lakes            Greater Indiana                    2/1/2020                   91.91%             90.16%                     86.42%
Great Lakes            Greater Indiana                    2/8/2020                   93.41%             88.63%                     85.20%
Great Lakes            Greater Indiana                   2/15/2020                   94.74%             89.06%                     87.86%
Great Lakes            Greater Indiana                   2/22/2020                   92.95%             89.89%                     87.44%
Great Lakes            Greater Indiana                   2/29/2020                   93.29%             87.27%                     75.82%
Great Lakes            Greater Indiana                    3/7/2020                   93.53%             88.65%                     81.29%
Great Lakes            Greater Indiana                   3/14/2020                   93.34%             88.80%                     73.04%
Great Lakes            Greater Indiana                   3/21/2020                   93.86%             88.92%                     72.94%
Great Lakes            Greater Indiana                   3/28/2020                   93.78%             93.16%                     80.75%
Great Lakes            Greater Indiana                    4/1/2020                   94.11%             88.90%                     83.33%
Great Lakes            Greater Indiana                    4/4/2020                   94.03%             88.57%                     85.24%
Great Lakes            Greater Indiana                   4/11/2020                   92.03%             90.00%                     80.27%
Great Lakes            Greater Indiana                   4/18/2020                   93.57%             90.38%                     80.08%
Great Lakes            Greater Indiana                   4/25/2020                   93.64%             90.33%                     73.06%
Great Lakes            Greater Indiana                    5/2/2020                   93.53%             86.15%                     73.87%
Great Lakes            Greater Indiana                    5/9/2020                   92.74%             88.16%                     77.32%
Great Lakes            Greater Indiana                   5/16/2020                   93.02%             89.90%                     78.44%
Great Lakes            Greater Indiana                   5/23/2020                   93.05%             87.94%                     73.36%
Great Lakes            Greater Indiana                   5/30/2020                   93.01%             89.90%                     76.26%
Great Lakes            Greater Indiana                    6/6/2020                   93.03%             84.24%                     70.10%
Great Lakes            Greater Indiana                   6/13/2020                   93.73%             86.36%                     43.90%
Great Lakes            Greater Indiana                   6/20/2020                   92.94%             86.70%                     68.64%
Great Lakes            Greater Indiana                   6/27/2020                   92.64%             91.82%                     78.97%
Great Lakes            Greater Indiana                    7/1/2020                   91.45%             87.97%                     79.56%
Great Lakes            Greater Indiana                    7/4/2020                   90.32%             87.85%                     53.63%
Great Lakes            Greater Indiana                   7/11/2020                   88.04%             83.13%                     66.64%
Great Lakes            Greater Indiana                   7/18/2020                   86.41%             81.00%                     51.21%
Great Lakes            Greater Indiana                   7/25/2020                   86.59%             83.19%                     57.47%
Great Lakes            Greater Indiana                    8/1/2020                   86.31%             81.34%                     58.62%
Great Lakes            Greater Indiana                    8/8/2020                   87.23%             79.09%                     63.12%
Great Lakes            Greater Indiana                   8/15/2020                   88.85%             85.46%                     68.77%
Great Lakes            Greater Indiana                   8/22/2020                   91.41%             88.92%                     76.46%
Great Lakes            Greater Indiana                   8/29/2020                   90.50%             89.33%                     76.98%
Great Lakes            Greater Indiana                    9/5/2020                   89.86%             88.11%                     80.39%
Great Lakes            Greater Indiana                   9/12/2020                   89.51%             86.89%                     77.48%
Great Lakes            Greater Michigan                   1/4/2020                   93.11%             94.88%                     90.63%
Great Lakes            Greater Michigan                  1/11/2020                   93.09%             93.65%                     92.67%
Great Lakes            Greater Michigan                  1/18/2020                   93.19%             92.50%                     89.59%
Great Lakes            Greater Michigan                  1/25/2020                   93.34%             93.34%                     89.56%
Great Lakes            Greater Michigan                   2/1/2020                   93.24%             93.86%                     90.01%
Great Lakes            Greater Michigan                   2/8/2020                   93.18%             94.67%                     91.88%
Great Lakes            Greater Michigan                  2/15/2020                   94.40%             94.85%                     92.51%
Great Lakes            Greater Michigan                  2/22/2020                   93.85%             94.55%                     91.91%
Great Lakes            Greater Michigan                  2/29/2020                   93.65%             93.30%                     92.66%
Great Lakes            Greater Michigan                   3/7/2020                   93.99%             94.42%                     90.25%
Great Lakes            Greater Michigan                  3/14/2020                   93.34%             94.46%                     90.65%
Great Lakes            Greater Michigan                  3/21/2020                   93.74%             94.09%                     91.79%
Great Lakes            Greater Michigan                  3/28/2020                   93.38%             95.77%                     91.08%
Great Lakes            Greater Michigan                   4/1/2020                   92.79%             87.65%                     86.55%
Great Lakes            Greater Michigan                   4/4/2020                   88.95%             86.36%                     87.99%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        22
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 23 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

        Area                  District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Great Lakes            Greater Michigan                  4/11/2020                   85.04%             85.89%                     87.43%
Great Lakes            Greater Michigan                  4/18/2020                   90.59%             79.65%                     80.95%
Great Lakes            Greater Michigan                  4/25/2020                   90.49%             82.09%                     74.62%
Great Lakes            Greater Michigan                   5/2/2020                   89.04%             82.73%                     62.29%
Great Lakes            Greater Michigan                   5/9/2020                   88.89%             84.39%                     73.13%
Great Lakes            Greater Michigan                  5/16/2020                   90.69%             91.35%                     71.29%
Great Lakes            Greater Michigan                  5/23/2020                   92.60%             91.45%                     75.56%
Great Lakes            Greater Michigan                  5/30/2020                   91.77%             95.30%                     86.57%
Great Lakes            Greater Michigan                   6/6/2020                   91.62%             90.20%                     84.27%
Great Lakes            Greater Michigan                  6/13/2020                   92.45%             89.69%                     80.98%
Great Lakes            Greater Michigan                  6/20/2020                   91.81%             92.04%                     85.13%
Great Lakes            Greater Michigan                  6/27/2020                   91.11%             93.11%                     85.39%
Great Lakes            Greater Michigan                   7/1/2020                   91.73%             90.99%                     86.98%
Great Lakes            Greater Michigan                   7/4/2020                   90.96%             90.19%                     79.16%
Great Lakes            Greater Michigan                  7/11/2020                   86.85%             83.32%                     86.98%
Great Lakes            Greater Michigan                  7/18/2020                   83.19%             80.54%                     71.59%
Great Lakes            Greater Michigan                  7/25/2020                   83.58%             82.40%                     60.84%
Great Lakes            Greater Michigan                   8/1/2020                   81.44%             60.27%                     71.27%
Great Lakes            Greater Michigan                   8/8/2020                   80.28%             58.00%                     68.48%
Great Lakes            Greater Michigan                  8/15/2020                   86.94%             77.89%                     69.41%
Great Lakes            Greater Michigan                  8/22/2020                   89.28%             86.46%                     79.76%
Great Lakes            Greater Michigan                  8/29/2020                   90.08%             89.27%                     87.02%
Great Lakes            Greater Michigan                   9/5/2020                   89.26%             86.88%                     80.56%
Great Lakes            Greater Michigan                  9/12/2020                   89.00%             92.00%                     82.82%
Great Lakes            Lakeland                           1/4/2020                   90.65%             92.10%                     88.96%
Great Lakes            Lakeland                          1/11/2020                   91.13%             90.36%                     92.20%
Great Lakes            Lakeland                          1/18/2020                   92.20%             89.84%                     89.48%
Great Lakes            Lakeland                          1/25/2020                   90.11%             90.47%                     88.12%
Great Lakes            Lakeland                           2/1/2020                   89.93%             91.40%                     91.02%
Great Lakes            Lakeland                           2/8/2020                   91.95%             92.52%                     88.08%
Great Lakes            Lakeland                          2/15/2020                   92.84%             90.91%                     91.23%
Great Lakes            Lakeland                          2/22/2020                   92.75%             93.70%                     87.96%
Great Lakes            Lakeland                          2/29/2020                   92.89%             93.34%                     89.89%
Great Lakes            Lakeland                           3/7/2020                   92.39%             93.27%                     90.48%
Great Lakes            Lakeland                          3/14/2020                   91.17%             93.62%                     85.81%
Great Lakes            Lakeland                          3/21/2020                   91.13%             90.37%                     89.03%
Great Lakes            Lakeland                          3/28/2020                   90.40%             88.76%                     86.37%
Great Lakes            Lakeland                           4/1/2020                   89.46%             87.49%                     85.51%
Great Lakes            Lakeland                           4/4/2020                   90.78%             87.71%                     82.15%
Great Lakes            Lakeland                          4/11/2020                   88.66%             81.46%                     70.88%
Great Lakes            Lakeland                          4/18/2020                   90.21%             89.28%                     73.94%
Great Lakes            Lakeland                          4/25/2020                   90.47%             88.40%                     77.70%
Great Lakes            Lakeland                           5/2/2020                   89.82%             85.99%                     72.80%
Great Lakes            Lakeland                           5/9/2020                   90.49%             84.51%                     73.22%
Great Lakes            Lakeland                          5/16/2020                   91.00%             88.48%                     70.82%
Great Lakes            Lakeland                          5/23/2020                   92.59%             88.84%                     80.51%
Great Lakes            Lakeland                          5/30/2020                   90.54%             89.71%                     82.66%
Great Lakes            Lakeland                           6/6/2020                   90.34%             85.79%                     75.46%
Great Lakes            Lakeland                          6/13/2020                   90.97%             90.49%                     85.96%
Great Lakes            Lakeland                          6/20/2020                   88.22%             92.35%                     81.67%
Great Lakes            Lakeland                          6/27/2020                   89.91%             92.48%                     75.52%
Great Lakes            Lakeland                           7/1/2020                   91.20%             89.60%                     85.33%
Great Lakes            Lakeland                           7/4/2020                   88.86%             84.67%                     82.78%
Great Lakes            Lakeland                          7/11/2020                   82.92%             81.59%                     75.71%
Great Lakes            Lakeland                          7/18/2020                   83.70%             85.09%                     69.81%
Great Lakes            Lakeland                          7/25/2020                   83.88%             82.24%                     61.69%
Great Lakes            Lakeland                           8/1/2020                   80.00%             77.42%                     67.14%


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Commission (PRC) at the end of the quarter.                        23
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 24 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

        Area                  District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Great Lakes            Lakeland                           8/8/2020                   78.90%             77.12%                     70.35%
Great Lakes            Lakeland                          8/15/2020                   84.52%             85.94%                     80.00%
Great Lakes            Lakeland                          8/22/2020                   84.95%             89.06%                     78.40%
Great Lakes            Lakeland                          8/29/2020                   88.23%             87.64%                     81.10%
Great Lakes            Lakeland                           9/5/2020                   88.03%             85.99%                     76.19%
Great Lakes            Lakeland                          9/12/2020                   84.76%             86.89%                     70.43%
Northeast              Albany                             1/4/2020                   93.41%             92.95%                     87.74%
Northeast              Albany                            1/11/2020                   93.71%             91.81%                     87.83%
Northeast              Albany                            1/18/2020                   94.42%             90.85%                     89.56%
Northeast              Albany                            1/25/2020                   93.72%             93.75%                     89.48%
Northeast              Albany                             2/1/2020                   92.07%             86.12%                     88.36%
Northeast              Albany                             2/8/2020                   93.64%             93.18%                     89.73%
Northeast              Albany                            2/15/2020                   95.17%             93.03%                     90.71%
Northeast              Albany                            2/22/2020                   94.37%             92.94%                     85.35%
Northeast              Albany                            2/29/2020                   94.87%             87.95%                     87.24%
Northeast              Albany                             3/7/2020                   93.57%             93.81%                     88.25%
Northeast              Albany                            3/14/2020                   93.36%             93.40%                     88.68%
Northeast              Albany                            3/21/2020                   93.47%             92.42%                     84.56%
Northeast              Albany                            3/28/2020                   93.85%             95.52%                     86.54%
Northeast              Albany                             4/1/2020                   93.59%             94.53%                     88.93%
Northeast              Albany                             4/4/2020                   93.93%             87.78%                     87.48%
Northeast              Albany                            4/11/2020                   92.20%             94.60%                     91.59%
Northeast              Albany                            4/18/2020                   91.80%             94.41%                     83.08%
Northeast              Albany                            4/25/2020                   91.33%             91.27%                     75.97%
Northeast              Albany                             5/2/2020                   90.98%             84.57%                     89.02%
Northeast              Albany                             5/9/2020                   91.09%             91.86%                     65.16%
Northeast              Albany                            5/16/2020                   92.47%             92.64%                     75.13%
Northeast              Albany                            5/23/2020                   93.52%             90.14%                     83.08%
Northeast              Albany                            5/30/2020                   91.19%             93.91%                     81.10%
Northeast              Albany                             6/6/2020                   91.31%             84.67%                     80.63%
Northeast              Albany                            6/13/2020                   93.65%             93.01%                     84.23%
Northeast              Albany                            6/20/2020                   93.14%             93.83%                     80.13%
Northeast              Albany                            6/27/2020                   92.44%             93.38%                     84.83%
Northeast              Albany                             7/1/2020                   94.07%             91.96%                     86.97%
Northeast              Albany                             7/4/2020                   91.97%             89.01%                     84.76%
Northeast              Albany                            7/11/2020                   88.38%             74.46%                     77.75%
Northeast              Albany                            7/18/2020                   87.54%             76.75%                     65.78%
Northeast              Albany                            7/25/2020                   89.71%             86.74%                     74.49%
Northeast              Albany                             8/1/2020                   86.63%             82.27%                     82.94%
Northeast              Albany                             8/8/2020                   86.53%             90.50%                     75.74%
Northeast              Albany                            8/15/2020                   88.22%             92.20%                     80.31%
Northeast              Albany                            8/22/2020                   91.31%             91.94%                     81.68%
Northeast              Albany                            8/29/2020                   91.23%             91.60%                     81.32%
Northeast              Albany                             9/5/2020                   92.38%             84.74%                     82.95%
Northeast              Albany                            9/12/2020                   87.63%             83.00%                     70.52%
Northeast              Caribbean                          1/4/2020                   87.65%             97.63%                     82.40%
Northeast              Caribbean                         1/11/2020                   90.93%             90.31%                     62.87%
Northeast              Caribbean                         1/18/2020                   89.66%             65.36%                     79.52%
Northeast              Caribbean                         1/25/2020                   71.71%             93.86%                     75.50%
Northeast              Caribbean                          2/1/2020                   93.19%             88.61%                     85.71%
Northeast              Caribbean                          2/8/2020                   93.53%             92.77%                     91.81%
Northeast              Caribbean                         2/15/2020                   94.93%             67.91%                     59.00%
Northeast              Caribbean                         2/22/2020                   94.16%             81.92%                     69.95%
Northeast              Caribbean                         2/29/2020                   94.13%             82.09%                     90.11%
Northeast              Caribbean                          3/7/2020                   91.91%             93.88%                     91.43%
Northeast              Caribbean                         3/14/2020                   93.97%             94.27%                     86.23%
Northeast              Caribbean                         3/21/2020                   91.02%             88.54%                     82.54%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        24
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 25 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

       Area                   District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Northeast              Caribbean                         3/28/2020                   91.42%             82.04%                     90.49%
Northeast              Caribbean                          4/1/2020                   92.55%             82.42%                     97.58%
Northeast              Caribbean                          4/4/2020                   93.18%             97.65%                     79.81%
Northeast              Caribbean                         4/11/2020                   87.11%             93.60%                     88.17%
Northeast              Caribbean                         4/18/2020                   92.78%             96.11%                     85.08%
Northeast              Caribbean                         4/25/2020                   91.45%             83.70%                     87.55%
Northeast              Caribbean                          5/2/2020                   91.92%             91.57%                     70.52%
Northeast              Caribbean                          5/9/2020                   91.85%             92.99%                     51.76%
Northeast              Caribbean                         5/16/2020                   93.81%             90.31%                     58.41%
Northeast              Caribbean                         5/23/2020                   92.10%             87.63%                     72.33%
Northeast              Caribbean                         5/30/2020                   86.25%             58.14%                     94.63%
Northeast              Caribbean                          6/6/2020                   89.96%             90.62%                     81.93%
Northeast              Caribbean                         6/13/2020                   90.29%             75.63%                     84.19%
Northeast              Caribbean                         6/20/2020                   91.66%             76.03%                     18.83%
Northeast              Caribbean                         6/27/2020                   88.36%             71.64%                     76.96%
Northeast              Caribbean                          7/1/2020                   91.54%             81.98%                     77.16%
Northeast              Caribbean                          7/4/2020                   90.27%             84.13%                     95.61%
Northeast              Caribbean                         7/11/2020                   88.11%             84.86%                     89.12%
Northeast              Caribbean                         7/18/2020                   81.58%             89.79%                     79.22%
Northeast              Caribbean                         7/25/2020                   75.51%             91.68%                     55.01%
Northeast              Caribbean                          8/1/2020                   79.66%             75.86%                     86.39%
Northeast              Caribbean                          8/8/2020                   85.13%             84.99%                     86.73%
Northeast              Caribbean                         8/15/2020                   86.00%             83.63%                     72.81%
Northeast              Caribbean                         8/22/2020                   89.24%             87.91%                     75.85%
Northeast              Caribbean                         8/29/2020                   93.32%             87.24%                     70.77%
Northeast              Caribbean                          9/5/2020                   89.82%             88.17%                     73.44%
Northeast              Caribbean                         9/12/2020                   87.06%             94.83%                     95.21%
Northeast              Connecticut Valley                 1/4/2020                   92.46%             91.18%                     84.36%
Northeast              Connecticut Valley                1/11/2020                   92.44%             87.71%                     79.78%
Northeast              Connecticut Valley                1/18/2020                   93.74%             90.23%                     81.22%
Northeast              Connecticut Valley                1/25/2020                   92.77%             91.39%                     81.60%
Northeast              Connecticut Valley                 2/1/2020                   92.55%             90.52%                     84.07%
Northeast              Connecticut Valley                 2/8/2020                   93.22%             92.44%                     83.54%
Northeast              Connecticut Valley                2/15/2020                   94.39%             92.42%                     85.21%
Northeast              Connecticut Valley                2/22/2020                   93.69%             91.38%                     75.28%
Northeast              Connecticut Valley                2/29/2020                   93.05%             93.00%                     80.46%
Northeast              Connecticut Valley                 3/7/2020                   92.84%             91.18%                     79.39%
Northeast              Connecticut Valley                3/14/2020                   91.80%             88.08%                     72.54%
Northeast              Connecticut Valley                3/21/2020                   93.10%             91.94%                     76.63%
Northeast              Connecticut Valley                3/28/2020                   91.85%             92.28%                     77.38%
Northeast              Connecticut Valley                 4/1/2020                   91.16%             89.72%                     75.20%
Northeast              Connecticut Valley                 4/4/2020                   91.53%             87.06%                     64.29%
Northeast              Connecticut Valley                4/11/2020                   86.67%             76.93%                     45.70%
Northeast              Connecticut Valley                4/18/2020                   89.55%             84.38%                     32.11%
Northeast              Connecticut Valley                4/25/2020                   89.32%             82.61%                     37.14%
Northeast              Connecticut Valley                 5/2/2020                   89.61%             77.66%                     32.75%
Northeast              Connecticut Valley                 5/9/2020                   88.49%             81.58%                     28.04%
Northeast              Connecticut Valley                5/16/2020                   90.49%             86.70%                     51.21%
Northeast              Connecticut Valley                5/23/2020                   91.55%             87.42%                     54.02%
Northeast              Connecticut Valley                5/30/2020                   89.85%             89.28%                     60.10%
Northeast              Connecticut Valley                 6/6/2020                   90.48%             85.55%                     43.43%
Northeast              Connecticut Valley                6/13/2020                   91.74%             88.89%                     64.63%
Northeast              Connecticut Valley                6/20/2020                   90.72%             88.19%                     68.96%
Northeast              Connecticut Valley                6/27/2020                   91.18%             84.50%                     74.46%
Northeast              Connecticut Valley                 7/1/2020                   91.01%             91.72%                     74.05%
Northeast              Connecticut Valley                 7/4/2020                   91.77%             90.17%                     70.87%
Northeast              Connecticut Valley                7/11/2020                   87.46%             87.90%                     68.07%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        25
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 26 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

       Area                    District                Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Northeast              Connecticut Valley                7/18/2020                   85.52%             85.40%                     59.72%
Northeast              Connecticut Valley                7/25/2020                   86.73%             88.14%                     62.89%
Northeast              Connecticut Valley                 8/1/2020                   82.33%             74.75%                     65.70%
Northeast              Connecticut Valley                 8/8/2020                   76.70%             55.77%                     61.48%
Northeast              Connecticut Valley                8/15/2020                   87.69%             85.77%                     67.18%
Northeast              Connecticut Valley                8/22/2020                   89.78%             89.80%                     76.07%
Northeast              Connecticut Valley                8/29/2020                   90.81%             92.01%                     79.41%
Northeast              Connecticut Valley                 9/5/2020                   90.89%             92.09%                     80.60%
Northeast              Connecticut Valley                9/12/2020                   88.34%             87.25%                     76.78%
Northeast              Greater Boston                     1/4/2020                   92.23%             89.30%                     89.80%
Northeast              Greater Boston                    1/11/2020                   92.36%             86.77%                     83.92%
Northeast              Greater Boston                    1/18/2020                   92.69%             88.65%                     85.56%
Northeast              Greater Boston                    1/25/2020                   91.09%             90.82%                     88.01%
Northeast              Greater Boston                     2/1/2020                   91.34%             89.21%                     86.52%
Northeast              Greater Boston                     2/8/2020                   90.65%             87.45%                     87.16%
Northeast              Greater Boston                    2/15/2020                   93.65%             91.25%                     89.26%
Northeast              Greater Boston                    2/22/2020                   92.55%             90.32%                     83.45%
Northeast              Greater Boston                    2/29/2020                   92.54%             91.93%                     85.56%
Northeast              Greater Boston                     3/7/2020                   92.42%             90.56%                     88.71%
Northeast              Greater Boston                    3/14/2020                   92.74%             90.93%                     84.17%
Northeast              Greater Boston                    3/21/2020                   92.86%             91.68%                     81.79%
Northeast              Greater Boston                    3/28/2020                   91.96%             92.16%                     80.52%
Northeast              Greater Boston                     4/1/2020                   92.67%             87.35%                     83.77%
Northeast              Greater Boston                     4/4/2020                   90.33%             72.79%                     67.33%
Northeast              Greater Boston                    4/11/2020                   87.24%             80.63%                     49.33%
Northeast              Greater Boston                    4/18/2020                   90.34%             82.29%                     47.42%
Northeast              Greater Boston                    4/25/2020                   90.34%             82.58%                     44.47%
Northeast              Greater Boston                     5/2/2020                   90.03%             85.45%                     52.37%
Northeast              Greater Boston                     5/9/2020                   89.87%             82.43%                     48.47%
Northeast              Greater Boston                    5/16/2020                   90.46%             81.64%                     62.75%
Northeast              Greater Boston                    5/23/2020                   89.95%             82.73%                     47.09%
Northeast              Greater Boston                    5/30/2020                   89.33%             83.56%                     64.93%
Northeast              Greater Boston                     6/6/2020                   89.52%             78.90%                     35.56%
Northeast              Greater Boston                    6/13/2020                   91.50%             80.47%                     46.99%
Northeast              Greater Boston                    6/20/2020                   90.56%             84.94%                     57.13%
Northeast              Greater Boston                    6/27/2020                   90.02%             87.88%                     65.87%
Northeast              Greater Boston                     7/1/2020                   90.45%             91.12%                     74.48%
Northeast              Greater Boston                     7/4/2020                   90.64%             85.73%                     75.91%
Northeast              Greater Boston                    7/11/2020                   85.60%             81.61%                     53.64%
Northeast              Greater Boston                    7/18/2020                   84.16%             84.18%                     71.67%
Northeast              Greater Boston                    7/25/2020                   86.45%             86.80%                     73.07%
Northeast              Greater Boston                     8/1/2020                   86.42%             82.65%                     69.11%
Northeast              Greater Boston                     8/8/2020                   84.98%             88.46%                     78.16%
Northeast              Greater Boston                    8/15/2020                   88.70%             91.12%                     71.35%
Northeast              Greater Boston                    8/22/2020                   89.40%             87.15%                     69.85%
Northeast              Greater Boston                    8/29/2020                   90.20%             88.64%                     71.98%
Northeast              Greater Boston                     9/5/2020                   90.66%             88.31%                     80.80%
Northeast              Greater Boston                    9/12/2020                   88.68%             82.97%                     74.15%
Northeast              Long Island                        1/4/2020                   90.16%             91.16%                     88.65%
Northeast              Long Island                       1/11/2020                   88.56%             89.42%                     82.62%
Northeast              Long Island                       1/18/2020                   91.39%             90.35%                     86.97%
Northeast              Long Island                       1/25/2020                   88.25%             91.53%                     89.23%
Northeast              Long Island                        2/1/2020                   90.77%             90.13%                     88.64%
Northeast              Long Island                        2/8/2020                   90.11%             92.20%                     86.88%
Northeast              Long Island                       2/15/2020                   92.40%             93.49%                     90.05%
Northeast              Long Island                       2/22/2020                   91.31%             95.29%                     85.67%
Northeast              Long Island                       2/29/2020                   92.15%             92.72%                     88.70%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        26
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 27 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

       Area                    District                Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Northeast              Long Island                        3/7/2020                   89.86%             91.83%                     83.93%
Northeast              Long Island                       3/14/2020                   90.31%             92.14%                     90.71%
Northeast              Long Island                       3/21/2020                   89.04%             93.26%                     90.25%
Northeast              Long Island                       3/28/2020                   90.14%             93.69%                     82.01%
Northeast              Long Island                        4/1/2020                   90.84%             74.32%                     75.61%
Northeast              Long Island                        4/4/2020                   84.77%             62.40%                     39.98%
Northeast              Long Island                       4/11/2020                   79.18%             58.75%                     25.15%
Northeast              Long Island                       4/18/2020                   82.86%             49.05%                     38.40%
Northeast              Long Island                       4/25/2020                   82.33%             51.29%                     28.52%
Northeast              Long Island                        5/2/2020                   75.80%             65.70%                     30.96%
Northeast              Long Island                        5/9/2020                   79.72%             68.45%                     29.11%
Northeast              Long Island                       5/16/2020                   85.58%             76.42%                     33.62%
Northeast              Long Island                       5/23/2020                   86.62%             84.12%                     46.75%
Northeast              Long Island                       5/30/2020                   83.70%             85.64%                     59.77%
Northeast              Long Island                        6/6/2020                   83.59%             90.23%                     57.00%
Northeast              Long Island                       6/13/2020                   87.49%             90.80%                     78.55%
Northeast              Long Island                       6/20/2020                   87.34%             91.42%                     69.94%
Northeast              Long Island                       6/27/2020                   87.11%             89.77%                     81.57%
Northeast              Long Island                        7/1/2020                   88.84%             88.03%                     72.17%
Northeast              Long Island                        7/4/2020                   85.64%             85.28%                     74.22%
Northeast              Long Island                       7/11/2020                   76.25%             85.21%                     76.38%
Northeast              Long Island                       7/18/2020                   76.83%             86.89%                     75.35%
Northeast              Long Island                       7/25/2020                   82.98%             86.79%                     70.15%
Northeast              Long Island                        8/1/2020                   82.71%             83.38%                     57.31%
Northeast              Long Island                        8/8/2020                   75.89%             88.68%                     70.43%
Northeast              Long Island                       8/15/2020                   80.09%             89.12%                     75.62%
Northeast              Long Island                       8/22/2020                   84.19%             91.73%                     81.95%
Northeast              Long Island                       8/29/2020                   87.19%             90.98%                     79.12%
Northeast              Long Island                        9/5/2020                   88.21%             89.24%                     85.34%
Northeast              Long Island                       9/12/2020                   87.80%             91.47%                     78.77%
Northeast              New York                           1/4/2020                   83.90%             89.38%                     80.38%
Northeast              New York                          1/11/2020                   87.42%             86.00%                     74.97%
Northeast              New York                          1/18/2020                   89.11%             82.78%                     74.34%
Northeast              New York                          1/25/2020                   88.11%             88.55%                     76.33%
Northeast              New York                           2/1/2020                   87.20%             88.68%                     79.91%
Northeast              New York                           2/8/2020                   87.11%             91.37%                     82.68%
Northeast              New York                          2/15/2020                   89.18%             89.58%                     83.14%
Northeast              New York                          2/22/2020                   88.10%             82.19%                     76.82%
Northeast              New York                          2/29/2020                   89.09%             86.73%                     79.71%
Northeast              New York                           3/7/2020                   87.05%             87.47%                     77.56%
Northeast              New York                          3/14/2020                   84.64%             77.75%                     81.21%
Northeast              New York                          3/21/2020                   77.13%             67.92%                     61.23%
Northeast              New York                          3/28/2020                   79.72%             80.61%                     46.85%
Northeast              New York                           4/1/2020                   75.78%             65.20%                     35.10%
Northeast              New York                           4/4/2020                   56.73%             16.30%                     38.08%
Northeast              New York                          4/11/2020                   42.99%             12.72%                     35.44%
Northeast              New York                          4/18/2020                   38.99%             14.52%                     30.25%
Northeast              New York                          4/25/2020                   38.06%             10.83%                     34.82%
Northeast              New York                           5/2/2020                   36.47%             18.43%                     35.56%
Northeast              New York                           5/9/2020                   55.06%             54.45%                     52.78%
Northeast              New York                          5/16/2020                   82.93%             84.68%                     66.38%
Northeast              New York                          5/23/2020                   83.57%             88.52%                     70.60%
Northeast              New York                          5/30/2020                   81.45%             89.08%                     57.08%
Northeast              New York                           6/6/2020                   81.53%             90.62%                     67.97%
Northeast              New York                          6/13/2020                   83.66%             92.38%                     70.30%
Northeast              New York                          6/20/2020                   82.57%             90.92%                     70.34%
Northeast              New York                          6/27/2020                   83.12%             91.34%                     71.67%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        27
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 28 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

       Area                  District                  Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Northeast              New York                           7/1/2020                   85.63%             90.78%                     72.04%
Northeast              New York                           7/4/2020                   85.41%             85.82%                     75.34%
Northeast              New York                          7/11/2020                   80.05%             88.65%                     78.34%
Northeast              New York                          7/18/2020                   79.02%             88.09%                     78.15%
Northeast              New York                          7/25/2020                   82.94%             86.85%                     67.57%
Northeast              New York                           8/1/2020                   81.72%             87.17%                     69.98%
Northeast              New York                           8/8/2020                   78.04%             88.02%                     73.55%
Northeast              New York                          8/15/2020                   82.20%             89.65%                     75.33%
Northeast              New York                          8/22/2020                   83.84%             89.50%                     81.68%
Northeast              New York                          8/29/2020                   85.88%             91.35%                     82.20%
Northeast              New York                           9/5/2020                   87.75%             89.25%                     89.42%
Northeast              New York                          9/12/2020                   84.60%             92.69%                     84.78%
Northeast              Northern New England               1/4/2020                   91.62%             91.09%                     80.42%
Northeast              Northern New England              1/11/2020                   91.28%             90.82%                     79.80%
Northeast              Northern New England              1/18/2020                   92.83%             91.02%                     83.79%
Northeast              Northern New England              1/25/2020                   91.18%             93.40%                     82.35%
Northeast              Northern New England               2/1/2020                   91.59%             92.68%                     84.06%
Northeast              Northern New England               2/8/2020                   91.34%             93.23%                     81.94%
Northeast              Northern New England              2/15/2020                   93.22%             92.36%                     86.73%
Northeast              Northern New England              2/22/2020                   92.15%             93.40%                     84.46%
Northeast              Northern New England              2/29/2020                   93.21%             94.46%                     80.84%
Northeast              Northern New England               3/7/2020                   90.11%             91.76%                     85.38%
Northeast              Northern New England              3/14/2020                   92.85%             92.40%                     82.29%
Northeast              Northern New England              3/21/2020                   92.38%             94.60%                     82.91%
Northeast              Northern New England              3/28/2020                   92.04%             87.35%                     70.55%
Northeast              Northern New England               4/1/2020                   92.78%             93.82%                     85.10%
Northeast              Northern New England               4/4/2020                   91.09%             93.45%                     64.14%
Northeast              Northern New England              4/11/2020                   86.61%             89.45%                     60.55%
Northeast              Northern New England              4/18/2020                   91.44%             88.90%                     72.42%
Northeast              Northern New England              4/25/2020                   89.92%             84.16%                     44.47%
Northeast              Northern New England               5/2/2020                   87.37%             87.45%                     62.58%
Northeast              Northern New England               5/9/2020                   86.96%             89.86%                     65.10%
Northeast              Northern New England              5/16/2020                   89.10%             87.85%                     59.33%
Northeast              Northern New England              5/23/2020                   88.30%             88.51%                     66.15%
Northeast              Northern New England              5/30/2020                   87.50%             91.12%                     62.39%
Northeast              Northern New England               6/6/2020                   86.63%             88.96%                     61.33%
Northeast              Northern New England              6/13/2020                   90.16%             90.66%                     67.56%
Northeast              Northern New England              6/20/2020                   88.53%             90.37%                     56.49%
Northeast              Northern New England              6/27/2020                   89.21%             83.45%                     65.02%
Northeast              Northern New England               7/1/2020                   90.96%             94.25%                     37.16%
Northeast              Northern New England               7/4/2020                   90.85%             89.59%                     59.52%
Northeast              Northern New England              7/11/2020                   81.99%             87.48%                     58.20%
Northeast              Northern New England              7/18/2020                   85.04%             89.08%                     61.31%
Northeast              Northern New England              7/25/2020                   87.56%             90.90%                     48.73%
Northeast              Northern New England               8/1/2020                   85.34%             88.04%                     59.24%
Northeast              Northern New England               8/8/2020                   84.28%             91.16%                     49.25%
Northeast              Northern New England              8/15/2020                   86.38%             93.00%                     59.41%
Northeast              Northern New England              8/22/2020                   89.09%             94.70%                     56.88%
Northeast              Northern New England              8/29/2020                   90.24%             94.02%                     66.61%
Northeast              Northern New England               9/5/2020                   90.17%             87.31%                     74.26%
Northeast              Northern New England              9/12/2020                   87.92%             88.86%                     44.10%
Northeast              Northern New Jersey                1/4/2020                   92.49%             87.20%                     76.98%
Northeast              Northern New Jersey               1/11/2020                   92.44%             87.24%                     79.15%
Northeast              Northern New Jersey               1/18/2020                   93.33%             91.00%                     85.70%
Northeast              Northern New Jersey               1/25/2020                   93.34%             92.86%                     83.08%
Northeast              Northern New Jersey                2/1/2020                   93.11%             92.00%                     86.10%
Northeast              Northern New Jersey                2/8/2020                   93.50%             92.81%                     89.32%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        28
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 29 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

       Area                    District                Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Northeast              Northern New Jersey               2/15/2020                   94.50%             94.66%                     85.18%
Northeast              Northern New Jersey               2/22/2020                   93.56%             94.12%                     85.27%
Northeast              Northern New Jersey               2/29/2020                   93.99%             93.00%                     83.11%
Northeast              Northern New Jersey                3/7/2020                   93.62%             92.75%                     81.41%
Northeast              Northern New Jersey               3/14/2020                   92.93%             91.79%                     81.27%
Northeast              Northern New Jersey               3/21/2020                   93.44%             91.84%                     78.27%
Northeast              Northern New Jersey               3/28/2020                   92.97%             86.34%                     79.29%
Northeast              Northern New Jersey                4/1/2020                   92.16%             87.03%                     67.65%
Northeast              Northern New Jersey                4/4/2020                   90.27%             82.98%                     81.44%
Northeast              Northern New Jersey               4/11/2020                   88.47%             78.18%                     56.85%
Northeast              Northern New Jersey               4/18/2020                   90.05%             72.94%                     30.67%
Northeast              Northern New Jersey               4/25/2020                   87.66%             68.38%                     16.80%
Northeast              Northern New Jersey                5/2/2020                   86.36%             59.71%                     11.24%
Northeast              Northern New Jersey                5/9/2020                   87.25%             76.18%                     15.89%
Northeast              Northern New Jersey               5/16/2020                   88.68%             77.00%                     31.48%
Northeast              Northern New Jersey               5/23/2020                   90.86%             82.46%                     37.80%
Northeast              Northern New Jersey               5/30/2020                   88.22%             89.52%                     56.10%
Northeast              Northern New Jersey                6/6/2020                   89.34%             90.66%                     62.52%
Northeast              Northern New Jersey               6/13/2020                   89.91%             90.39%                     67.18%
Northeast              Northern New Jersey               6/20/2020                   90.82%             89.32%                     71.39%
Northeast              Northern New Jersey               6/27/2020                   89.81%             83.17%                     75.95%
Northeast              Northern New Jersey                7/1/2020                   91.98%             91.31%                     76.68%
Northeast              Northern New Jersey                7/4/2020                   90.29%             86.65%                     67.75%
Northeast              Northern New Jersey               7/11/2020                   84.33%             87.64%                     70.58%
Northeast              Northern New Jersey               7/18/2020                   80.74%             84.01%                     64.18%
Northeast              Northern New Jersey               7/25/2020                   87.12%             85.07%                     70.92%
Northeast              Northern New Jersey                8/1/2020                   86.09%             78.79%                     66.26%
Northeast              Northern New Jersey                8/8/2020                   83.97%             83.10%                     61.77%
Northeast              Northern New Jersey               8/15/2020                   85.27%             86.61%                     69.68%
Northeast              Northern New Jersey               8/22/2020                   88.20%             89.16%                     72.55%
Northeast              Northern New Jersey               8/29/2020                   89.99%             89.08%                     69.43%
Northeast              Northern New Jersey                9/5/2020                   91.00%             89.21%                     80.21%
Northeast              Northern New Jersey               9/12/2020                   88.72%             89.64%                     76.87%
Northeast              Triboro                            1/4/2020                   87.43%             88.87%                     81.86%
Northeast              Triboro                           1/11/2020                   86.14%             85.62%                     77.24%
Northeast              Triboro                           1/18/2020                   86.10%             83.78%                     70.99%
Northeast              Triboro                           1/25/2020                   82.22%             87.18%                     77.53%
Northeast              Triboro                            2/1/2020                   86.97%             87.49%                     79.92%
Northeast              Triboro                            2/8/2020                   88.39%             89.18%                     82.97%
Northeast              Triboro                           2/15/2020                   89.52%             89.03%                     75.78%
Northeast              Triboro                           2/22/2020                   88.50%             90.71%                     74.27%
Northeast              Triboro                           2/29/2020                   89.61%             87.98%                     78.95%
Northeast              Triboro                            3/7/2020                   89.49%             88.48%                     74.14%
Northeast              Triboro                           3/14/2020                   82.93%             81.36%                     79.07%
Northeast              Triboro                           3/21/2020                   85.66%             86.12%                     75.87%
Northeast              Triboro                           3/28/2020                   83.19%             82.97%                     50.98%
Northeast              Triboro                            4/1/2020                   84.22%             82.42%                     65.77%
Northeast              Triboro                            4/4/2020                   78.92%             76.28%                     58.38%
Northeast              Triboro                           4/11/2020                   69.95%             77.67%                     44.82%
Northeast              Triboro                           4/18/2020                   69.55%             73.43%                     53.99%
Northeast              Triboro                           4/25/2020                   75.00%             67.48%                     45.06%
Northeast              Triboro                            5/2/2020                   67.97%             67.40%                     39.92%
Northeast              Triboro                            5/9/2020                   74.43%             73.24%                     50.28%
Northeast              Triboro                           5/16/2020                   80.06%             81.51%                     52.74%
Northeast              Triboro                           5/23/2020                   80.13%             79.48%                     46.03%
Northeast              Triboro                           5/30/2020                   84.35%             85.31%                     53.33%
Northeast              Triboro                            6/6/2020                   83.58%             87.56%                     50.65%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        29
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 30 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

        Area                   District                Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Northeast              Triboro                           6/13/2020                   85.60%             85.80%                     61.99%
Northeast              Triboro                           6/20/2020                   84.18%             88.45%                     62.41%
Northeast              Triboro                           6/27/2020                   85.01%             89.20%                     69.06%
Northeast              Triboro                            7/1/2020                   88.64%             87.91%                     53.10%
Northeast              Triboro                            7/4/2020                   86.51%             84.99%                     53.23%
Northeast              Triboro                           7/11/2020                   83.35%             83.20%                     61.71%
Northeast              Triboro                           7/18/2020                   77.09%             79.51%                     57.12%
Northeast              Triboro                           7/25/2020                   80.82%             79.57%                     49.31%
Northeast              Triboro                            8/1/2020                   80.82%             79.92%                     52.49%
Northeast              Triboro                            8/8/2020                   81.16%             80.63%                     50.32%
Northeast              Triboro                           8/15/2020                   82.04%             83.24%                     60.43%
Northeast              Triboro                           8/22/2020                   85.29%             81.84%                     64.45%
Northeast              Triboro                           8/29/2020                   85.27%             85.94%                     52.45%
Northeast              Triboro                            9/5/2020                   87.00%             86.99%                     68.78%
Northeast              Triboro                           9/12/2020                   85.33%             83.72%                     69.03%
Northeast              Westchester                        1/4/2020                   90.05%             89.06%                     75.26%
Northeast              Westchester                       1/11/2020                   90.55%             87.11%                     77.75%
Northeast              Westchester                       1/18/2020                   91.89%             89.96%                     80.35%
Northeast              Westchester                       1/25/2020                   91.48%             92.17%                     85.92%
Northeast              Westchester                        2/1/2020                   91.51%             92.20%                     87.24%
Northeast              Westchester                        2/8/2020                   92.43%             91.60%                     86.27%
Northeast              Westchester                       2/15/2020                   93.37%             92.61%                     87.99%
Northeast              Westchester                       2/22/2020                   93.23%             93.19%                     83.39%
Northeast              Westchester                       2/29/2020                   93.14%             92.61%                     77.88%
Northeast              Westchester                        3/7/2020                   91.88%             88.74%                     78.34%
Northeast              Westchester                       3/14/2020                   77.92%             60.49%                     61.81%
Northeast              Westchester                       3/21/2020                   89.60%             84.65%                     68.49%
Northeast              Westchester                       3/28/2020                   91.49%             78.88%                     65.56%
Northeast              Westchester                        4/1/2020                   90.72%             75.47%                     58.96%
Northeast              Westchester                        4/4/2020                   84.97%             42.80%                     44.35%
Northeast              Westchester                       4/11/2020                   79.26%             42.07%                     39.29%
Northeast              Westchester                       4/18/2020                   84.90%             73.71%                     52.28%
Northeast              Westchester                       4/25/2020                   84.12%             73.76%                     45.82%
Northeast              Westchester                        5/2/2020                   83.59%             72.09%                     42.58%
Northeast              Westchester                        5/9/2020                   86.60%             85.48%                     54.53%
Northeast              Westchester                       5/16/2020                   89.21%             86.99%                     61.23%
Northeast              Westchester                       5/23/2020                   90.54%             87.04%                     69.01%
Northeast              Westchester                       5/30/2020                   88.36%             85.86%                     68.91%
Northeast              Westchester                        6/6/2020                   87.32%             87.87%                     69.61%
Northeast              Westchester                       6/13/2020                   89.31%             89.08%                     72.94%
Northeast              Westchester                       6/20/2020                   90.16%             88.00%                     73.90%
Northeast              Westchester                       6/27/2020                   91.07%             82.32%                     80.26%
Northeast              Westchester                        7/1/2020                   92.68%             89.36%                     76.43%
Northeast              Westchester                        7/4/2020                   89.91%             87.88%                     75.07%
Northeast              Westchester                       7/11/2020                   83.80%             82.18%                     69.28%
Northeast              Westchester                       7/18/2020                   81.79%             83.91%                     68.70%
Northeast              Westchester                       7/25/2020                   84.87%             82.04%                     64.74%
Northeast              Westchester                        8/1/2020                   84.60%             82.17%                     59.21%
Northeast              Westchester                        8/8/2020                   77.94%             81.94%                     53.34%
Northeast              Westchester                       8/15/2020                   84.42%             88.08%                     64.05%
Northeast              Westchester                       8/22/2020                   86.52%             88.31%                     59.89%
Northeast              Westchester                       8/29/2020                   89.26%             89.10%                     67.68%
Northeast              Westchester                        9/5/2020                   88.65%             89.21%                     62.51%
Northeast              Westchester                       9/12/2020                   82.96%             80.48%                     60.08%
Pacific                Bay‐Valley                         1/4/2020                   93.90%             93.37%                     77.21%
Pacific                Bay‐Valley                        1/11/2020                   93.36%             92.87%                     90.28%
Pacific                Bay‐Valley                        1/18/2020                   95.00%             93.79%                     87.41%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        30
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 31 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area                District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Pacific                Bay‐Valley                        1/25/2020                   93.54%             92.15%                     89.12%
Pacific                Bay‐Valley                         2/1/2020                   91.25%             91.03%                     86.93%
Pacific                Bay‐Valley                         2/8/2020                   91.88%             93.21%                     88.80%
Pacific                Bay‐Valley                        2/15/2020                   94.71%             95.04%                     90.63%
Pacific                Bay‐Valley                        2/22/2020                   94.16%             95.81%                     84.50%
Pacific                Bay‐Valley                        2/29/2020                   93.54%             92.26%                     83.13%
Pacific                Bay‐Valley                         3/7/2020                   93.77%             94.16%                     92.07%
Pacific                Bay‐Valley                        3/14/2020                   93.41%             94.09%                     90.21%
Pacific                Bay‐Valley                        3/21/2020                   94.29%             94.52%                     88.49%
Pacific                Bay‐Valley                        3/28/2020                   94.38%             95.62%                     88.92%
Pacific                Bay‐Valley                         4/1/2020                   94.29%             86.97%                     89.47%
Pacific                Bay‐Valley                         4/4/2020                   94.01%             94.26%                     89.42%
Pacific                Bay‐Valley                        4/11/2020                   91.83%             94.21%                     86.87%
Pacific                Bay‐Valley                        4/18/2020                   93.18%             93.03%                     89.55%
Pacific                Bay‐Valley                        4/25/2020                   93.47%             92.97%                     88.03%
Pacific                Bay‐Valley                         5/2/2020                   91.66%             92.91%                     85.79%
Pacific                Bay‐Valley                         5/9/2020                   91.08%             92.84%                     87.25%
Pacific                Bay‐Valley                        5/16/2020                   91.13%             92.84%                     83.53%
Pacific                Bay‐Valley                        5/23/2020                   93.76%             91.93%                     85.17%
Pacific                Bay‐Valley                        5/30/2020                   91.78%             91.52%                     84.59%
Pacific                Bay‐Valley                         6/6/2020                   92.05%             91.95%                     77.48%
Pacific                Bay‐Valley                        6/13/2020                   92.98%             91.50%                     86.73%
Pacific                Bay‐Valley                        6/20/2020                   92.14%             91.57%                     85.70%
Pacific                Bay‐Valley                        6/27/2020                   93.66%             93.29%                     87.82%
Pacific                Bay‐Valley                         7/1/2020                   91.32%             83.51%                     87.84%
Pacific                Bay‐Valley                         7/4/2020                   92.43%             89.12%                     75.14%
Pacific                Bay‐Valley                        7/11/2020                   88.96%             85.41%                     84.08%
Pacific                Bay‐Valley                        7/18/2020                   87.97%             80.11%                     83.63%
Pacific                Bay‐Valley                        7/25/2020                   89.30%             80.13%                     82.25%
Pacific                Bay‐Valley                         8/1/2020                   86.94%             81.56%                     71.42%
Pacific                Bay‐Valley                         8/8/2020                   85.64%             85.76%                     69.03%
Pacific                Bay‐Valley                        8/15/2020                   88.41%             88.00%                     81.54%
Pacific                Bay‐Valley                        8/22/2020                   90.13%             89.05%                     83.41%
Pacific                Bay‐Valley                        8/29/2020                   91.03%             87.55%                     80.86%
Pacific                Bay‐Valley                         9/5/2020                   92.54%             90.82%                     83.73%
Pacific                Bay‐Valley                        9/12/2020                   89.99%             89.89%                     84.73%
Pacific                Honolulu                           1/4/2020                   93.07%             92.72%                     86.73%
Pacific                Honolulu                          1/11/2020                   90.63%             84.49%                     82.84%
Pacific                Honolulu                          1/18/2020                   92.54%             92.30%                     77.32%
Pacific                Honolulu                          1/25/2020                   87.06%             92.21%                     86.58%
Pacific                Honolulu                           2/1/2020                   87.71%             92.38%                     89.04%
Pacific                Honolulu                           2/8/2020                   91.43%             77.79%                     94.08%
Pacific                Honolulu                          2/15/2020                   92.83%             92.11%                     91.78%
Pacific                Honolulu                          2/22/2020                   92.69%             94.76%                     91.41%
Pacific                Honolulu                          2/29/2020                   91.72%             94.27%                     79.76%
Pacific                Honolulu                           3/7/2020                   89.39%             92.61%                     80.10%
Pacific                Honolulu                          3/14/2020                   89.73%             92.10%                     83.49%
Pacific                Honolulu                          3/21/2020                   91.28%             79.98%                     89.66%
Pacific                Honolulu                          3/28/2020                   90.23%             95.11%                     86.13%
Pacific                Honolulu                           4/1/2020                   89.50%             96.79%                     69.65%
Pacific                Honolulu                           4/4/2020                   90.97%             94.84%                     81.81%
Pacific                Honolulu                          4/11/2020                   89.77%             95.95%                     68.64%
Pacific                Honolulu                          4/18/2020                   87.56%             95.54%                     89.71%
Pacific                Honolulu                          4/25/2020                   88.64%             91.92%                     76.59%
Pacific                Honolulu                           5/2/2020                   90.16%             91.63%                     92.36%
Pacific                Honolulu                           5/9/2020                   86.95%             80.68%                     74.72%
Pacific                Honolulu                          5/16/2020                   88.24%             79.46%                     88.67%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        31
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 32 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area                District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Pacific                Honolulu                          5/23/2020                   87.01%             79.68%                     61.89%
Pacific                Honolulu                          5/30/2020                   83.36%             92.13%                     58.82%
Pacific                Honolulu                           6/6/2020                   81.82%             91.58%                     82.62%
Pacific                Honolulu                          6/13/2020                   79.01%             82.27%                     79.77%
Pacific                Honolulu                          6/20/2020                   68.85%             95.12%                     68.25%
Pacific                Honolulu                          6/27/2020                   75.58%             95.76%                     88.17%
Pacific                Honolulu                           7/1/2020                   71.15%             95.73%                     88.77%
Pacific                Honolulu                           7/4/2020                   83.19%             94.80%                     83.07%
Pacific                Honolulu                          7/11/2020                   80.41%             84.11%                     54.73%
Pacific                Honolulu                          7/18/2020                   70.53%             84.36%                     44.36%
Pacific                Honolulu                          7/25/2020                   57.47%             74.16%                     39.74%
Pacific                Honolulu                           8/1/2020                   55.23%             61.85%                     60.96%
Pacific                Honolulu                           8/8/2020                   63.81%             72.37%                     76.66%
Pacific                Honolulu                          8/15/2020                   84.01%             93.28%                     84.97%
Pacific                Honolulu                          8/22/2020                   88.67%             96.10%                     78.17%
Pacific                Honolulu                          8/29/2020                   88.54%             97.23%                     93.54%
Pacific                Honolulu                           9/5/2020                   90.41%             94.57%                     84.19%
Pacific                Honolulu                          9/12/2020                   87.26%             89.59%                     89.53%
Pacific                Los Angeles                        1/4/2020                   94.09%             92.59%                     84.55%
Pacific                Los Angeles                       1/11/2020                   92.59%             90.44%                     83.85%
Pacific                Los Angeles                       1/18/2020                   92.90%             89.13%                     88.15%
Pacific                Los Angeles                       1/25/2020                   93.37%             89.71%                     86.56%
Pacific                Los Angeles                        2/1/2020                   90.05%             76.98%                     81.80%
Pacific                Los Angeles                        2/8/2020                   91.05%             89.55%                     87.50%
Pacific                Los Angeles                       2/15/2020                   93.66%             91.80%                     87.51%
Pacific                Los Angeles                       2/22/2020                   94.15%             93.70%                     86.62%
Pacific                Los Angeles                       2/29/2020                   93.85%             87.37%                     78.31%
Pacific                Los Angeles                        3/7/2020                   92.76%             88.70%                     78.53%
Pacific                Los Angeles                       3/14/2020                   92.62%             89.91%                     84.01%
Pacific                Los Angeles                       3/21/2020                   92.69%             93.88%                     77.10%
Pacific                Los Angeles                       3/28/2020                   93.95%             94.57%                     84.09%
Pacific                Los Angeles                        4/1/2020                   92.91%             90.95%                     86.86%
Pacific                Los Angeles                        4/4/2020                   93.01%             90.99%                     89.00%
Pacific                Los Angeles                       4/11/2020                   91.74%             89.62%                     82.14%
Pacific                Los Angeles                       4/18/2020                   92.26%             90.74%                     81.41%
Pacific                Los Angeles                       4/25/2020                   87.49%             90.88%                     72.33%
Pacific                Los Angeles                        5/2/2020                   92.10%             91.83%                     75.56%
Pacific                Los Angeles                        5/9/2020                   91.29%             91.44%                     60.81%
Pacific                Los Angeles                       5/16/2020                   92.33%             92.08%                     72.34%
Pacific                Los Angeles                       5/23/2020                   91.52%             91.59%                     71.93%
Pacific                Los Angeles                       5/30/2020                   88.98%             85.57%                     52.95%
Pacific                Los Angeles                        6/6/2020                   88.32%             87.32%                     65.16%
Pacific                Los Angeles                       6/13/2020                   90.77%             86.95%                     67.54%
Pacific                Los Angeles                       6/20/2020                   87.71%             86.37%                     67.08%
Pacific                Los Angeles                       6/27/2020                   87.86%             83.60%                     69.35%
Pacific                Los Angeles                        7/1/2020                   89.32%             85.52%                     74.05%
Pacific                Los Angeles                        7/4/2020                   88.88%             82.65%                     66.61%
Pacific                Los Angeles                       7/11/2020                   82.68%             75.74%                     56.56%
Pacific                Los Angeles                       7/18/2020                   77.93%             74.79%                     46.45%
Pacific                Los Angeles                       7/25/2020                   77.29%             74.37%                     48.90%
Pacific                Los Angeles                        8/1/2020                   73.51%             72.38%                     36.82%
Pacific                Los Angeles                        8/8/2020                   78.03%             77.82%                     53.56%
Pacific                Los Angeles                       8/15/2020                   83.39%             84.37%                     51.97%
Pacific                Los Angeles                       8/22/2020                   86.23%             87.04%                     55.65%
Pacific                Los Angeles                       8/29/2020                   88.66%             87.06%                     65.00%
Pacific                Los Angeles                        9/5/2020                   89.17%             90.87%                     78.82%
Pacific                Los Angeles                       9/12/2020                   91.52%             90.34%                     80.36%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        32
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 33 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area                District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Pacific                Sacramento                         1/4/2020                   93.62%             93.13%                     87.90%
Pacific                Sacramento                        1/11/2020                   91.42%             92.65%                     85.09%
Pacific                Sacramento                        1/18/2020                   93.72%             91.91%                     91.15%
Pacific                Sacramento                        1/25/2020                   91.54%             93.23%                     88.72%
Pacific                Sacramento                         2/1/2020                   91.03%             92.40%                     91.44%
Pacific                Sacramento                         2/8/2020                   91.41%             92.67%                     91.27%
Pacific                Sacramento                        2/15/2020                   94.23%             93.65%                     90.51%
Pacific                Sacramento                        2/22/2020                   94.00%             95.82%                     88.51%
Pacific                Sacramento                        2/29/2020                   94.17%             94.92%                     88.57%
Pacific                Sacramento                         3/7/2020                   93.75%             93.48%                     88.43%
Pacific                Sacramento                        3/14/2020                   92.72%             92.49%                     88.46%
Pacific                Sacramento                        3/21/2020                   93.32%             94.65%                     88.01%
Pacific                Sacramento                        3/28/2020                   93.38%             93.99%                     85.50%
Pacific                Sacramento                         4/1/2020                   93.56%             86.14%                     91.73%
Pacific                Sacramento                         4/4/2020                   91.60%             93.05%                     87.05%
Pacific                Sacramento                        4/11/2020                   90.57%             93.45%                     74.89%
Pacific                Sacramento                        4/18/2020                   91.93%             93.12%                     81.49%
Pacific                Sacramento                        4/25/2020                   91.15%             89.23%                     80.96%
Pacific                Sacramento                         5/2/2020                   89.50%             91.71%                     75.85%
Pacific                Sacramento                         5/9/2020                   86.56%             90.06%                     62.22%
Pacific                Sacramento                        5/16/2020                   88.04%             89.43%                     72.06%
Pacific                Sacramento                        5/23/2020                   92.08%             88.97%                     73.05%
Pacific                Sacramento                        5/30/2020                   90.02%             89.61%                     77.27%
Pacific                Sacramento                         6/6/2020                   91.01%             90.88%                     73.57%
Pacific                Sacramento                        6/13/2020                   92.05%             91.04%                     82.94%
Pacific                Sacramento                        6/20/2020                   89.45%             87.93%                     73.70%
Pacific                Sacramento                        6/27/2020                   92.15%             87.23%                     65.73%
Pacific                Sacramento                         7/1/2020                   91.59%             84.81%                     78.89%
Pacific                Sacramento                         7/4/2020                   91.22%             83.92%                     67.20%
Pacific                Sacramento                        7/11/2020                   85.19%             81.01%                     49.06%
Pacific                Sacramento                        7/18/2020                   80.48%             68.41%                     63.88%
Pacific                Sacramento                        7/25/2020                   85.65%             82.26%                     58.98%
Pacific                Sacramento                         8/1/2020                   80.86%             77.50%                     50.19%
Pacific                Sacramento                         8/8/2020                   81.19%             82.76%                     48.97%
Pacific                Sacramento                        8/15/2020                   86.70%             87.08%                     66.65%
Pacific                Sacramento                        8/22/2020                   88.15%             91.78%                     75.12%
Pacific                Sacramento                        8/29/2020                   90.08%             91.65%                     80.42%
Pacific                Sacramento                         9/5/2020                   90.49%             91.07%                     83.66%
Pacific                Sacramento                        9/12/2020                   89.26%             90.43%                     72.98%
Pacific                San Diego                          1/4/2020                   93.25%             94.24%                     82.44%
Pacific                San Diego                         1/11/2020                   92.52%             93.18%                     77.70%
Pacific                San Diego                         1/18/2020                   94.64%             93.96%                     91.94%
Pacific                San Diego                         1/25/2020                   92.02%             93.32%                     90.09%
Pacific                San Diego                          2/1/2020                   90.91%             91.52%                     83.93%
Pacific                San Diego                          2/8/2020                   92.25%             92.27%                     82.65%
Pacific                San Diego                         2/15/2020                   94.76%             92.91%                     92.84%
Pacific                San Diego                         2/22/2020                   93.04%             94.97%                     85.55%
Pacific                San Diego                         2/29/2020                   91.78%             93.41%                     82.33%
Pacific                San Diego                          3/7/2020                   92.55%             94.42%                     86.37%
Pacific                San Diego                         3/14/2020                   90.87%             94.00%                     87.29%
Pacific                San Diego                         3/21/2020                   93.97%             94.23%                     89.24%
Pacific                San Diego                         3/28/2020                   93.42%             95.45%                     83.80%
Pacific                San Diego                          4/1/2020                   94.11%             90.63%                     83.49%
Pacific                San Diego                          4/4/2020                   92.59%             95.11%                     86.64%
Pacific                San Diego                         4/11/2020                   90.91%             93.90%                     84.40%
Pacific                San Diego                         4/18/2020                   92.43%             90.27%                     84.76%
Pacific                San Diego                         4/25/2020                   86.96%             92.76%                     83.45%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        33
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 34 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area                District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Pacific                San Diego                          5/2/2020                   91.07%             92.36%                     81.23%
Pacific                San Diego                          5/9/2020                   89.58%             91.84%                     77.56%
Pacific                San Diego                         5/16/2020                   91.32%             92.81%                     80.04%
Pacific                San Diego                         5/23/2020                   92.39%             92.36%                     76.90%
Pacific                San Diego                         5/30/2020                   89.99%             93.32%                     81.87%
Pacific                San Diego                          6/6/2020                   90.60%             92.39%                     79.96%
Pacific                San Diego                         6/13/2020                   91.57%             91.63%                     83.90%
Pacific                San Diego                         6/20/2020                   90.64%             91.91%                     81.98%
Pacific                San Diego                         6/27/2020                   90.13%             92.65%                     82.38%
Pacific                San Diego                          7/1/2020                   93.13%             88.61%                     85.29%
Pacific                San Diego                          7/4/2020                   93.15%             90.76%                     81.03%
Pacific                San Diego                         7/11/2020                   87.83%             89.55%                     69.80%
Pacific                San Diego                         7/18/2020                   84.24%             90.52%                     83.15%
Pacific                San Diego                         7/25/2020                   86.45%             88.67%                     72.57%
Pacific                San Diego                          8/1/2020                   81.65%             89.06%                     73.16%
Pacific                San Diego                          8/8/2020                   81.49%             86.86%                     67.20%
Pacific                San Diego                         8/15/2020                   85.37%             90.83%                     67.40%
Pacific                San Diego                         8/22/2020                   88.36%             92.19%                     79.43%
Pacific                San Diego                         8/29/2020                   89.43%             90.72%                     79.42%
Pacific                San Diego                          9/5/2020                   93.12%             91.78%                     84.37%
Pacific                San Diego                         9/12/2020                   92.07%             92.53%                     82.23%
Pacific                San Francisco                      1/4/2020                   93.33%             91.61%                     87.61%
Pacific                San Francisco                     1/11/2020                   92.76%             92.17%                     90.17%
Pacific                San Francisco                     1/18/2020                   93.44%             93.20%                     90.84%
Pacific                San Francisco                     1/25/2020                   92.95%             92.33%                     92.73%
Pacific                San Francisco                      2/1/2020                   91.71%             90.46%                     89.28%
Pacific                San Francisco                      2/8/2020                   92.52%             94.10%                     90.52%
Pacific                San Francisco                     2/15/2020                   94.57%             94.41%                     90.36%
Pacific                San Francisco                     2/22/2020                   94.55%             94.72%                     89.58%
Pacific                San Francisco                     2/29/2020                   94.65%             93.54%                     86.53%
Pacific                San Francisco                      3/7/2020                   94.18%             94.49%                     90.94%
Pacific                San Francisco                     3/14/2020                   93.36%             93.71%                     91.56%
Pacific                San Francisco                     3/21/2020                   93.19%             94.15%                     91.28%
Pacific                San Francisco                     3/28/2020                   92.93%             95.44%                     87.37%
Pacific                San Francisco                      4/1/2020                   93.78%             87.92%                     90.62%
Pacific                San Francisco                      4/4/2020                   93.34%             93.84%                     92.87%
Pacific                San Francisco                     4/11/2020                   92.84%             94.52%                     89.53%
Pacific                San Francisco                     4/18/2020                   93.49%             93.27%                     90.48%
Pacific                San Francisco                     4/25/2020                   93.97%             92.89%                     87.67%
Pacific                San Francisco                      5/2/2020                   92.87%             93.47%                     91.09%
Pacific                San Francisco                      5/9/2020                   92.85%             92.17%                     83.94%
Pacific                San Francisco                     5/16/2020                   91.96%             93.44%                     88.98%
Pacific                San Francisco                     5/23/2020                   94.17%             91.32%                     84.18%
Pacific                San Francisco                     5/30/2020                   93.18%             91.13%                     88.58%
Pacific                San Francisco                      6/6/2020                   94.00%             91.99%                     89.23%
Pacific                San Francisco                     6/13/2020                   93.13%             91.80%                     88.26%
Pacific                San Francisco                     6/20/2020                   92.63%             93.49%                     89.61%
Pacific                San Francisco                     6/27/2020                   93.68%             95.18%                     88.10%
Pacific                San Francisco                      7/1/2020                   94.46%             83.27%                     88.10%
Pacific                San Francisco                      7/4/2020                   93.80%             90.09%                     88.24%
Pacific                San Francisco                     7/11/2020                   91.70%             89.14%                     89.87%
Pacific                San Francisco                     7/18/2020                   90.31%             86.48%                     82.72%
Pacific                San Francisco                     7/25/2020                   90.41%             87.37%                     72.21%
Pacific                San Francisco                      8/1/2020                   87.88%             86.84%                     69.82%
Pacific                San Francisco                      8/8/2020                   87.96%             87.64%                     73.76%
Pacific                San Francisco                     8/15/2020                   89.80%             89.96%                     83.55%
Pacific                San Francisco                     8/22/2020                   92.60%             89.69%                     86.03%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        34
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 35 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area                 District                Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Pacific                San Francisco                     8/29/2020                   92.79%             90.43%                     84.52%
Pacific                San Francisco                      9/5/2020                   93.11%             90.59%                     88.49%
Pacific                San Francisco                     9/12/2020                   92.34%             87.58%                     87.36%
Pacific                Santa Ana                          1/4/2020                   93.70%             92.86%                     82.94%
Pacific                Santa Ana                         1/11/2020                   93.69%             90.83%                     87.39%
Pacific                Santa Ana                         1/18/2020                   94.32%             92.47%                     92.27%
Pacific                Santa Ana                         1/25/2020                   91.48%             86.48%                     88.47%
Pacific                Santa Ana                          2/1/2020                   88.98%             84.99%                     87.16%
Pacific                Santa Ana                          2/8/2020                   89.87%             89.76%                     84.90%
Pacific                Santa Ana                         2/15/2020                   94.43%             93.12%                     90.63%
Pacific                Santa Ana                         2/22/2020                   92.70%             94.63%                     90.44%
Pacific                Santa Ana                         2/29/2020                   93.66%             93.81%                     83.59%
Pacific                Santa Ana                          3/7/2020                   94.09%             94.84%                     85.11%
Pacific                Santa Ana                         3/14/2020                   92.61%             94.75%                     88.02%
Pacific                Santa Ana                         3/21/2020                   94.44%             94.86%                     86.95%
Pacific                Santa Ana                         3/28/2020                   93.38%             95.63%                     85.71%
Pacific                Santa Ana                          4/1/2020                   94.86%             91.86%                     83.69%
Pacific                Santa Ana                          4/4/2020                   93.72%             95.28%                     85.61%
Pacific                Santa Ana                         4/11/2020                   93.52%             95.09%                     81.44%
Pacific                Santa Ana                         4/18/2020                   93.31%             90.36%                     85.17%
Pacific                Santa Ana                         4/25/2020                   91.16%             92.87%                     81.75%
Pacific                Santa Ana                          5/2/2020                   93.02%             94.36%                     79.22%
Pacific                Santa Ana                          5/9/2020                   91.51%             94.22%                     76.33%
Pacific                Santa Ana                         5/16/2020                   93.43%             95.72%                     77.63%
Pacific                Santa Ana                         5/23/2020                   91.15%             93.75%                     80.88%
Pacific                Santa Ana                         5/30/2020                   90.83%             93.40%                     76.33%
Pacific                Santa Ana                          6/6/2020                   92.07%             93.42%                     82.91%
Pacific                Santa Ana                         6/13/2020                   93.21%             92.92%                     79.90%
Pacific                Santa Ana                         6/20/2020                   92.66%             92.23%                     86.24%
Pacific                Santa Ana                         6/27/2020                   89.92%             93.19%                     81.16%
Pacific                Santa Ana                          7/1/2020                   92.23%             90.55%                     76.01%
Pacific                Santa Ana                          7/4/2020                   90.93%             89.39%                     73.93%
Pacific                Santa Ana                         7/11/2020                   86.26%             88.35%                     73.54%
Pacific                Santa Ana                         7/18/2020                   81.35%             85.05%                     81.55%
Pacific                Santa Ana                         7/25/2020                   84.05%             89.71%                     71.37%
Pacific                Santa Ana                          8/1/2020                   81.67%             90.56%                     71.21%
Pacific                Santa Ana                          8/8/2020                   80.95%             90.23%                     75.26%
Pacific                Santa Ana                         8/15/2020                   85.13%             92.03%                     74.78%
Pacific                Santa Ana                         8/22/2020                   88.96%             92.71%                     76.28%
Pacific                Santa Ana                         8/29/2020                   89.83%             93.86%                     81.46%
Pacific                Santa Ana                          9/5/2020                   91.16%             92.60%                     75.20%
Pacific                Santa Ana                         9/12/2020                   91.40%             93.20%                     80.99%
Pacific                Sierra Coastal                     1/4/2020                   93.28%             94.49%                     78.92%
Pacific                Sierra Coastal                    1/11/2020                   93.38%             94.77%                     85.21%
Pacific                Sierra Coastal                    1/18/2020                   94.22%             93.43%                     92.18%
Pacific                Sierra Coastal                    1/25/2020                   92.52%             95.08%                     89.65%
Pacific                Sierra Coastal                     2/1/2020                   92.37%             94.17%                     88.18%
Pacific                Sierra Coastal                     2/8/2020                   92.98%             94.90%                     86.90%
Pacific                Sierra Coastal                    2/15/2020                   94.86%             94.95%                     91.62%
Pacific                Sierra Coastal                    2/22/2020                   94.20%             95.78%                     92.61%
Pacific                Sierra Coastal                    2/29/2020                   94.26%             95.05%                     86.10%
Pacific                Sierra Coastal                     3/7/2020                   94.66%             95.15%                     87.02%
Pacific                Sierra Coastal                    3/14/2020                   94.03%             95.28%                     87.58%
Pacific                Sierra Coastal                    3/21/2020                   94.52%             95.28%                     89.11%
Pacific                Sierra Coastal                    3/28/2020                   94.17%             95.09%                     87.61%
Pacific                Sierra Coastal                     4/1/2020                   94.39%             92.45%                     86.12%
Pacific                Sierra Coastal                     4/4/2020                   93.64%             95.32%                     85.40%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        35
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 36 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

        Area                   District                Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Pacific                Sierra Coastal                    4/11/2020                   93.01%             95.15%                     83.11%
Pacific                Sierra Coastal                    4/18/2020                   93.51%             91.53%                     84.66%
Pacific                Sierra Coastal                    4/25/2020                   90.36%             93.20%                     78.17%
Pacific                Sierra Coastal                     5/2/2020                   93.03%             94.10%                     84.85%
Pacific                Sierra Coastal                     5/9/2020                   91.67%             93.52%                     73.90%
Pacific                Sierra Coastal                    5/16/2020                   92.94%             94.36%                     81.19%
Pacific                Sierra Coastal                    5/23/2020                   92.93%             93.32%                     81.54%
Pacific                Sierra Coastal                    5/30/2020                   91.09%             92.81%                     78.72%
Pacific                Sierra Coastal                     6/6/2020                   90.55%             92.90%                     68.95%
Pacific                Sierra Coastal                    6/13/2020                   92.51%             93.06%                     87.61%
Pacific                Sierra Coastal                    6/20/2020                   90.36%             92.81%                     82.49%
Pacific                Sierra Coastal                    6/27/2020                   92.28%             94.54%                     79.93%
Pacific                Sierra Coastal                     7/1/2020                   93.38%             91.71%                     82.33%
Pacific                Sierra Coastal                     7/4/2020                   91.96%             91.19%                     75.45%
Pacific                Sierra Coastal                    7/11/2020                   87.50%             90.71%                     74.67%
Pacific                Sierra Coastal                    7/18/2020                   86.83%             90.75%                     76.05%
Pacific                Sierra Coastal                    7/25/2020                   85.94%             92.02%                     70.45%
Pacific                Sierra Coastal                     8/1/2020                   84.16%             91.15%                     77.31%
Pacific                Sierra Coastal                     8/8/2020                   83.32%             89.96%                     78.27%
Pacific                Sierra Coastal                    8/15/2020                   89.36%             93.13%                     81.32%
Pacific                Sierra Coastal                    8/22/2020                   90.24%             93.00%                     77.07%
Pacific                Sierra Coastal                    8/29/2020                   91.87%             92.09%                     83.72%
Pacific                Sierra Coastal                     9/5/2020                   91.92%             90.62%                     70.95%
Pacific                Sierra Coastal                    9/12/2020                   91.19%             94.06%                     79.59%
Southern               Alabama                            1/4/2020                   93.75%             93.69%                     84.57%
Southern               Alabama                           1/11/2020                   93.38%             91.55%                     86.76%
Southern               Alabama                           1/18/2020                   94.51%             92.36%                     88.71%
Southern               Alabama                           1/25/2020                   93.62%             93.22%                     89.00%
Southern               Alabama                            2/1/2020                   92.53%             93.33%                     86.17%
Southern               Alabama                            2/8/2020                   93.17%             94.79%                     88.67%
Southern               Alabama                           2/15/2020                   94.89%             94.89%                     89.58%
Southern               Alabama                           2/22/2020                   93.29%             94.70%                     87.22%
Southern               Alabama                           2/29/2020                   93.63%             93.57%                     89.60%
Southern               Alabama                            3/7/2020                   93.60%             94.38%                     88.10%
Southern               Alabama                           3/14/2020                   93.32%             94.19%                     88.98%
Southern               Alabama                           3/21/2020                   94.72%             93.86%                     80.66%
Southern               Alabama                           3/28/2020                   94.16%             94.27%                     82.73%
Southern               Alabama                            4/1/2020                   94.12%             93.69%                     87.68%
Southern               Alabama                            4/4/2020                   93.73%             93.93%                     88.96%
Southern               Alabama                           4/11/2020                   91.43%             92.54%                     76.13%
Southern               Alabama                           4/18/2020                   93.46%             93.44%                     84.55%
Southern               Alabama                           4/25/2020                   93.01%             92.54%                     81.66%
Southern               Alabama                            5/2/2020                   92.22%             91.39%                     79.59%
Southern               Alabama                            5/9/2020                   91.93%             84.63%                     65.69%
Southern               Alabama                           5/16/2020                   92.88%             86.15%                     76.73%
Southern               Alabama                           5/23/2020                   93.38%             89.63%                     71.94%
Southern               Alabama                           5/30/2020                   92.45%             89.43%                     73.48%
Southern               Alabama                            6/6/2020                   91.60%             87.84%                     71.85%
Southern               Alabama                           6/13/2020                   92.00%             84.46%                     67.63%
Southern               Alabama                           6/20/2020                   91.45%             83.79%                     72.57%
Southern               Alabama                           6/27/2020                   90.63%             87.18%                     81.73%
Southern               Alabama                            7/1/2020                   92.38%             92.23%                     75.82%
Southern               Alabama                            7/4/2020                   91.04%             87.89%                     82.05%
Southern               Alabama                           7/11/2020                   88.21%             86.64%                     68.64%
Southern               Alabama                           7/18/2020                   87.64%             89.16%                     76.37%
Southern               Alabama                           7/25/2020                   87.53%             89.43%                     76.08%
Southern               Alabama                            8/1/2020                   86.30%             86.57%                     71.17%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        36
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 37 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

        Area                  District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Southern               Alabama                            8/8/2020                   84.59%             87.02%                     65.25%
Southern               Alabama                           8/15/2020                   88.60%             89.90%                     74.73%
Southern               Alabama                           8/22/2020                   89.06%             92.54%                     73.39%
Southern               Alabama                           8/29/2020                   86.46%             90.38%                     82.04%
Southern               Alabama                            9/5/2020                   83.93%             88.56%                     81.85%
Southern               Alabama                           9/12/2020                   82.33%             77.23%                     73.08%
Southern               Arkansas                           1/4/2020                   91.55%             89.90%                     87.59%
Southern               Arkansas                          1/11/2020                   92.74%             89.59%                     87.04%
Southern               Arkansas                          1/18/2020                   94.56%             90.61%                     90.27%
Southern               Arkansas                          1/25/2020                   92.24%             93.07%                     92.97%
Southern               Arkansas                           2/1/2020                   93.01%             92.40%                     87.56%
Southern               Arkansas                           2/8/2020                   93.07%             95.32%                     89.30%
Southern               Arkansas                          2/15/2020                   94.50%             94.07%                     89.58%
Southern               Arkansas                          2/22/2020                   92.22%             92.05%                     89.54%
Southern               Arkansas                          2/29/2020                   93.54%             95.07%                     87.01%
Southern               Arkansas                           3/7/2020                   93.10%             93.96%                     89.16%
Southern               Arkansas                          3/14/2020                   92.96%             93.41%                     86.17%
Southern               Arkansas                          3/21/2020                   94.32%             94.56%                     88.80%
Southern               Arkansas                          3/28/2020                   94.80%             95.20%                     78.26%
Southern               Arkansas                           4/1/2020                   93.72%             94.05%                     82.08%
Southern               Arkansas                           4/4/2020                   94.09%             95.62%                     88.79%
Southern               Arkansas                          4/11/2020                   93.12%             92.59%                     65.36%
Southern               Arkansas                          4/18/2020                   94.59%             95.45%                     86.69%
Southern               Arkansas                          4/25/2020                   93.60%             94.51%                     88.32%
Southern               Arkansas                           5/2/2020                   93.89%             93.68%                     84.01%
Southern               Arkansas                           5/9/2020                   92.97%             91.49%                     76.24%
Southern               Arkansas                          5/16/2020                   93.73%             89.72%                     86.17%
Southern               Arkansas                          5/23/2020                   93.35%             84.60%                     85.80%
Southern               Arkansas                          5/30/2020                   92.83%             86.92%                     77.15%
Southern               Arkansas                           6/6/2020                   92.56%             89.28%                     75.57%
Southern               Arkansas                          6/13/2020                   94.02%             92.12%                     80.36%
Southern               Arkansas                          6/20/2020                   92.43%             91.13%                     85.79%
Southern               Arkansas                          6/27/2020                   92.87%             93.78%                     84.29%
Southern               Arkansas                           7/1/2020                   92.70%             91.67%                     81.16%
Southern               Arkansas                           7/4/2020                   92.70%             86.56%                     79.11%
Southern               Arkansas                          7/11/2020                   88.97%             86.19%                     74.91%
Southern               Arkansas                          7/18/2020                   88.35%             85.90%                     75.58%
Southern               Arkansas                          7/25/2020                   88.27%             85.71%                     72.34%
Southern               Arkansas                           8/1/2020                   88.02%             86.15%                     67.47%
Southern               Arkansas                           8/8/2020                   87.38%             87.37%                     67.41%
Southern               Arkansas                          8/15/2020                   88.08%             87.05%                     73.27%
Southern               Arkansas                          8/22/2020                   91.11%             86.80%                     79.33%
Southern               Arkansas                          8/29/2020                   90.53%             89.11%                     79.91%
Southern               Arkansas                           9/5/2020                   92.01%             84.13%                     68.86%
Southern               Arkansas                          9/12/2020                   88.64%             87.35%                     79.12%
Southern               Dallas                             1/4/2020                   91.80%             89.63%                     80.93%
Southern               Dallas                            1/11/2020                   88.60%             80.52%                     75.81%
Southern               Dallas                            1/18/2020                   92.90%             84.18%                     73.88%
Southern               Dallas                            1/25/2020                   91.13%             87.50%                     87.23%
Southern               Dallas                             2/1/2020                   91.06%             86.77%                     82.54%
Southern               Dallas                             2/8/2020                   92.35%             90.02%                     84.40%
Southern               Dallas                            2/15/2020                   94.38%             91.37%                     85.41%
Southern               Dallas                            2/22/2020                   92.89%             92.08%                     86.19%
Southern               Dallas                            2/29/2020                   92.71%             89.90%                     82.76%
Southern               Dallas                             3/7/2020                   92.34%             91.46%                     84.51%
Southern               Dallas                            3/14/2020                   92.40%             89.80%                     82.97%
Southern               Dallas                            3/21/2020                   93.76%             91.99%                     84.92%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        37
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 38 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

        Area                  District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Southern               Dallas                            3/28/2020                   92.77%             93.87%                     79.93%
Southern               Dallas                             4/1/2020                   90.88%             86.37%                     87.17%
Southern               Dallas                             4/4/2020                   90.00%             90.63%                     72.75%
Southern               Dallas                            4/11/2020                   88.97%             92.32%                     76.81%
Southern               Dallas                            4/18/2020                   91.06%             94.36%                     89.63%
Southern               Dallas                            4/25/2020                   91.36%             92.20%                     90.89%
Southern               Dallas                             5/2/2020                   90.29%             91.64%                     83.95%
Southern               Dallas                             5/9/2020                   90.76%             90.57%                     56.56%
Southern               Dallas                            5/16/2020                   92.10%             92.92%                     83.32%
Southern               Dallas                            5/23/2020                   93.24%             90.60%                     81.61%
Southern               Dallas                            5/30/2020                   91.27%             92.85%                     81.91%
Southern               Dallas                             6/6/2020                   90.32%             91.76%                     81.31%
Southern               Dallas                            6/13/2020                   91.86%             92.72%                     82.65%
Southern               Dallas                            6/20/2020                   90.56%             92.41%                     78.23%
Southern               Dallas                            6/27/2020                   91.04%             94.91%                     79.53%
Southern               Dallas                             7/1/2020                   92.35%             88.97%                     83.92%
Southern               Dallas                             7/4/2020                   89.25%             87.40%                     73.83%
Southern               Dallas                            7/11/2020                   84.17%             69.00%                     66.23%
Southern               Dallas                            7/18/2020                   78.86%             64.08%                     55.72%
Southern               Dallas                            7/25/2020                   82.80%             83.44%                     57.69%
Southern               Dallas                             8/1/2020                   84.51%             84.69%                     62.74%
Southern               Dallas                             8/8/2020                   80.59%             85.33%                     52.44%
Southern               Dallas                            8/15/2020                   85.63%             86.65%                     58.72%
Southern               Dallas                            8/22/2020                   89.11%             92.15%                     67.86%
Southern               Dallas                            8/29/2020                   88.07%             92.21%                     83.01%
Southern               Dallas                             9/5/2020                   91.51%             90.49%                     80.27%
Southern               Dallas                            9/12/2020                   86.97%             86.26%                     69.59%
Southern               Ft Worth                           1/4/2020                   91.70%             93.16%                     85.46%
Southern               Ft Worth                          1/11/2020                   92.02%             91.74%                     88.31%
Southern               Ft Worth                          1/18/2020                   93.46%             89.11%                     79.39%
Southern               Ft Worth                          1/25/2020                   90.94%             92.26%                     89.70%
Southern               Ft Worth                           2/1/2020                   88.78%             90.13%                     81.37%
Southern               Ft Worth                           2/8/2020                   91.51%             92.21%                     87.42%
Southern               Ft Worth                          2/15/2020                   94.10%             91.94%                     84.52%
Southern               Ft Worth                          2/22/2020                   92.46%             91.69%                     79.75%
Southern               Ft Worth                          2/29/2020                   92.97%             93.61%                     82.20%
Southern               Ft Worth                           3/7/2020                   92.36%             91.64%                     75.62%
Southern               Ft Worth                          3/14/2020                   90.47%             86.51%                     80.77%
Southern               Ft Worth                          3/21/2020                   93.25%             93.15%                     85.54%
Southern               Ft Worth                          3/28/2020                   92.02%             94.45%                     89.48%
Southern               Ft Worth                           4/1/2020                   93.42%             89.98%                     79.26%
Southern               Ft Worth                           4/4/2020                   92.19%             95.93%                     87.42%
Southern               Ft Worth                          4/11/2020                   91.27%             93.73%                     83.87%
Southern               Ft Worth                          4/18/2020                   92.83%             95.76%                     84.42%
Southern               Ft Worth                          4/25/2020                   92.24%             89.29%                     82.38%
Southern               Ft Worth                           5/2/2020                   90.05%             86.08%                     62.41%
Southern               Ft Worth                           5/9/2020                   89.74%             85.79%                     62.08%
Southern               Ft Worth                          5/16/2020                   90.70%             83.03%                     61.40%
Southern               Ft Worth                          5/23/2020                   92.71%             88.79%                     70.03%
Southern               Ft Worth                          5/30/2020                   91.21%             94.75%                     82.97%
Southern               Ft Worth                           6/6/2020                   89.29%             92.35%                     82.61%
Southern               Ft Worth                          6/13/2020                   90.19%             91.59%                     78.94%
Southern               Ft Worth                          6/20/2020                   89.92%             90.99%                     78.85%
Southern               Ft Worth                          6/27/2020                   88.94%             91.68%                     71.56%
Southern               Ft Worth                           7/1/2020                   91.63%             91.47%                     76.97%
Southern               Ft Worth                           7/4/2020                   89.71%             89.18%                     71.24%
Southern               Ft Worth                          7/11/2020                   84.01%             81.22%                     66.65%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        38
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 39 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

        Area                   District                Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Southern               Ft Worth                          7/18/2020                   80.50%             73.87%                     58.57%
Southern               Ft Worth                          7/25/2020                   82.53%             80.50%                     69.62%
Southern               Ft Worth                           8/1/2020                   81.48%             83.04%                     72.51%
Southern               Ft Worth                           8/8/2020                   84.09%             82.33%                     61.84%
Southern               Ft Worth                          8/15/2020                   86.04%             84.53%                     58.56%
Southern               Ft Worth                          8/22/2020                   88.49%             87.40%                     73.43%
Southern               Ft Worth                          8/29/2020                   87.79%             88.57%                     78.75%
Southern               Ft Worth                           9/5/2020                   89.06%             87.26%                     82.03%
Southern               Ft Worth                          9/12/2020                   85.54%             87.25%                     85.55%
Southern               Gulf Atlantic                      1/4/2020                   92.29%             92.87%                     87.45%
Southern               Gulf Atlantic                     1/11/2020                   91.84%             90.51%                     87.60%
Southern               Gulf Atlantic                     1/18/2020                   94.00%             88.89%                     90.35%
Southern               Gulf Atlantic                     1/25/2020                   91.66%             88.33%                     86.35%
Southern               Gulf Atlantic                      2/1/2020                   92.47%             91.38%                     85.68%
Southern               Gulf Atlantic                      2/8/2020                   93.11%             90.65%                     84.77%
Southern               Gulf Atlantic                     2/15/2020                   93.92%             89.41%                     90.74%
Southern               Gulf Atlantic                     2/22/2020                   92.23%             93.08%                     89.50%
Southern               Gulf Atlantic                     2/29/2020                   93.88%             91.54%                     84.11%
Southern               Gulf Atlantic                      3/7/2020                   92.23%             90.86%                     87.92%
Southern               Gulf Atlantic                     3/14/2020                   91.97%             88.02%                     83.22%
Southern               Gulf Atlantic                     3/21/2020                   93.71%             93.31%                     90.18%
Southern               Gulf Atlantic                     3/28/2020                   93.96%             95.83%                     88.01%
Southern               Gulf Atlantic                      4/1/2020                   94.63%             92.56%                     89.21%
Southern               Gulf Atlantic                      4/4/2020                   92.24%             95.10%                     88.67%
Southern               Gulf Atlantic                     4/11/2020                   92.69%             94.38%                     80.85%
Southern               Gulf Atlantic                     4/18/2020                   93.70%             92.24%                     85.27%
Southern               Gulf Atlantic                     4/25/2020                   92.14%             92.56%                     81.49%
Southern               Gulf Atlantic                      5/2/2020                   92.86%             93.63%                     76.68%
Southern               Gulf Atlantic                      5/9/2020                   92.12%             92.07%                     77.30%
Southern               Gulf Atlantic                     5/16/2020                   93.08%             93.36%                     85.07%
Southern               Gulf Atlantic                     5/23/2020                   93.64%             91.32%                     84.21%
Southern               Gulf Atlantic                     5/30/2020                   91.71%             91.52%                     78.98%
Southern               Gulf Atlantic                      6/6/2020                   91.89%             90.85%                     83.14%
Southern               Gulf Atlantic                     6/13/2020                   92.80%             90.94%                     72.93%
Southern               Gulf Atlantic                     6/20/2020                   91.54%             92.28%                     86.49%
Southern               Gulf Atlantic                     6/27/2020                   91.48%             93.93%                     83.10%
Southern               Gulf Atlantic                      7/1/2020                   93.72%             91.42%                     83.06%
Southern               Gulf Atlantic                      7/4/2020                   92.00%             90.01%                     83.03%
Southern               Gulf Atlantic                     7/11/2020                   86.72%             83.12%                     80.75%
Southern               Gulf Atlantic                     7/18/2020                   83.76%             80.64%                     70.55%
Southern               Gulf Atlantic                     7/25/2020                   88.26%             86.90%                     67.29%
Southern               Gulf Atlantic                      8/1/2020                   86.26%             81.72%                     61.06%
Southern               Gulf Atlantic                      8/8/2020                   85.15%             87.27%                     71.49%
Southern               Gulf Atlantic                     8/15/2020                   88.83%             89.12%                     76.32%
Southern               Gulf Atlantic                     8/22/2020                   88.89%             90.23%                     73.64%
Southern               Gulf Atlantic                     8/29/2020                   89.51%             90.02%                     80.57%
Southern               Gulf Atlantic                      9/5/2020                   89.11%             88.26%                     82.17%
Southern               Gulf Atlantic                     9/12/2020                   87.14%             88.43%                     77.92%
Southern               Houston                            1/4/2020                   91.35%             89.75%                     87.43%
Southern               Houston                           1/11/2020                   88.08%             83.91%                     83.10%
Southern               Houston                           1/18/2020                   91.91%             87.72%                     84.32%
Southern               Houston                           1/25/2020                   89.89%             90.04%                     89.37%
Southern               Houston                            2/1/2020                   87.92%             88.21%                     86.36%
Southern               Houston                            2/8/2020                   89.27%             91.75%                     87.50%
Southern               Houston                           2/15/2020                   91.76%             92.40%                     86.10%
Southern               Houston                           2/22/2020                   90.66%             93.32%                     86.15%
Southern               Houston                           2/29/2020                   92.12%             92.51%                     86.23%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        39
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 40 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

        Area                  District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Southern               Houston                            3/7/2020                   90.47%             92.03%                     87.02%
Southern               Houston                           3/14/2020                   86.45%             88.57%                     86.36%
Southern               Houston                           3/21/2020                   90.93%             93.37%                     88.29%
Southern               Houston                           3/28/2020                   91.73%             95.64%                     91.87%
Southern               Houston                            4/1/2020                   93.78%             94.37%                     81.34%
Southern               Houston                            4/4/2020                   92.27%             95.36%                     86.81%
Southern               Houston                           4/11/2020                   88.96%             95.05%                     84.69%
Southern               Houston                           4/18/2020                   91.17%             95.17%                     86.59%
Southern               Houston                           4/25/2020                   91.09%             93.15%                     77.29%
Southern               Houston                            5/2/2020                   90.37%             90.69%                     73.94%
Southern               Houston                            5/9/2020                   87.69%             88.46%                     62.20%
Southern               Houston                           5/16/2020                   89.91%             93.30%                     78.23%
Southern               Houston                           5/23/2020                   91.81%             91.80%                     83.26%
Southern               Houston                           5/30/2020                   90.26%             94.29%                     87.47%
Southern               Houston                            6/6/2020                   90.71%             92.75%                     86.25%
Southern               Houston                           6/13/2020                   91.07%             90.85%                     84.42%
Southern               Houston                           6/20/2020                   90.53%             92.73%                     84.79%
Southern               Houston                           6/27/2020                   91.04%             92.73%                     83.93%
Southern               Houston                            7/1/2020                   91.95%             91.38%                     91.69%
Southern               Houston                            7/4/2020                   91.44%             86.45%                     78.27%
Southern               Houston                           7/11/2020                   83.98%             86.02%                     81.47%
Southern               Houston                           7/18/2020                   80.81%             86.92%                     73.68%
Southern               Houston                           7/25/2020                   82.02%             82.90%                     75.26%
Southern               Houston                            8/1/2020                   81.80%             83.58%                     76.67%
Southern               Houston                            8/8/2020                   78.45%             85.23%                     71.59%
Southern               Houston                           8/15/2020                   84.55%             87.57%                     66.58%
Southern               Houston                           8/22/2020                   88.39%             91.73%                     78.41%
Southern               Houston                           8/29/2020                   86.00%             92.03%                     87.85%
Southern               Houston                            9/5/2020                   90.19%             89.18%                     79.45%
Southern               Houston                           9/12/2020                   87.46%             92.44%                     87.57%
Southern               Louisiana                          1/4/2020                   91.39%             88.65%                     81.19%
Southern               Louisiana                         1/11/2020                   91.75%             88.40%                     83.32%
Southern               Louisiana                         1/18/2020                   93.51%             84.50%                     84.26%
Southern               Louisiana                         1/25/2020                   92.13%             89.56%                     87.38%
Southern               Louisiana                          2/1/2020                   92.31%             88.31%                     85.00%
Southern               Louisiana                          2/8/2020                   91.66%             88.98%                     80.45%
Southern               Louisiana                         2/15/2020                   92.98%             88.21%                     78.41%
Southern               Louisiana                         2/22/2020                   90.00%             82.86%                     77.99%
Southern               Louisiana                         2/29/2020                   92.59%             88.41%                     83.03%
Southern               Louisiana                          3/7/2020                   91.54%             87.60%                     79.81%
Southern               Louisiana                         3/14/2020                   92.31%             85.86%                     76.11%
Southern               Louisiana                         3/21/2020                   93.29%             91.12%                     83.57%
Southern               Louisiana                         3/28/2020                   91.42%             91.76%                     78.81%
Southern               Louisiana                          4/1/2020                   93.21%             87.94%                     63.34%
Southern               Louisiana                          4/4/2020                   94.15%             90.55%                     83.47%
Southern               Louisiana                         4/11/2020                   91.23%             91.65%                     71.48%
Southern               Louisiana                         4/18/2020                   92.67%             89.90%                     85.97%
Southern               Louisiana                         4/25/2020                   90.71%             86.28%                     70.10%
Southern               Louisiana                          5/2/2020                   91.32%             90.01%                     76.58%
Southern               Louisiana                          5/9/2020                   90.58%             86.92%                     58.99%
Southern               Louisiana                         5/16/2020                   91.70%             86.07%                     73.95%
Southern               Louisiana                         5/23/2020                   91.68%             85.03%                     78.81%
Southern               Louisiana                         5/30/2020                   91.29%             85.30%                     70.48%
Southern               Louisiana                          6/6/2020                   89.03%             82.13%                     68.03%
Southern               Louisiana                         6/13/2020                   91.20%             87.13%                     69.01%
Southern               Louisiana                         6/20/2020                   86.00%             85.97%                     66.27%
Southern               Louisiana                         6/27/2020                   85.38%             85.51%                     79.82%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        40
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 41 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

        Area                   District                Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Southern               Louisiana                          7/1/2020                   89.43%             82.96%                     70.07%
Southern               Louisiana                          7/4/2020                   88.04%             79.19%                     65.41%
Southern               Louisiana                         7/11/2020                   83.75%             75.80%                     58.57%
Southern               Louisiana                         7/18/2020                   81.80%             68.22%                     61.33%
Southern               Louisiana                         7/25/2020                   80.49%             70.34%                     49.94%
Southern               Louisiana                          8/1/2020                   82.08%             69.30%                     45.12%
Southern               Louisiana                          8/8/2020                   73.71%             73.13%                     42.82%
Southern               Louisiana                         8/15/2020                   79.20%             80.59%                     53.34%
Southern               Louisiana                         8/22/2020                   74.01%             82.49%                     56.21%
Southern               Louisiana                         8/29/2020                   82.18%             86.73%                     60.95%
Southern               Louisiana                          9/5/2020                   85.97%             83.06%                     73.33%
Southern               Louisiana                         9/12/2020                   83.52%             84.85%                     65.09%
Southern               Mississippi                        1/4/2020                   90.57%             91.96%                     80.94%
Southern               Mississippi                       1/11/2020                   91.83%             88.43%                     82.97%
Southern               Mississippi                       1/18/2020                   93.09%             84.44%                     93.10%
Southern               Mississippi                       1/25/2020                   91.30%             86.87%                     87.49%
Southern               Mississippi                        2/1/2020                   90.28%             90.11%                     79.62%
Southern               Mississippi                        2/8/2020                   92.62%             91.65%                     89.83%
Southern               Mississippi                       2/15/2020                   94.26%             89.74%                     88.95%
Southern               Mississippi                       2/22/2020                   92.49%             92.61%                     84.94%
Southern               Mississippi                       2/29/2020                   93.33%             93.62%                     85.93%
Southern               Mississippi                        3/7/2020                   92.41%             90.19%                     87.92%
Southern               Mississippi                       3/14/2020                   91.27%             87.37%                     89.49%
Southern               Mississippi                       3/21/2020                   93.97%             93.65%                     88.36%
Southern               Mississippi                       3/28/2020                   94.78%             94.69%                     77.39%
Southern               Mississippi                        4/1/2020                   93.77%             92.05%                     87.58%
Southern               Mississippi                        4/4/2020                   94.09%             94.81%                     86.52%
Southern               Mississippi                       4/11/2020                   91.00%             94.42%                     88.22%
Southern               Mississippi                       4/18/2020                   94.46%             91.05%                     85.26%
Southern               Mississippi                       4/25/2020                   91.93%             92.65%                     72.38%
Southern               Mississippi                        5/2/2020                   91.83%             88.41%                     71.15%
Southern               Mississippi                        5/9/2020                   92.03%             89.01%                     84.06%
Southern               Mississippi                       5/16/2020                   91.85%             87.46%                     72.09%
Southern               Mississippi                       5/23/2020                   92.57%             85.57%                     74.66%
Southern               Mississippi                       5/30/2020                   90.68%             84.77%                     52.76%
Southern               Mississippi                        6/6/2020                   88.96%             81.65%                     56.19%
Southern               Mississippi                       6/13/2020                   90.76%             85.71%                     65.85%
Southern               Mississippi                       6/20/2020                   89.71%             91.11%                     78.81%
Southern               Mississippi                       6/27/2020                   92.15%             90.35%                     77.12%
Southern               Mississippi                        7/1/2020                   91.91%             85.89%                     31.48%
Southern               Mississippi                        7/4/2020                   90.68%             83.44%                     54.60%
Southern               Mississippi                       7/11/2020                   90.19%             83.16%                     72.67%
Southern               Mississippi                       7/18/2020                   86.62%             76.84%                     76.22%
Southern               Mississippi                       7/25/2020                   87.68%             80.16%                     74.94%
Southern               Mississippi                        8/1/2020                   86.74%             80.39%                     75.93%
Southern               Mississippi                        8/8/2020                   86.76%             88.38%                     76.60%
Southern               Mississippi                       8/15/2020                   87.26%             88.83%                     79.73%
Southern               Mississippi                       8/22/2020                   89.44%             86.29%                     73.44%
Southern               Mississippi                       8/29/2020                   89.68%             90.15%                     84.93%
Southern               Mississippi                        9/5/2020                   88.95%             80.63%                     50.80%
Southern               Mississippi                       9/12/2020                   81.86%             77.94%                     74.97%
Southern               Oklahoma                           1/4/2020                   94.49%             93.72%                     88.59%
Southern               Oklahoma                          1/11/2020                   93.33%             90.38%                     89.42%
Southern               Oklahoma                          1/18/2020                   94.86%             92.45%                     89.85%
Southern               Oklahoma                          1/25/2020                   93.54%             92.92%                     92.97%
Southern               Oklahoma                           2/1/2020                   93.10%             92.08%                     92.77%
Southern               Oklahoma                           2/8/2020                   92.77%             93.87%                     92.54%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        41
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 42 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

        Area                  District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Southern               Oklahoma                          2/15/2020                   95.39%             92.54%                     92.52%
Southern               Oklahoma                          2/22/2020                   94.19%             93.86%                     91.87%
Southern               Oklahoma                          2/29/2020                   94.71%             94.19%                     86.70%
Southern               Oklahoma                           3/7/2020                   94.62%             93.60%                     91.95%
Southern               Oklahoma                          3/14/2020                   93.89%             93.87%                     87.21%
Southern               Oklahoma                          3/21/2020                   94.97%             94.06%                     93.26%
Southern               Oklahoma                          3/28/2020                   95.28%             95.95%                     90.60%
Southern               Oklahoma                           4/1/2020                   95.83%             92.91%                     97.05%
Southern               Oklahoma                           4/4/2020                   93.99%             94.97%                     91.19%
Southern               Oklahoma                          4/11/2020                   94.48%             94.89%                     87.69%
Southern               Oklahoma                          4/18/2020                   95.02%             95.66%                     89.07%
Southern               Oklahoma                          4/25/2020                   93.90%             93.63%                     90.10%
Southern               Oklahoma                           5/2/2020                   92.67%             91.53%                     85.18%
Southern               Oklahoma                           5/9/2020                   93.42%             92.85%                     89.58%
Southern               Oklahoma                          5/16/2020                   94.14%             94.25%                     86.48%
Southern               Oklahoma                          5/23/2020                   94.25%             91.23%                     87.49%
Southern               Oklahoma                          5/30/2020                   92.91%             93.32%                     90.57%
Southern               Oklahoma                           6/6/2020                   93.22%             92.55%                     88.75%
Southern               Oklahoma                          6/13/2020                   93.72%             94.75%                     86.45%
Southern               Oklahoma                          6/20/2020                   93.37%             94.32%                     88.47%
Southern               Oklahoma                          6/27/2020                   93.44%             95.01%                     85.53%
Southern               Oklahoma                           7/1/2020                   92.98%             92.97%                     91.41%
Southern               Oklahoma                           7/4/2020                   92.61%             92.25%                     79.47%
Southern               Oklahoma                          7/11/2020                   89.79%             87.33%                     85.92%
Southern               Oklahoma                          7/18/2020                   88.83%             84.37%                     80.93%
Southern               Oklahoma                          7/25/2020                   90.28%             87.72%                     71.68%
Southern               Oklahoma                           8/1/2020                   89.18%             84.16%                     83.80%
Southern               Oklahoma                           8/8/2020                   85.15%             87.52%                     67.68%
Southern               Oklahoma                          8/15/2020                   89.64%             91.21%                     84.36%
Southern               Oklahoma                          8/22/2020                   92.89%             94.74%                     87.26%
Southern               Oklahoma                          8/29/2020                   92.59%             93.47%                     93.22%
Southern               Oklahoma                           9/5/2020                   93.28%             89.32%                     84.93%
Southern               Oklahoma                          9/12/2020                   89.93%             89.67%                     89.38%
Southern               Rio Grande                         1/4/2020                   92.24%             92.80%                     86.08%
Southern               Rio Grande                        1/11/2020                   92.95%             90.41%                     89.65%
Southern               Rio Grande                        1/18/2020                   94.55%             90.02%                     89.66%
Southern               Rio Grande                        1/25/2020                   92.61%             93.29%                     92.43%
Southern               Rio Grande                         2/1/2020                   92.82%             92.19%                     86.99%
Southern               Rio Grande                         2/8/2020                   92.82%             94.33%                     88.52%
Southern               Rio Grande                        2/15/2020                   94.77%             92.87%                     90.09%
Southern               Rio Grande                        2/22/2020                   93.30%             94.68%                     87.18%
Southern               Rio Grande                        2/29/2020                   92.61%             93.53%                     90.54%
Southern               Rio Grande                         3/7/2020                   92.50%             93.90%                     86.71%
Southern               Rio Grande                        3/14/2020                   93.18%             93.59%                     86.81%
Southern               Rio Grande                        3/21/2020                   93.17%             94.06%                     87.05%
Southern               Rio Grande                        3/28/2020                   93.08%             96.19%                     91.16%
Southern               Rio Grande                         4/1/2020                   93.15%             93.99%                     93.87%
Southern               Rio Grande                         4/4/2020                   93.58%             95.67%                     91.16%
Southern               Rio Grande                        4/11/2020                   92.13%             94.48%                     83.47%
Southern               Rio Grande                        4/18/2020                   92.58%             94.98%                     90.58%
Southern               Rio Grande                        4/25/2020                   92.25%             94.20%                     86.65%
Southern               Rio Grande                         5/2/2020                   91.45%             92.74%                     84.17%
Southern               Rio Grande                         5/9/2020                   91.21%             93.44%                     83.51%
Southern               Rio Grande                        5/16/2020                   92.63%             94.43%                     83.60%
Southern               Rio Grande                        5/23/2020                   93.03%             91.99%                     83.35%
Southern               Rio Grande                        5/30/2020                   92.14%             93.76%                     85.73%
Southern               Rio Grande                         6/6/2020                   91.71%             92.80%                     81.71%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        42
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 43 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

        Area                  District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Southern               Rio Grande                        6/13/2020                   91.51%             91.29%                     82.13%
Southern               Rio Grande                        6/20/2020                   90.80%             91.48%                     77.38%
Southern               Rio Grande                        6/27/2020                   89.60%             90.00%                     71.83%
Southern               Rio Grande                         7/1/2020                   92.30%             91.17%                     83.20%
Southern               Rio Grande                         7/4/2020                   92.24%             85.61%                     73.28%
Southern               Rio Grande                        7/11/2020                   82.66%             69.08%                     74.14%
Southern               Rio Grande                        7/18/2020                   85.69%             75.00%                     68.65%
Southern               Rio Grande                        7/25/2020                   85.26%             74.65%                     73.99%
Southern               Rio Grande                         8/1/2020                   86.58%             79.06%                     69.58%
Southern               Rio Grande                         8/8/2020                   85.21%             86.08%                     71.05%
Southern               Rio Grande                        8/15/2020                   88.28%             89.10%                     74.77%
Southern               Rio Grande                        8/22/2020                   89.16%             93.69%                     77.70%
Southern               Rio Grande                        8/29/2020                   89.54%             94.99%                     90.16%
Southern               Rio Grande                         9/5/2020                   90.64%             89.97%                     82.16%
Southern               Rio Grande                        9/12/2020                   89.48%             89.83%                     81.04%
Southern               South Florida                      1/4/2020                   91.89%             91.07%                     84.43%
Southern               South Florida                     1/11/2020                   91.12%             88.70%                     84.90%
Southern               South Florida                     1/18/2020                   93.19%             87.56%                     86.37%
Southern               South Florida                     1/25/2020                   91.71%             88.87%                     86.17%
Southern               South Florida                      2/1/2020                   90.94%             87.46%                     86.83%
Southern               South Florida                      2/8/2020                   90.57%             89.29%                     85.75%
Southern               South Florida                     2/15/2020                   92.49%             89.49%                     86.84%
Southern               South Florida                     2/22/2020                   92.55%             91.78%                     87.89%
Southern               South Florida                     2/29/2020                   93.24%             90.24%                     85.82%
Southern               South Florida                      3/7/2020                   92.29%             90.49%                     83.10%
Southern               South Florida                     3/14/2020                   92.66%             91.24%                     82.91%
Southern               South Florida                     3/21/2020                   92.65%             92.00%                     84.78%
Southern               South Florida                     3/28/2020                   92.42%             94.00%                     78.10%
Southern               South Florida                      4/1/2020                   92.73%             91.18%                     86.47%
Southern               South Florida                      4/4/2020                   91.43%             93.30%                     85.13%
Southern               South Florida                     4/11/2020                   90.58%             93.30%                     81.06%
Southern               South Florida                     4/18/2020                   91.84%             91.88%                     79.50%
Southern               South Florida                     4/25/2020                   91.80%             89.50%                     81.66%
Southern               South Florida                      5/2/2020                   91.79%             92.27%                     79.69%
Southern               South Florida                      5/9/2020                   88.90%             90.66%                     71.32%
Southern               South Florida                     5/16/2020                   90.98%             90.61%                     71.75%
Southern               South Florida                     5/23/2020                   92.11%             86.73%                     74.64%
Southern               South Florida                     5/30/2020                   89.44%             90.38%                     80.08%
Southern               South Florida                      6/6/2020                   90.64%             89.18%                     68.24%
Southern               South Florida                     6/13/2020                   91.65%             90.46%                     86.68%
Southern               South Florida                     6/20/2020                   89.60%             88.62%                     82.72%
Southern               South Florida                     6/27/2020                   89.11%             92.28%                     80.13%
Southern               South Florida                      7/1/2020                   91.77%             91.19%                     77.48%
Southern               South Florida                      7/4/2020                   90.57%             89.04%                     76.72%
Southern               South Florida                     7/11/2020                   85.21%             82.13%                     70.95%
Southern               South Florida                     7/18/2020                   77.95%             78.42%                     67.67%
Southern               South Florida                     7/25/2020                   84.11%             81.30%                     69.12%
Southern               South Florida                      8/1/2020                   80.16%             78.38%                     65.64%
Southern               South Florida                      8/8/2020                   79.67%             79.57%                     71.66%
Southern               South Florida                     8/15/2020                   80.82%             79.62%                     68.76%
Southern               South Florida                     8/22/2020                   85.47%             82.99%                     73.90%
Southern               South Florida                     8/29/2020                   85.03%             85.49%                     70.73%
Southern               South Florida                      9/5/2020                   86.57%             85.43%                     79.44%
Southern               South Florida                     9/12/2020                   86.93%             86.64%                     74.96%
Southern               Suncoast                           1/4/2020                   90.93%             89.27%                     84.10%
Southern               Suncoast                          1/11/2020                   91.40%             85.89%                     84.60%
Southern               Suncoast                          1/18/2020                   93.29%             88.91%                     87.98%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        43
                Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 44 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

        Area                  District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Southern               Suncoast                          1/25/2020                   90.57%             89.67%                     87.50%
Southern               Suncoast                           2/1/2020                   92.54%             91.50%                     89.27%
Southern               Suncoast                           2/8/2020                   92.78%             91.89%                     90.66%
Southern               Suncoast                          2/15/2020                   94.29%             92.73%                     88.97%
Southern               Suncoast                          2/22/2020                   93.59%             92.27%                     87.65%
Southern               Suncoast                          2/29/2020                   93.67%             92.43%                     89.63%
Southern               Suncoast                           3/7/2020                   92.75%             91.19%                     85.61%
Southern               Suncoast                          3/14/2020                   92.36%             90.79%                     88.02%
Southern               Suncoast                          3/21/2020                   93.47%             92.44%                     85.52%
Southern               Suncoast                          3/28/2020                   92.96%             94.83%                     89.79%
Southern               Suncoast                           4/1/2020                   93.64%             92.50%                     83.21%
Southern               Suncoast                           4/4/2020                   92.58%             95.09%                     89.82%
Southern               Suncoast                          4/11/2020                   92.31%             94.08%                     80.63%
Southern               Suncoast                          4/18/2020                   93.00%             92.42%                     87.14%
Southern               Suncoast                          4/25/2020                   92.65%             91.88%                     85.63%
Southern               Suncoast                           5/2/2020                   91.52%             93.63%                     85.11%
Southern               Suncoast                           5/9/2020                   90.24%             90.84%                     70.29%
Southern               Suncoast                          5/16/2020                   92.46%             93.50%                     80.25%
Southern               Suncoast                          5/23/2020                   93.59%             91.61%                     83.75%
Southern               Suncoast                          5/30/2020                   90.66%             91.17%                     85.01%
Southern               Suncoast                           6/6/2020                   91.21%             90.04%                     85.03%
Southern               Suncoast                          6/13/2020                   92.97%             91.59%                     89.06%
Southern               Suncoast                          6/20/2020                   90.90%             90.30%                     82.88%
Southern               Suncoast                          6/27/2020                   90.56%             91.03%                     74.17%
Southern               Suncoast                           7/1/2020                   93.04%             89.59%                     87.07%
Southern               Suncoast                           7/4/2020                   89.54%             88.91%                     83.65%
Southern               Suncoast                          7/11/2020                   80.09%             76.97%                     79.92%
Southern               Suncoast                          7/18/2020                   75.24%             70.29%                     72.52%
Southern               Suncoast                          7/25/2020                   85.11%             76.04%                     80.74%
Southern               Suncoast                           8/1/2020                   85.30%             83.34%                     75.11%
Southern               Suncoast                           8/8/2020                   85.21%             89.39%                     80.11%
Southern               Suncoast                          8/15/2020                   89.27%             89.23%                     79.03%
Southern               Suncoast                          8/22/2020                   89.40%             89.63%                     80.15%
Southern               Suncoast                          8/29/2020                   89.70%             90.17%                     82.32%
Southern               Suncoast                           9/5/2020                   90.33%             86.76%                     88.18%
Southern               Suncoast                          9/12/2020                   88.95%             88.76%                     84.40%
Western                Alaska                             1/4/2020                   89.12%             89.95%                     77.51%
Western                Alaska                            1/11/2020                   91.09%             91.23%                     70.03%
Western                Alaska                            1/18/2020                   92.57%             92.92%                     87.30%
Western                Alaska                            1/25/2020                   91.22%             95.96%                     94.81%
Western                Alaska                             2/1/2020                   90.77%             95.96%                     92.22%
Western                Alaska                             2/8/2020                   91.89%             81.83%                     89.98%
Western                Alaska                            2/15/2020                   93.62%             82.09%                     82.84%
Western                Alaska                            2/22/2020                   93.30%             98.05%                     87.40%
Western                Alaska                            2/29/2020                   92.97%             96.95%                     90.65%
Western                Alaska                             3/7/2020                   92.41%             82.13%                     88.96%
Western                Alaska                            3/14/2020                   92.02%             90.51%                     91.68%
Western                Alaska                            3/21/2020                   91.98%             82.23%                     93.83%
Western                Alaska                            3/28/2020                   91.79%             98.65%                     94.61%
Western                Alaska                             4/1/2020                   90.26%             97.44%                     87.95%
Western                Alaska                             4/4/2020                   92.88%             63.97%                     82.56%
Western                Alaska                            4/11/2020                   91.36%             85.17%                     89.33%
Western                Alaska                            4/18/2020                   91.79%             85.33%                     93.03%
Western                Alaska                            4/25/2020                   92.74%             93.27%                     95.57%
Western                Alaska                             5/2/2020                   92.00%             96.59%                     84.45%
Western                Alaska                             5/9/2020                   92.51%             86.77%                     94.42%
Western                Alaska                            5/16/2020                   92.31%             84.57%                     94.22%


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Commission (PRC) at the end of the quarter.                        44
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 45 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area                District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Western                Alaska                            5/23/2020                   91.24%             83.79%                     89.05%
Western                Alaska                            5/30/2020                   91.29%             97.20%                     93.93%
Western                Alaska                             6/6/2020                   92.12%             84.72%                     88.72%
Western                Alaska                            6/13/2020                   92.14%             98.43%                     91.14%
Western                Alaska                            6/20/2020                   91.63%             93.65%                     91.63%
Western                Alaska                            6/27/2020                   91.79%             97.65%                     94.91%
Western                Alaska                             7/1/2020                   93.87%             95.72%                     83.10%
Western                Alaska                             7/4/2020                   90.82%             93.84%                     77.28%
Western                Alaska                            7/11/2020                   91.14%             84.23%                     89.93%
Western                Alaska                            7/18/2020                   88.31%             98.32%                     86.89%
Western                Alaska                            7/25/2020                   89.01%             96.55%                     86.79%
Western                Alaska                             8/1/2020                   89.67%             85.73%                     84.11%
Western                Alaska                             8/8/2020                   87.07%             85.01%                     87.66%
Western                Alaska                            8/15/2020                   86.51%             83.98%                     87.43%
Western                Alaska                            8/22/2020                   89.43%             97.04%                     88.93%
Western                Alaska                            8/29/2020                   91.46%             97.73%                     94.71%
Western                Alaska                             9/5/2020                   90.96%             98.39%                     92.76%
Western                Alaska                            9/12/2020                   90.35%             96.64%                     95.87%
Western                Arizona                            1/4/2020                   91.44%             90.90%                     87.48%
Western                Arizona                           1/11/2020                   92.39%             90.37%                     88.93%
Western                Arizona                           1/18/2020                   93.78%             91.48%                     91.61%
Western                Arizona                           1/25/2020                   92.11%             92.30%                     87.41%
Western                Arizona                            2/1/2020                   90.48%             90.42%                     88.40%
Western                Arizona                            2/8/2020                   91.36%             91.31%                     91.33%
Western                Arizona                           2/15/2020                   94.34%             90.26%                     89.94%
Western                Arizona                           2/22/2020                   91.43%             89.61%                     86.20%
Western                Arizona                           2/29/2020                   92.61%             92.07%                     87.45%
Western                Arizona                            3/7/2020                   90.79%             90.45%                     83.11%
Western                Arizona                           3/14/2020                   91.35%             89.55%                     84.60%
Western                Arizona                           3/21/2020                   92.27%             92.62%                     84.98%
Western                Arizona                           3/28/2020                   89.97%             92.09%                     87.23%
Western                Arizona                            4/1/2020                   91.24%             91.02%                     84.14%
Western                Arizona                            4/4/2020                   91.97%             93.55%                     87.65%
Western                Arizona                           4/11/2020                   91.69%             92.97%                     85.42%
Western                Arizona                           4/18/2020                   92.55%             93.66%                     87.24%
Western                Arizona                           4/25/2020                   90.97%             92.85%                     79.71%
Western                Arizona                            5/2/2020                   92.05%             91.56%                     83.51%
Western                Arizona                            5/9/2020                   90.75%             91.29%                     78.45%
Western                Arizona                           5/16/2020                   92.78%             93.19%                     82.85%
Western                Arizona                           5/23/2020                   93.18%             93.25%                     80.82%
Western                Arizona                           5/30/2020                   91.26%             93.55%                     90.11%
Western                Arizona                            6/6/2020                   91.18%             93.47%                     83.96%
Western                Arizona                           6/13/2020                   91.57%             94.29%                     87.73%
Western                Arizona                           6/20/2020                   91.43%             91.39%                     75.74%
Western                Arizona                           6/27/2020                   90.76%             92.22%                     89.36%
Western                Arizona                            7/1/2020                   92.34%             92.52%                     89.27%
Western                Arizona                            7/4/2020                   92.22%             91.81%                     78.46%
Western                Arizona                           7/11/2020                   86.72%             85.59%                     81.28%
Western                Arizona                           7/18/2020                   86.82%             84.44%                     75.31%
Western                Arizona                           7/25/2020                   87.20%             88.29%                     83.38%
Western                Arizona                            8/1/2020                   87.37%             87.46%                     82.52%
Western                Arizona                            8/8/2020                   87.64%             91.10%                     74.70%
Western                Arizona                           8/15/2020                   88.72%             92.75%                     81.88%
Western                Arizona                           8/22/2020                   89.74%             93.86%                     79.93%
Western                Arizona                           8/29/2020                   88.97%             93.29%                     85.44%
Western                Arizona                            9/5/2020                   90.12%             92.99%                     83.29%
Western                Arizona                           9/12/2020                   90.35%             91.28%                     79.85%


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Commission (PRC) at the end of the quarter.                        45
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 46 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area                District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Western                Central Plains                     1/4/2020                   93.81%             94.29%                     87.66%
Western                Central Plains                    1/11/2020                   92.81%             94.03%                     90.20%
Western                Central Plains                    1/18/2020                   95.13%             90.56%                     89.51%
Western                Central Plains                    1/25/2020                   90.74%             95.15%                     90.90%
Western                Central Plains                     2/1/2020                   93.46%             95.09%                     89.33%
Western                Central Plains                     2/8/2020                   94.18%             96.10%                     93.70%
Western                Central Plains                    2/15/2020                   96.17%             95.44%                     93.72%
Western                Central Plains                    2/22/2020                   95.57%             96.63%                     93.35%
Western                Central Plains                    2/29/2020                   95.07%             88.53%                     92.05%
Western                Central Plains                     3/7/2020                   93.98%             94.78%                     91.40%
Western                Central Plains                    3/14/2020                   95.16%             95.87%                     91.60%
Western                Central Plains                    3/21/2020                   94.95%             95.58%                     90.45%
Western                Central Plains                    3/28/2020                   95.70%             96.44%                     91.76%
Western                Central Plains                     4/1/2020                   94.32%             95.90%                     91.03%
Western                Central Plains                     4/4/2020                   93.73%             88.73%                     91.65%
Western                Central Plains                    4/11/2020                   93.37%             96.51%                     89.53%
Western                Central Plains                    4/18/2020                   94.35%             96.01%                     91.79%
Western                Central Plains                    4/25/2020                   90.93%             95.95%                     82.74%
Western                Central Plains                     5/2/2020                   92.00%             87.64%                     89.03%
Western                Central Plains                     5/9/2020                   92.31%             94.15%                     86.45%
Western                Central Plains                    5/16/2020                   94.04%             87.67%                     89.56%
Western                Central Plains                    5/23/2020                   95.32%             93.74%                     90.26%
Western                Central Plains                    5/30/2020                   91.89%             93.88%                     85.47%
Western                Central Plains                     6/6/2020                   93.00%             93.79%                     88.11%
Western                Central Plains                    6/13/2020                   94.40%             94.37%                     88.46%
Western                Central Plains                    6/20/2020                   94.57%             94.76%                     88.82%
Western                Central Plains                    6/27/2020                   94.18%             96.12%                     86.37%
Western                Central Plains                     7/1/2020                   93.28%             92.00%                     88.71%
Western                Central Plains                     7/4/2020                   93.40%             88.52%                     83.72%
Western                Central Plains                    7/11/2020                   88.97%             92.17%                     88.75%
Western                Central Plains                    7/18/2020                   85.62%             89.39%                     86.77%
Western                Central Plains                    7/25/2020                   87.94%             93.09%                     85.38%
Western                Central Plains                     8/1/2020                   88.67%             84.60%                     82.95%
Western                Central Plains                     8/8/2020                   87.95%             92.40%                     81.62%
Western                Central Plains                    8/15/2020                   86.90%             92.99%                     87.48%
Western                Central Plains                    8/22/2020                   87.00%             94.80%                     88.08%
Western                Central Plains                    8/29/2020                   87.52%             93.08%                     89.76%
Western                Central Plains                     9/5/2020                   88.86%             84.70%                     88.95%
Western                Central Plains                    9/12/2020                   85.36%             92.67%                     87.98%
Western                Colorado/Wyoming                   1/4/2020                   88.39%             83.93%                     77.62%
Western                Colorado/Wyoming                  1/11/2020                   87.00%             84.89%                     87.05%
Western                Colorado/Wyoming                  1/18/2020                   91.54%             87.33%                     82.45%
Western                Colorado/Wyoming                  1/25/2020                   85.95%             88.64%                     83.23%
Western                Colorado/Wyoming                   2/1/2020                   80.11%             81.16%                     88.65%
Western                Colorado/Wyoming                   2/8/2020                   84.99%             86.68%                     85.33%
Western                Colorado/Wyoming                  2/15/2020                   89.54%             86.40%                     87.92%
Western                Colorado/Wyoming                  2/22/2020                   90.81%             92.82%                     85.16%
Western                Colorado/Wyoming                  2/29/2020                   91.51%             90.65%                     81.02%
Western                Colorado/Wyoming                   3/7/2020                   90.67%             88.18%                     82.52%
Western                Colorado/Wyoming                  3/14/2020                   88.70%             88.70%                     80.24%
Western                Colorado/Wyoming                  3/21/2020                   88.05%             89.44%                     79.99%
Western                Colorado/Wyoming                  3/28/2020                   88.28%             91.24%                     77.79%
Western                Colorado/Wyoming                   4/1/2020                   91.36%             86.70%                     79.28%
Western                Colorado/Wyoming                   4/4/2020                   86.13%             82.23%                     59.28%
Western                Colorado/Wyoming                  4/11/2020                   83.42%             77.56%                     57.01%
Western                Colorado/Wyoming                  4/18/2020                   86.07%             87.32%                     58.10%
Western                Colorado/Wyoming                  4/25/2020                   83.31%             85.48%                     64.39%


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Commission (PRC) at the end of the quarter.                        46
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 47 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area                District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Western                Colorado/Wyoming                   5/2/2020                   87.76%             87.82%                     60.23%
Western                Colorado/Wyoming                   5/9/2020                   86.39%             89.07%                     60.95%
Western                Colorado/Wyoming                  5/16/2020                   88.50%             91.99%                     76.63%
Western                Colorado/Wyoming                  5/23/2020                   89.88%             92.58%                     76.72%
Western                Colorado/Wyoming                  5/30/2020                   89.26%             94.41%                     75.58%
Western                Colorado/Wyoming                   6/6/2020                   88.21%             82.34%                     77.75%
Western                Colorado/Wyoming                  6/13/2020                   87.71%             89.24%                     77.63%
Western                Colorado/Wyoming                  6/20/2020                   87.47%             91.28%                     74.21%
Western                Colorado/Wyoming                  6/27/2020                   86.75%             90.70%                     77.74%
Western                Colorado/Wyoming                   7/1/2020                   88.49%             89.54%                     76.57%
Western                Colorado/Wyoming                   7/4/2020                   86.01%             87.67%                     82.13%
Western                Colorado/Wyoming                  7/11/2020                   81.98%             76.38%                     64.21%
Western                Colorado/Wyoming                  7/18/2020                   82.90%             83.32%                     77.73%
Western                Colorado/Wyoming                  7/25/2020                   83.92%             86.28%                     61.84%
Western                Colorado/Wyoming                   8/1/2020                   79.31%             84.49%                     72.62%
Western                Colorado/Wyoming                   8/8/2020                   80.54%             86.69%                     69.32%
Western                Colorado/Wyoming                  8/15/2020                   80.52%             86.82%                     66.25%
Western                Colorado/Wyoming                  8/22/2020                   84.51%             92.04%                     76.80%
Western                Colorado/Wyoming                  8/29/2020                   84.02%             90.25%                     75.96%
Western                Colorado/Wyoming                   9/5/2020                   84.83%             90.42%                     76.25%
Western                Colorado/Wyoming                  9/12/2020                   82.83%             89.20%                     80.97%
Western                Dakotas                            1/4/2020                   91.47%             91.30%                     86.24%
Western                Dakotas                           1/11/2020                   91.89%             87.84%                     86.15%
Western                Dakotas                           1/18/2020                   90.67%             90.58%                     85.28%
Western                Dakotas                           1/25/2020                   90.81%             94.24%                     88.69%
Western                Dakotas                            2/1/2020                   92.19%             92.89%                     90.51%
Western                Dakotas                            2/8/2020                   92.82%             94.26%                     90.92%
Western                Dakotas                           2/15/2020                   94.58%             92.97%                     88.88%
Western                Dakotas                           2/22/2020                   93.85%             95.54%                     90.63%
Western                Dakotas                           2/29/2020                   94.45%             94.41%                     89.68%
Western                Dakotas                            3/7/2020                   93.79%             94.71%                     88.59%
Western                Dakotas                           3/14/2020                   93.80%             95.03%                     90.12%
Western                Dakotas                           3/21/2020                   94.36%             95.27%                     85.71%
Western                Dakotas                           3/28/2020                   93.59%             94.58%                     87.04%
Western                Dakotas                            4/1/2020                   94.58%             94.49%                     85.42%
Western                Dakotas                            4/4/2020                   93.57%             96.12%                     91.21%
Western                Dakotas                           4/11/2020                   93.03%             95.55%                     87.28%
Western                Dakotas                           4/18/2020                   94.25%             94.35%                     86.95%
Western                Dakotas                           4/25/2020                   93.87%             96.01%                     86.97%
Western                Dakotas                            5/2/2020                   93.73%             94.01%                     87.87%
Western                Dakotas                            5/9/2020                   92.41%             92.18%                     87.11%
Western                Dakotas                           5/16/2020                   94.03%             95.03%                     87.75%
Western                Dakotas                           5/23/2020                   94.90%             92.86%                     85.34%
Western                Dakotas                           5/30/2020                   92.40%             94.44%                     85.75%
Western                Dakotas                            6/6/2020                   93.69%             94.85%                     89.69%
Western                Dakotas                           6/13/2020                   94.65%             94.40%                     89.55%
Western                Dakotas                           6/20/2020                   93.85%             93.73%                     89.15%
Western                Dakotas                           6/27/2020                   93.42%             93.15%                     88.22%
Western                Dakotas                            7/1/2020                   94.00%             94.50%                     87.16%
Western                Dakotas                            7/4/2020                   92.57%             88.03%                     89.44%
Western                Dakotas                           7/11/2020                   91.21%             87.45%                     87.00%
Western                Dakotas                           7/18/2020                   89.34%             90.99%                     84.63%
Western                Dakotas                           7/25/2020                   90.73%             90.70%                     78.47%
Western                Dakotas                            8/1/2020                   90.94%             90.58%                     83.54%
Western                Dakotas                            8/8/2020                   89.74%             90.36%                     79.98%
Western                Dakotas                           8/15/2020                   91.20%             91.15%                     85.07%
Western                Dakotas                           8/22/2020                   92.97%             92.88%                     80.20%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        47
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 48 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area               District                  Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Western                Dakotas                           8/29/2020                   91.37%             92.37%                     80.67%
Western                Dakotas                            9/5/2020                   92.00%             91.19%                     78.51%
Western                Dakotas                           9/12/2020                   90.68%             92.01%                     87.96%
Western                Hawkeye                            1/4/2020                   93.25%             94.09%                     91.42%
Western                Hawkeye                           1/11/2020                   91.69%             90.45%                     91.58%
Western                Hawkeye                           1/18/2020                   90.65%             91.03%                     77.93%
Western                Hawkeye                           1/25/2020                   92.77%             93.84%                     82.88%
Western                Hawkeye                            2/1/2020                   92.51%             93.48%                     94.08%
Western                Hawkeye                            2/8/2020                   93.65%             94.28%                     91.72%
Western                Hawkeye                           2/15/2020                   93.22%             95.63%                     87.96%
Western                Hawkeye                           2/22/2020                   93.50%             95.99%                     91.21%
Western                Hawkeye                           2/29/2020                   94.35%             95.59%                     90.56%
Western                Hawkeye                            3/7/2020                   92.68%             95.99%                     90.46%
Western                Hawkeye                           3/14/2020                   93.65%             95.93%                     91.18%
Western                Hawkeye                           3/21/2020                   93.57%             95.56%                     91.33%
Western                Hawkeye                           3/28/2020                   94.03%             96.01%                     90.60%
Western                Hawkeye                            4/1/2020                   94.35%             96.65%                     92.98%
Western                Hawkeye                            4/4/2020                   94.04%             96.70%                     90.38%
Western                Hawkeye                           4/11/2020                   92.92%             96.09%                     91.56%
Western                Hawkeye                           4/18/2020                   94.64%             96.41%                     92.60%
Western                Hawkeye                           4/25/2020                   93.95%             96.95%                     87.97%
Western                Hawkeye                            5/2/2020                   93.15%             94.86%                     89.57%
Western                Hawkeye                            5/9/2020                   92.25%             94.13%                     87.58%
Western                Hawkeye                           5/16/2020                   94.00%             94.41%                     90.46%
Western                Hawkeye                           5/23/2020                   92.83%             94.62%                     90.84%
Western                Hawkeye                           5/30/2020                   93.80%             94.57%                     90.37%
Western                Hawkeye                            6/6/2020                   93.00%             94.90%                     89.93%
Western                Hawkeye                           6/13/2020                   93.97%             95.93%                     87.89%
Western                Hawkeye                           6/20/2020                   92.94%             95.28%                     92.22%
Western                Hawkeye                           6/27/2020                   92.60%             95.17%                     81.83%
Western                Hawkeye                            7/1/2020                   92.43%             94.12%                     92.86%
Western                Hawkeye                            7/4/2020                   92.28%             93.22%                     83.66%
Western                Hawkeye                           7/11/2020                   90.05%             91.75%                     90.39%
Western                Hawkeye                           7/18/2020                   88.48%             92.42%                     87.66%
Western                Hawkeye                           7/25/2020                   90.48%             92.28%                     86.21%
Western                Hawkeye                            8/1/2020                   88.41%             92.05%                     81.16%
Western                Hawkeye                            8/8/2020                   84.80%             85.56%                     73.21%
Western                Hawkeye                           8/15/2020                   89.96%             92.18%                     84.27%
Western                Hawkeye                           8/22/2020                   91.46%             94.62%                     87.97%
Western                Hawkeye                           8/29/2020                   88.46%             93.94%                     83.51%
Western                Hawkeye                            9/5/2020                   86.11%             93.57%                     86.14%
Western                Hawkeye                           9/12/2020                   89.06%             92.74%                     88.11%
Western                Mid‐America                        1/4/2020                   92.87%             92.68%                     89.27%
Western                Mid‐America                       1/11/2020                   91.73%             92.39%                     89.23%
Western                Mid‐America                       1/18/2020                   93.52%             86.12%                     89.66%
Western                Mid‐America                       1/25/2020                   92.49%             93.95%                     89.69%
Western                Mid‐America                        2/1/2020                   91.50%             85.23%                     89.46%
Western                Mid‐America                        2/8/2020                   92.63%             93.06%                     92.44%
Western                Mid‐America                       2/15/2020                   94.05%             94.39%                     91.10%
Western                Mid‐America                       2/22/2020                   93.41%             95.28%                     93.09%
Western                Mid‐America                       2/29/2020                   93.35%             94.71%                     86.54%
Western                Mid‐America                        3/7/2020                   92.74%             86.84%                     88.37%
Western                Mid‐America                       3/14/2020                   92.51%             91.16%                     89.68%
Western                Mid‐America                       3/21/2020                   93.16%             86.80%                     89.64%
Western                Mid‐America                       3/28/2020                   93.77%             94.13%                     90.19%
Western                Mid‐America                        4/1/2020                   93.40%             91.43%                     85.01%
Western                Mid‐America                        4/4/2020                   93.59%             87.90%                     88.08%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        48
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 49 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area               District                  Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Western                Mid‐America                       4/11/2020                   91.47%             95.05%                     89.77%
Western                Mid‐America                       4/18/2020                   93.14%             93.93%                     88.85%
Western                Mid‐America                       4/25/2020                   92.15%             91.71%                     86.33%
Western                Mid‐America                        5/2/2020                   92.13%             85.68%                     83.58%
Western                Mid‐America                        5/9/2020                   91.20%             92.55%                     81.53%
Western                Mid‐America                       5/16/2020                   92.48%             94.80%                     82.06%
Western                Mid‐America                       5/23/2020                   93.25%             91.59%                     80.92%
Western                Mid‐America                       5/30/2020                   90.14%             90.21%                     79.43%
Western                Mid‐America                        6/6/2020                   91.12%             83.56%                     80.27%
Western                Mid‐America                       6/13/2020                   90.75%             92.63%                     82.25%
Western                Mid‐America                       6/20/2020                   91.73%             89.13%                     83.35%
Western                Mid‐America                       6/27/2020                   91.34%             93.82%                     85.05%
Western                Mid‐America                        7/1/2020                   91.03%             87.84%                     80.23%
Western                Mid‐America                        7/4/2020                   90.57%             82.67%                     76.49%
Western                Mid‐America                       7/11/2020                   85.22%             85.28%                     74.74%
Western                Mid‐America                       7/18/2020                   87.49%             87.01%                     77.86%
Western                Mid‐America                       7/25/2020                   87.05%             88.47%                     79.40%
Western                Mid‐America                        8/1/2020                   86.23%             74.01%                     71.75%
Western                Mid‐America                        8/8/2020                   83.85%             86.77%                     79.93%
Western                Mid‐America                       8/15/2020                   88.83%             88.73%                     77.62%
Western                Mid‐America                       8/22/2020                   90.06%             92.21%                     81.72%
Western                Mid‐America                       8/29/2020                   89.23%             89.34%                     82.48%
Western                Mid‐America                        9/5/2020                   90.12%             79.04%                     78.18%
Western                Mid‐America                       9/12/2020                   85.96%             80.36%                     75.70%
Western                Nevada Sierra                      1/4/2020                   93.47%             93.77%                     86.48%
Western                Nevada Sierra                     1/11/2020                   93.61%             92.92%                     81.50%
Western                Nevada Sierra                     1/18/2020                   94.70%             93.38%                     85.30%
Western                Nevada Sierra                     1/25/2020                   93.02%             95.19%                     86.21%
Western                Nevada Sierra                      2/1/2020                   90.67%             93.77%                     86.95%
Western                Nevada Sierra                      2/8/2020                   91.93%             95.24%                     85.65%
Western                Nevada Sierra                     2/15/2020                   94.84%             93.73%                     89.69%
Western                Nevada Sierra                     2/22/2020                   94.59%             96.75%                     89.68%
Western                Nevada Sierra                     2/29/2020                   95.14%             95.02%                     89.43%
Western                Nevada Sierra                      3/7/2020                   92.78%             93.56%                     81.77%
Western                Nevada Sierra                     3/14/2020                   93.11%             94.91%                     88.91%
Western                Nevada Sierra                     3/21/2020                   90.78%             95.53%                     84.31%
Western                Nevada Sierra                     3/28/2020                   93.50%             96.23%                     89.14%
Western                Nevada Sierra                      4/1/2020                   94.86%             94.08%                     91.21%
Western                Nevada Sierra                      4/4/2020                   94.29%             95.48%                     85.80%
Western                Nevada Sierra                     4/11/2020                   92.61%             94.63%                     77.14%
Western                Nevada Sierra                     4/18/2020                   94.00%             94.77%                     80.78%
Western                Nevada Sierra                     4/25/2020                   93.96%             94.12%                     79.30%
Western                Nevada Sierra                      5/2/2020                   93.31%             93.23%                     78.43%
Western                Nevada Sierra                      5/9/2020                   91.40%             94.49%                     73.97%
Western                Nevada Sierra                     5/16/2020                   93.80%             95.39%                     79.77%
Western                Nevada Sierra                     5/23/2020                   93.51%             94.16%                     78.80%
Western                Nevada Sierra                     5/30/2020                   93.40%             96.04%                     88.87%
Western                Nevada Sierra                      6/6/2020                   94.16%             95.33%                     79.78%
Western                Nevada Sierra                     6/13/2020                   94.39%             94.54%                     81.39%
Western                Nevada Sierra                     6/20/2020                   93.73%             94.73%                     76.47%
Western                Nevada Sierra                     6/27/2020                   91.03%             94.94%                     82.83%
Western                Nevada Sierra                      7/1/2020                   91.15%             92.29%                     88.98%
Western                Nevada Sierra                      7/4/2020                   93.29%             87.84%                     76.95%
Western                Nevada Sierra                     7/11/2020                   91.50%             93.42%                     78.57%
Western                Nevada Sierra                     7/18/2020                   89.27%             92.14%                     78.19%
Western                Nevada Sierra                     7/25/2020                   88.43%             91.85%                     71.41%
Western                Nevada Sierra                      8/1/2020                   87.59%             90.41%                     75.00%


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Commission (PRC) at the end of the quarter.                        49
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 50 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area                District                 Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Western                Nevada Sierra                      8/8/2020                   88.44%             91.67%                     67.10%
Western                Nevada Sierra                     8/15/2020                   89.21%             91.23%                     75.80%
Western                Nevada Sierra                     8/22/2020                   90.43%             92.61%                     78.85%
Western                Nevada Sierra                     8/29/2020                   91.09%             94.61%                     87.64%
Western                Nevada Sierra                      9/5/2020                   91.85%             91.82%                     85.06%
Western                Nevada Sierra                     9/12/2020                   90.97%             90.79%                     83.18%
Western                Northland                          1/4/2020                   89.01%             92.37%                     88.59%
Western                Northland                         1/11/2020                   86.78%             89.56%                     89.32%
Western                Northland                         1/18/2020                   90.09%             84.53%                     88.25%
Western                Northland                         1/25/2020                   88.36%             92.31%                     88.21%
Western                Northland                          2/1/2020                   89.04%             86.63%                     87.39%
Western                Northland                          2/8/2020                   90.77%             93.86%                     91.54%
Western                Northland                         2/15/2020                   92.81%             94.81%                     88.37%
Western                Northland                         2/22/2020                   91.56%             94.30%                     88.69%
Western                Northland                         2/29/2020                   92.33%             87.84%                     83.08%
Western                Northland                          3/7/2020                   90.74%             94.84%                     91.94%
Western                Northland                         3/14/2020                   89.95%             95.49%                     89.46%
Western                Northland                         3/21/2020                   91.48%             95.80%                     91.63%
Western                Northland                         3/28/2020                   90.91%             96.44%                     84.27%
Western                Northland                          4/1/2020                   93.54%             96.00%                     87.80%
Western                Northland                          4/4/2020                   90.68%             89.12%                     91.32%
Western                Northland                         4/11/2020                   90.17%             96.32%                     89.40%
Western                Northland                         4/18/2020                   91.46%             95.08%                     88.25%
Western                Northland                         4/25/2020                   93.28%             94.47%                     78.57%
Western                Northland                          5/2/2020                   90.08%             86.83%                     86.39%
Western                Northland                          5/9/2020                   91.30%             93.54%                     87.92%
Western                Northland                         5/16/2020                   91.74%             95.33%                     82.63%
Western                Northland                         5/23/2020                   92.34%             92.13%                     85.64%
Western                Northland                         5/30/2020                   86.11%             92.60%                     74.23%
Western                Northland                          6/6/2020                   88.64%             85.73%                     85.92%
Western                Northland                         6/13/2020                   92.12%             93.74%                     86.74%
Western                Northland                         6/20/2020                   90.63%             92.16%                     87.20%
Western                Northland                         6/27/2020                   87.53%             86.68%                     88.15%
Western                Northland                          7/1/2020                   89.34%             93.30%                     74.95%
Western                Northland                          7/4/2020                   91.24%             88.99%                     84.94%
Western                Northland                         7/11/2020                   84.31%             87.02%                     81.56%
Western                Northland                         7/18/2020                   75.49%             86.80%                     85.87%
Western                Northland                         7/25/2020                   82.85%             88.31%                     80.49%
Western                Northland                          8/1/2020                   80.13%             81.95%                     79.68%
Western                Northland                          8/8/2020                   79.91%             86.30%                     73.93%
Western                Northland                         8/15/2020                   84.33%             88.81%                     80.69%
Western                Northland                         8/22/2020                   84.85%             91.22%                     73.66%
Western                Northland                         8/29/2020                   84.22%             83.29%                     69.45%
Western                Northland                          9/5/2020                   87.87%             86.32%                     82.76%
Western                Northland                         9/12/2020                   84.51%             89.28%                     85.51%
Western                Portland                           1/4/2020                   92.92%             93.23%                     90.19%
Western                Portland                          1/11/2020                   89.06%             91.07%                     81.94%
Western                Portland                          1/18/2020                   93.27%             92.87%                     89.76%
Western                Portland                          1/25/2020                   91.19%             93.75%                     94.41%
Western                Portland                           2/1/2020                   90.93%             93.74%                     90.35%
Western                Portland                           2/8/2020                   92.82%             94.51%                     94.11%
Western                Portland                          2/15/2020                   94.69%             94.54%                     94.45%
Western                Portland                          2/22/2020                   93.54%             95.20%                     90.15%
Western                Portland                          2/29/2020                   94.06%             95.15%                     91.94%
Western                Portland                           3/7/2020                   93.08%             94.51%                     92.30%
Western                Portland                          3/14/2020                   92.31%             94.39%                     89.05%
Western                Portland                          3/21/2020                   92.95%             95.45%                     88.33%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        50
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 51 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area                 District                Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Western                Portland                          3/28/2020                   92.16%             95.10%                     85.25%
Western                Portland                           4/1/2020                   93.26%             96.35%                     87.44%
Western                Portland                           4/4/2020                   90.68%             96.56%                     93.90%
Western                Portland                          4/11/2020                   90.47%             95.75%                     87.72%
Western                Portland                          4/18/2020                   92.51%             96.12%                     87.87%
Western                Portland                          4/25/2020                   91.41%             96.28%                     88.34%
Western                Portland                           5/2/2020                   90.94%             93.98%                     87.61%
Western                Portland                           5/9/2020                   89.05%             94.33%                     82.97%
Western                Portland                          5/16/2020                   92.15%             95.23%                     85.25%
Western                Portland                          5/23/2020                   92.32%             93.81%                     88.96%
Western                Portland                          5/30/2020                   91.80%             94.39%                     87.26%
Western                Portland                           6/6/2020                   91.61%             94.70%                     89.93%
Western                Portland                          6/13/2020                   92.16%             94.91%                     86.89%
Western                Portland                          6/20/2020                   91.46%             94.10%                     89.11%
Western                Portland                          6/27/2020                   90.19%             93.83%                     78.29%
Western                Portland                           7/1/2020                   92.78%             92.23%                     94.66%
Western                Portland                           7/4/2020                   90.60%             89.07%                     86.43%
Western                Portland                          7/11/2020                   87.71%             92.49%                     82.74%
Western                Portland                          7/18/2020                   88.11%             92.76%                     83.88%
Western                Portland                          7/25/2020                   86.76%             93.16%                     74.42%
Western                Portland                           8/1/2020                   87.67%             91.62%                     82.51%
Western                Portland                           8/8/2020                   86.40%             92.49%                     80.24%
Western                Portland                          8/15/2020                   88.76%             94.38%                     76.32%
Western                Portland                          8/22/2020                   89.60%             94.12%                     82.24%
Western                Portland                          8/29/2020                   88.95%             93.75%                     86.76%
Western                Portland                           9/5/2020                   89.99%             90.39%                     85.15%
Western                Portland                          9/12/2020                   87.63%             89.29%                     81.37%
Western                Salt Lake City                     1/4/2020                   91.25%             90.95%                     84.94%
Western                Salt Lake City                    1/11/2020                   92.10%             92.81%                     88.87%
Western                Salt Lake City                    1/18/2020                   92.63%             92.44%                     86.75%
Western                Salt Lake City                    1/25/2020                   91.01%             94.68%                     90.38%
Western                Salt Lake City                     2/1/2020                   91.68%             93.85%                     85.30%
Western                Salt Lake City                     2/8/2020                   91.30%             93.71%                     89.17%
Western                Salt Lake City                    2/15/2020                   93.54%             91.77%                     90.01%
Western                Salt Lake City                    2/22/2020                   93.66%             95.84%                     88.51%
Western                Salt Lake City                    2/29/2020                   93.33%             95.48%                     89.29%
Western                Salt Lake City                     3/7/2020                   91.79%             94.37%                     91.53%
Western                Salt Lake City                    3/14/2020                   90.52%             94.09%                     88.93%
Western                Salt Lake City                    3/21/2020                   89.85%             95.27%                     83.02%
Western                Salt Lake City                    3/28/2020                   92.13%             93.99%                     83.29%
Western                Salt Lake City                     4/1/2020                   90.76%             92.50%                     75.97%
Western                Salt Lake City                     4/4/2020                   92.67%             93.25%                     72.05%
Western                Salt Lake City                    4/11/2020                   85.84%             95.39%                     81.86%
Western                Salt Lake City                    4/18/2020                   90.82%             93.56%                     83.62%
Western                Salt Lake City                    4/25/2020                   91.05%             94.79%                     74.65%
Western                Salt Lake City                     5/2/2020                   89.40%             94.09%                     72.41%
Western                Salt Lake City                     5/9/2020                   88.21%             92.30%                     70.63%
Western                Salt Lake City                    5/16/2020                   92.26%             91.69%                     78.41%
Western                Salt Lake City                    5/23/2020                   92.52%             93.61%                     78.85%
Western                Salt Lake City                    5/30/2020                   90.33%             94.59%                     80.09%
Western                Salt Lake City                     6/6/2020                   90.60%             93.32%                     76.58%
Western                Salt Lake City                    6/13/2020                   91.55%             93.65%                     84.30%
Western                Salt Lake City                    6/20/2020                   90.75%             93.44%                     84.10%
Western                Salt Lake City                    6/27/2020                   89.95%             90.65%                     88.07%
Western                Salt Lake City                     7/1/2020                   91.95%             92.29%                     84.17%
Western                Salt Lake City                     7/4/2020                   88.55%             86.78%                     77.79%
Western                Salt Lake City                    7/11/2020                   86.29%             90.70%                     85.71%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        51
                 Case 1:20-cv-06516-VM Document 58-1 Filed 09/25/20 Page 52 of 52
                              USPS FY20 Q2 ‐ Q4 To‐Date Service Performance For Market‐Dominant Products
                                                           District ‐ By Week

          Area                 District                Week              First‐Class Mail   USPS Marketing Mail           Periodicals
Western                Salt Lake City                    7/18/2020                   86.69%             90.73%                     85.81%
Western                Salt Lake City                    7/25/2020                   87.91%             91.10%                     74.52%
Western                Salt Lake City                     8/1/2020                   86.71%             91.41%                     82.42%
Western                Salt Lake City                     8/8/2020                   85.74%             90.29%                     70.94%
Western                Salt Lake City                    8/15/2020                   88.77%             92.11%                     79.91%
Western                Salt Lake City                    8/22/2020                   89.90%             94.31%                     79.92%
Western                Salt Lake City                    8/29/2020                   90.13%             92.82%                     88.73%
Western                Salt Lake City                     9/5/2020                   90.51%             92.79%                     90.55%
Western                Salt Lake City                    9/12/2020                   88.49%             91.58%                     86.77%
Western                Seattle                            1/4/2020                   92.83%             92.34%                     88.39%
Western                Seattle                           1/11/2020                   89.53%             90.61%                     89.47%
Western                Seattle                           1/18/2020                   93.67%             93.62%                     89.58%
Western                Seattle                           1/25/2020                   90.67%             93.92%                     91.16%
Western                Seattle                            2/1/2020                   89.66%             93.80%                     87.70%
Western                Seattle                            2/8/2020                   90.39%             94.89%                     94.35%
Western                Seattle                           2/15/2020                   94.33%             94.47%                     93.29%
Western                Seattle                           2/22/2020                   92.70%             94.67%                     94.06%
Western                Seattle                           2/29/2020                   92.71%             94.87%                     90.51%
Western                Seattle                            3/7/2020                   92.21%             94.31%                     90.67%
Western                Seattle                           3/14/2020                   91.72%             95.09%                     88.77%
Western                Seattle                           3/21/2020                   92.42%             95.23%                     89.14%
Western                Seattle                           3/28/2020                   91.12%             96.30%                     85.75%
Western                Seattle                            4/1/2020                   91.79%             94.28%                     89.11%
Western                Seattle                            4/4/2020                   91.48%             96.26%                     85.71%
Western                Seattle                           4/11/2020                   90.61%             96.31%                     89.81%
Western                Seattle                           4/18/2020                   91.89%             96.21%                     88.09%
Western                Seattle                           4/25/2020                   91.16%             96.08%                     89.21%
Western                Seattle                            5/2/2020                   90.60%             95.07%                     88.16%
Western                Seattle                            5/9/2020                   88.35%             95.27%                     83.71%
Western                Seattle                           5/16/2020                   92.23%             95.11%                     85.26%
Western                Seattle                           5/23/2020                   91.90%             92.78%                     85.66%
Western                Seattle                           5/30/2020                   90.66%             94.16%                     87.13%
Western                Seattle                            6/6/2020                   91.69%             94.33%                     81.82%
Western                Seattle                           6/13/2020                   91.51%             95.10%                     87.97%
Western                Seattle                           6/20/2020                   91.50%             92.78%                     80.46%
Western                Seattle                           6/27/2020                   91.58%             94.19%                     93.81%
Western                Seattle                            7/1/2020                   91.59%             93.77%                     92.84%
Western                Seattle                            7/4/2020                   91.85%             93.38%                     80.78%
Western                Seattle                           7/11/2020                   85.75%             94.10%                     87.05%
Western                Seattle                           7/18/2020                   81.32%             80.55%                     82.38%
Western                Seattle                           7/25/2020                   86.66%             92.23%                     78.34%
Western                Seattle                            8/1/2020                   84.20%             89.47%                     75.81%
Western                Seattle                            8/8/2020                   75.89%             90.99%                     81.31%
Western                Seattle                           8/15/2020                   75.85%             90.31%                     79.88%
Western                Seattle                           8/22/2020                   77.91%             91.75%                     88.24%
Western                Seattle                           8/29/2020                   82.00%             92.11%                     81.87%
Western                Seattle                            9/5/2020                   87.70%             91.58%                     89.04%
Western                Seattle                           9/12/2020                   85.45%             89.47%                     85.09%




Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                        52
